ý   Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 1 of 90 PageID #: 1213
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                            IN   THE COURT OF CRIMINAL APPEALS
                                    OF THE STATE OF TEXAS

                                                           No. 72102



       BILLYJOE WARDLOW                                                                     APPELLANT


        V.




       THE STATE OF TFX4S                                                                   APPELLEE



                        APPEAL FROM THE 76TH JUDICIAL DISTRICT COURT
                                                OF TITUS    COUNTY TEXAS
                                                    CAUSE     NO. 12764




                                                   STATES BRIEF


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             COURT OF CRIMINAL APPEALS
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Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 2 of 90 PageID #: 1214




                                                          TABLE OF CONTENTS

                                                                                                                                                              Page

   STATEMENT                OF THE CASE                                                 ........................................................                 1




   A.     Course of Proceedings                                 and        Disposition Below                                ...............................      1




   B.     Statement               of Facts                 ............................................................................                          2



          1.            Guilt-Innocence                           Phase           ............................................................                   2



          2.            Punishment Phase                                   .................................................................                     8




   STATES REPLY TO POINT OF ERROR ONE                                                                       ..........................................          10



          THE PROSECUTIONS PEREMPTORY                                                                       STRIKE                OF
          VENIRE                  MEMBER                       NELL                OWSLEY                      DID           NOT
          VIOLATE                    THE
                                      EQUAL PROTECTION                                                             CLAUSE
          OF THE                 FOURTEENTH AMENDMENT                                                              TO THE
          UNITED STATES CONSTITUTION                                                             .................................................              10



   A.     Statement of Underlying                                      Facts             .......................................................                11




   B.     Argument and                        Authorities                       .............................................................                   11




   STATES REPLY TO POINT OF ERROR                                                             TWO                  .....................................        20



          THE TRIAL COURT                                       PROPERLY                        GRANTED                       THE
          STATES CHALLENGE FOR CAUSE OF VENIRE
          MEMBER SUZANNE CHARLTON                                                              .................................................                20


   A.     Statement of Underlying                                      Facts                       ................................................             20



   B.     Argument and                        Authorities                             ........................................................                  24


   STATES         REPLY TO POINTS                                       OF        ERROR THREE AND
   FOUR        ..........................................................................................................                                      28


   A.     Statement of Underlying                                      Facts              ......................................................               28
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 3 of 90 PageID #: 1215




                                       TABLE OF CONTENTS                                                CONTINUED
                                                                                                                                                        Page


   B.     Argument and                        Authorities                          ...........................................................            29



   STATES           REPLY                   TO           POINTS                   OF           ERROR                         FIVE
   THROUGH            SEVEN                   ...................................................................................                         31




          THE ADMISSION AT TRIAL OF                                                                    WARDLOWS
          UNSOLICITED  CONFESSIONAL                                                  LETTER  TO    -




          SHERIFF                    BLACKBURN                                VIOLATED  NEITHER
          ARTICLE                     3 8.22            OF          THE              TEXAS.                  CODE                    OF
          CRIMINAL                         PROCEDURE                                NOR THE  FIFTH
          SIXTH OR FOURTEENTH                                                       AMENDMENTS TO
          THE UNITED STATES CONSTITUTION                                                                      .......................................     31



   A.     Statement of Underlying                                      Facts                    ..................................................        32



   B.     Argument and                        Authorities                             .........................................................           38



          1.           Admission of                       the letter             did not violate                    the Fifth

                       Amendment                          ............................................................................                    39



          2.           Admission of                        the letter              did not violate                        Article

                        38.22               ......................................................................................                        42



          3.           Admission of                       the letter             did not violate                      the      Due
                        Process Clause of the Fourteenth                                                 Amendment ......................                 44



          4.           Admission of the                           letter        did not violate the Sixth

                       Amendment                          ............................................................................                    46



   STATES         REPLY TO POINTS                                       OF ERROR EIGHT AND
   NINE   .............................................................................................................                                   48




                                                                                       ii
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 4 of 90 PageID #: 1216
                                f




                          TABLE OF CONTENTS CONTINUED
                                                                                                                                                Page


         THE    TRIAL          COURT
                         PROPERLY DETERMINED
         THAT THE VOLUNTARINESS OF WARDLOWS
         CONFESSION                 WAS NOT AN                                  ISSUE              FOR THE
         JURY  AND THEREFORE PROPERLY DENIED
         WARDLOWS     REQUEST    FOR   A   JURY
         INSTRUCTION ON THE ISSUE AND EXCLUDED
         JUDGE       PORTERS                      TESTIMONY                             BEFORE                      THE
         JURY    ................................................................................................                                 48



   A.    Statement    of Underlying                       Facts                    .......     .........................................          48



   B.    Argument and            Authorities                             .........................................................                51



   STATES REPLY TO POINT OF ERROR TEN                                                                 .....................................       56



         THE THE GUN SEIZED FROM WARDLOW UPON
         ARREST  WAS NOT THE RESULT     OF AN
         UNLAWSUL ARREST INADMISSIBLE   UNDER
         ARTICLE  38.23 OF THE TEXAS CODE  OF
         CRIMINAL PROCEDURE                                        .............................................................                  56



   A.    Statement    of Underlying                       Facts                                                                                   56
                                                                                   ..................................................




   B.    Argument and            Authorities                                                                                                     61
                                                                         .........................................................




   STATES REPLY TO POINT OF ERROR ELEVEN                                                                     ................................    66



         THE     TRIAL                 COURT                      PROPERLY                             DENIED
         WARDLOWS                       REQUEST                             FOR            JURY  A
         INSTRUCTION                     ON   THE                                  OFFENSE   OF
         AGGRAVATED ASSAULT                                         ............................................................                 66



   A.    Statement of Underlying Facts                                                                                                           66
                                                                                   ..................................................




   B.    Argument and            Authorities                             .........................................................               66




                                                                          iii
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 5 of 90 PageID #: 1217




                    TABLE OF CONTENTS                           CONTINUED
                                                                                                                     Page


   STATES REPLY TO POINT OF ERROR TWELVE                                            ..............................     69



         THE JURY     HAD    SUFFICIENT                EVIDENCE                          TO
         SUPPORT     ITS    AFFIRMATIVE                   ANSWER                         TO
         SPECIAL ISSUE     NUMBER ONE                  ..................................................              70



   A.    Statement of Underlying   Facts               ..................................................              70



   B.    Argument and   Authorities          .........................................................                 70


   CONCLUSION AND PRAYER              ..............................................................                   75


   CERTIFICATE OF SERVICE               ............................................................                   76




                                              iv
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 6 of 90 PageID #: 1218




                                                           TABLE OF AUTHORITIES

   Cases
                                                                                                                                                                                   Page

   Alexander                v.        State    740 S.W.2d 749 Tex. Crim. App.                                         1987
                 cert.            denied        114   S.   Ct.   1869        128 L.Ed.2d                     490       1994                  .........................                72


   Alvarado                v.    Texas 912 S.W.2d                 199 Tex. Crim. App.                                 1995                   .........................             4762

   Adanandus                     v.    State   866 S.W.2d 210 Tex. Crim. App.                                            1993
                 cert.            denied 510 U.S. 1215                  114 S.Ct.                1338
                     127 L.Ed.2d               686    1994           ......................................................................                                           26


   Arnold        v.        State         873 S.W.2d 27 Tex. Crim. App.                                     1993
                 cert denied                   115 S.Ct. 103        1994               ..........................................................                                     43



   Barley        v.       State         906 S.W.2d 27 Tex. Crim. App.                                     1995
                 cert.            denied       116    S.Ct.      1271      134 L.Ed.2d                     217       1996                      .......................                70


   Barnes        v.        State         876 S.W.2d 316            Tex.           Crim. App.                    1994
                 cert denied                   115 S.Ct.      174 130 L.Ed.2d                         110        1994                  ...........................                    70


   Barton        v.       State         605 S.W.2d 605 Tex. Crim. App.                                        1980               ...............................                      45


   Bass    v.    State                723 S.W. 2d 687 Tex. Crim. App.                                     1986             ...................................                        44


   Batson        v.       Kentucky             476 U.S.       79   106 S.Ct. 1712                        1986                 .................................                   PASSIM


   Beck    v.    Alabama 447                     U.S.      625 100         S.Ct.         2382 65 L.Ed.2d 392                                     1980                .........        66



   Berry    v.        State            582 S.W.2d 463 Tex. Crim. App.                                      1979                                                                       45
                                                                                                                        .....................................




   Brewer                  Williams            430 U.S.       387 97                        1232           51 L.Ed.2d                   424
                     v.                                                      S.Ct.
                                                                                                                                                    1977.........                  3947

   Brown         v.       State         913 S.W.2d 577 Tex. Crim. App.                                       1996                                                                    26
                                                                                                                                  ..............................




   Burns              State            761 S.W.2d          353 Tex. Crim. App.                             1988
                v.
                                                                                                                              .................................                  717273

   Butler       v.        State         872 S.W.2d 227 Tex. Crim. App.                                      1994
                 cert.           denied 115          S.Ct.    1115       130 L.Ed.2d                     10791995                                                                    25
                                                                                                                                        ..........................




   California               v.        Beheler 463 U.S. 1121 103                         S.Ct.         3517
                 77 L.Ed. 2d 1275                     1983                ..................................................................                                         54


   Callins       v.        State         780 S.W.2d          176   Tex.         Crim. App.                    1989
                 cert.           denied        497 U.S.1011             110       S.Ct.         3256
                 111            L.Ed.2d        766    1990         .......................................................................                                           25




                                                                                            V
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 7 of 90 PageID #: 1219




                                      TABLE OF AUTHORITIES CONTINUED

   Cases
                                                                                                                                                                        Page


   Cantu     v.    State        842 S.W.2d 667 Tex. Crim. App. 1992

                cert.        denied     509 U.S. 941 114                  S.Ct.         16
                 125        L.Ed.2d    768   1993              ....................................................................                                        25


   Castillo             State    913 S.W.2d 529 Tex. Crim.. App.                                         1995
                  v.
                                                                                                                          ..............................                2627


   Casey     v.    State       527 S.W.2d 882 Tex. Crim. App.                                      1975                                                                    55
                                                                                                                       ................................




   Chapman             v.    California 386 U.S.           18 87           S.Ct.         824        1967               ................................                PASSIM


   Cook    v.     State       858 S.W.2d 467 Tex. Crim. App.                                     1993                .................................                    25


   Colorado            v.    Connelly 479 U.S. 157 107                        S.Ct.        515 93 L.Ed.2d 473                                   1986            ....      44


   Davis    v.    North Carolina 348 U.S. 737 86                                  S.Ct.         1761
                 16 L.Ed.2d           895   1966               ....................................................................                                       45



   Dejarnette           v.   State    732 S.W.2d 346 Tex. Crim. App.                                          1987             ..........................                 64


   Dinkins        v.    State    894 S.W.2d 330 Tex. Crim. App.

                cert denied           116 S.Ct.     106      133 L.Ed.2d                     59      1995                  .............................               5253

   Dowden         v.    State    758 S.W.2d 264 Tex. Crim. App.                                         1988                  ...........................                 67


   Edwards         v.       Arizona    451 U.S. 477            101       S.Ct.          1880
                68 L.Ed.2d 378              1981                  ..................................................................                                      41




   Floyd   v.     State        710 S.W.2d      807 Tex. App.--Fort Worth                                          1986
                pet.        dismd      768 S.W.2d 307 Tex. Crim. App.                                           1989                 ........................             43



   Garrett v State              851 S.W.2d      853 Tex. Crim. App. 1993                                                ...............................                   26



   Geesa    v.    State        820 S.W.2d       154 Tex. Crim. App.                                1991               ................................                    21



   Gibbs   v.     State        819 S.W.2d 821 Tex. Crim. App.                                     1991
                cert.       denied.502       U.S.   1107        112 S.Ct.                1205
                117 L.Ed.2d            444   1992             ....................................................................                                        63



   Green    v.    State 840           S.W.2d 394 Tex. Crim. App.                                 1992
                cert.       denied     507 U.S. 1020            113 S.Ct.                1819
                123         L.Ed.2d    449   1993         .......................................................................                                         26




                                                                                   vi
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 8 of 90 PageID #: 1220




                                             TABLE OF AUTHORITIES CONTINUED
   Cases                                                                                                                                                                             Page



   Gressett           v.        State    723 S.W.2d             695 Tex. Crim. App.                                    1986                  ............................              44


   Hamel        v.        State        S.W.2d 424 Tex. Crim. App.                                       1979                 .....................................
                                                                                                                                                                                       64


   Harris       v.        State        738 S.W.2d 207 Tex. Crim. App.                                              1986
                    cert.        denied       484 U.S. 872 108                        S.Ct.         207
                    98 L.Ed.2d               158    1987               ........................................................................                                         72



   Harris       v.        State        790 S.W.2d           568 Tex. Crim. App.                                    1989              ................................               PASSIM



   Harrell          v.     State        884 S.W.2d            154 Tex. Crim. App.                                    1994              ...............................                 30



   Hawkins               v.     State    628 S.W.2d 71 Tex. Crim. App.                                               1982                   .............................              38



   Haynes           v.        Washington            373 U.S. 503 83                        S.Ct.           1336
                    10 L.Ed.2d               770    1963              .........................................................................                                        44



   Heckert           v.       State     612 S.W.2d 549 Tex. Crim. App. 1981                                                                 .............................              29


   Hennessy                v.    State       660 S.W.2d 8791                      Tex. Crim. App. 1983                                            .........................            62


   Hernandez                    v.   New     York    500 U.S. 352 111 S.Ct. 1859                                             1991                 .........................          1213


   Hernandez                    v.   State    819 S.W.2d 806 Tex. Crim. App.                                                 1991
                    cert denied              504 U.S. 974                  112 S.Ct. 2944                        1992                ................................                  52



   Hicks       v.    State            860 S.W.2d 419 Tex. Crim. App.                                             1993
                    cert.        denied.      114    S.Ct.      2725            129 L.Ed.2d                      848       1994                     .......................            29


   Hill   v.    State                827 S.W.2d 860 Tex. Crim. App.                                           1992
                    cert denied              506 U.S. 905 113                        S.Ct.         297        1992                ..................................
                                                                                                                                                                                        14



   Holt    v.       State            912 S.W.2d 294 Tex. App.--San                                         Antonio 1995

                    pet.        ref d    1996        ....................................................................................                                               13



   Holland            v.      State      788 S.W.2d             112 Tex. App.                         --    Dallas            1990            pet.      refd            .........      64



   Hopper            v.       Evans 456         U.S.     605          102 S.Ct. 2049. 72 L.Ed.2d                                            367       1982              .........      67



   Huffman               v.     State    746 S.W.2d 212 Tex. Crim. App. 1988                                                                 ............................              75




                                                                                                 Vii
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 9 of 90 PageID #: 1221




                                          TABLE OF AUTHORITIES                                                  CONTINUED
   Cases                                                                                                                                                                    Page


   Jackson            v.    Denno     378 U.S. 368 84               S.Ct.          1774
                 12 L.Ed.2d               908    1964         .......................................................................
                                                                                                                                                                            3236


   Jackson            v.    Virginia 443 U.S.           307 99          S.Ct.         2781            61     L.Ed.2d               560        1979                .......   7173


   Jackson            v.    State    548 S.W.2d 685 Tex. Crim. App.                                        1977              ..............................                   68


   Jacobs        v.        State    787 S.W.2d 397 Tex. Crim.                             App.
                 cert.       denied       498 U.S.      882      111       S.Ct.         231
                 112 L.Ed.2d               185   1990             ....................................................................                                        25


   Janecka            v.    State    739 S.W.2d 813 Tex. Crim. App.                                        1987              ..............................
                                                                                                                                                                              44



   J.E.B.    V.       Alabama             511 U.S.   127 114             S.Ct.         1419            128 L.Ed.2d                       89   1994                .......   1112

   Johnson            v.    State    651 S.W.2d         303 Tex. App.                      --    San Antonio 1983                                    ..............           45


   Jones    v.        State        568 S.W.2d 847 Tex. Crim. App.

                 cert.       denied       439 U.S. 949 99               S.Ct.         363
                 58 L.Ed.2d           352       1978           ......................................................................
                                                                                                                                                                              63



   Jones    v.        State        795 S.W.2d      171   n.3     Tex.           Crim. App.                    1990              ............................                  44



   Jurek    v.        Texas 428 U.S. 262 96               S.Ct.          2950 49 LL.Ed.2d 929                                          1976                ............       72



   Keeton        v.        State    724 S.W.2d 58 Tex. Crim. App.                                    1987                           .........................               7172


   Keith                       782 S.W.2d 861 Tex. Crim. App.
            v.    State                                                                             1989              ..................................                    4762


   Kirby    v.    Illinois          406 U.S. 682 92            S.Ct.         1877 32 L.Ed.2d 411                                       1972            .............          47



   Kunkle        v.        State    771    S.W.2d 435 Tex. Crim. App.                                   1986
                 cert.       denied       492 U.S.      925 109           S.Ct.         3259
                 106 S.Ed.2d 604                 1989         ......................................................................                                          71



   LaGrone             v.   State    742 S.W.2d 659 Tex. Crim. App.                                          1987
                 cert.       denied       485 U.S. 937 108                S.Ct.          1115
                 99 L.Ed.2d           276       1988          .......................................................................                                         63


   Lewis    v.    Jeffers 497 U.S.                766 110        S.Ct.         3092             111      L.Ed.2d               606       1990                  .........      72




                                                                                    viii
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 10 of 90 PageID #: 1222




                                              TABLE OF AUTHORITIES                                                    CONTINUED
    Cases                                                                                                                                                                       Page


    Livingston              v.       State     739 S.W.2d 311 Tex. Crim. App.                                           1987
                  cert.              denied    487 U.S.1210              108 S.Ct.                2858
                  101            L.Ed.2d        895   1988            .......................................................................                                      72



    Lowenfield                  v.    Phelps 484 U.S. 231                   108 S.Ct.               546 98 L.Ed.2d 568                                   ................          72



    Long    v.    State               823 S.W.2d 259 Tex. Crim. App.                                       1991
                  cert.              denied    505 U.S. 1224              112 S.Ct.                3042 120 L.Ed.2d                                  1992            .......       39



    Lopez    v.        State           535 S.W.2d 643 Tex. Crim. App.                                        1976                 ...............................                  63



    Massiah            v.       United States           377 U.S. 201 84                     S.Ct.          1199
                      12 L.Ed.2d               246    1964          .......................................................................                                        47


    McCambridge                        v.   State    712 S.W.2d 499 Tex. Crim. App.                                               1986
                 cert.           denied        495 U.S. 910 110                  S.Ct.          1936
                  109 L.Ed.2d                  299    1990            ......................................................................                                       46



    McCleskey                   v.    Kemp      481 U.S.      279       107 S.Ct.                 1756
                 95 L.Ed.2d                   262    1987        ........................................................................                                          72


    Melton        v.       State            511 S.W.2d    957 Tex. Crim. App.                                  1974                ..............................
                                                                                                                                                                                   55




    Michigan               v.    Jackson        475 U.S. 625 106                    S.Ct.          1404
                 89 L.Ed.2d 631                      1986        ........................................................................                                          47



    Mincey        v.       Arizona            437 U.S. 385 98               S.Ct.         2408
                 57 L.Ed.2d 290                      1978       .........................................................................                                          45


    Miniel       v.    State            831 S.W.2d        310 Tex. Crim. App.

                 cert.           denied        506 U.S. 885 113                  S.Ct.         245
                  121           L.Ed.2d        178    1992      .........................................................................                                       3852


    Miranda            v.       Arizona.        384 U.S. 436 86                S.Ct.          1602         1966                 ................................               PAssmI


    Moreno            v.    State           721 S.W.295       Tex. Crim. App.                            1986              ...................................                     67


    Muniz    v.        State           851 S.W.2d 238           Tex. Crim. App.                              1993
                 cert denied                   114    S.Ct.   116    1993                .........................................................                                 46




                                                                                             ix
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 11 of 90 PageID #: 1223




                                           TABLE OF AUTHORITIES                                                    CONTINUED
    Cases                                                                                                                                                                   Page


    Narvaiz           v.     State       840 S.W.2d 415 Tex. Crim. App.                                       1992
                  cert.          denied     507 U.S. 975 113 S.Ct ......................................................                                                      30


    Nored        v.    State            875 S.W.2d 392 Tex. Crim. App.                                    1990              .................................
                                                                                                                                                                              64


    Oregon            v.    Bradshaw 462             U.S.    1039          103 S.Ct.                2830
                  77 L.Ed.2d 405                  1983             ......................................................................                                     41




    Oregon            v.    Hass 420         U.S.    714 95        S.Ct.         1215
                  43 L.Ed.2d               570    1975            ......................................................................                                      54



    Oregon            v.    Mathiason           429 U.S. 492 97                  S.Ct.         711
                  50 L.Ed.2d 714                 1977         .........................................................................                                       54


    Pierce       v.        State 777 S.W.2d 399 Tex. Crim. App.                                             1989
                  cert.          denied     496 U.S. 912 110                  S.Ct.         2603

                  110 L.Ed.2d               283   1990           .......................................................................                                       13


    Powell        v.       State        898 S.W.2d 821 Tex. Crim. App.                                      1994                ..............................                64


    Pulley       v.        Harris 465 U.S.           37     104    S.Ct.          871 79 L.Ed.2d 29                                1984                  ................     72


    Rhode        Island            v.   Innis 446 U.S.       291 110                S.Ct.         1682         1980               .............................             4053


    Romero            v.    State        800 S.W.     539 Tex. Crim. App.                               1990              ..................................                3864


    Rousseau                v.   State    855 S.W.2d 666 Tex. Crim. App.

                 cert.           denied     510 U.S. 919 114                  S.Ct.         313

                  126 L.Ed.2d               260   1993           .......................................................................                                      68



    Royster           v.    State        622 S.W.2d 442 Tex. Crim. App.                                      1981            ................................                 67


    Salazar
                 App.--Fort
                      v.



                       d
                            State

                                 Worth
                                         805 S.W.2d 538 Tex.

                                           1991     pet.   ref                ..............................................................                                  12



    Sonnier           v.    State        913 S.W.2d 511 Tex. Crim. App.                                       1995              ..............................              2930

    State   v.    Saiz 427 N.W.2d                    S.D. 1988                  .............................................................                               5961

    Sterling          v.    State        800 S.W.2d 513           1990               cert.       denied              501 U.S.                   1213
                  111            S.Ct.   2816     115 L.Ed.2d           988        1991                  .............................................                        53



    Stickney           v.    State        169 Tex. Crim.         533 336 S.W.2d                             133       Tex.          Crim.           App.
                 cert.           denied     363 U.S. 807 80                S.Ct.          1245 4 L.Ed.2d                           1151 1960.........                         65




                                                                                           x
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 12 of 90 PageID #: 1224




                                              TABLE OF AUTHORITIES                                                          CONTINUED

    Cases
                                                                                                                                                                                       Page


    Taylor    v.        State              850 S.W.2d        594 Tex. App.--Houston

              1st Dist.                      1993   judgement vacated on other grounds
              863 S.W.2d 737                        1993               .........................................................................                                         43


    Texas Dept.                   of Community Affairs                      v.    Burdine                 450 U.S. 248                         101         S.Ct.        1089
                  67 L.Ed.2d 207                    1981                    ......................................................................                                        12



    Thomas         v.       State           723 S.W.2d          696 Tex. Crim. App.                                    1986           ................................                   53



    Thompson                v.        Keohane       116    S.Ct.         457          133 L.Ed.2d                     383        1995                ........................            54



    Townsend                v.    Sain 372 U.S. 293 83                           S.Ct.        745         9 L.Ed.2d                  770       1963                ...............       44


    United States                          Fernandez 887 F.2d 564 5th
                                      v.                                                                  Cir.        1989              ...............................                  13



    United States                     v.   Leon 468      U.S.        897          104 S.Ct.               3405
              82 L.Ed.2d                      677   1984                  .......................................................................                                      5961


    Upton    v.        State               853 S.W.2d 548 Tex. Crim. App.                                          1993                 ...............................                  47


    Wainwright                   v.    Witt    469 U.S. 412 105                       S.Ct.          844         83 L.Ed.2d                   841          1985             ........     13


    Walton        v.    Arizona               497 U.S. 634 110                      S.Ct.          3047           111       L.Ed.2d                  511 1990.......                     72


    Welch    v.        Butler 835 F.2d 92                     5th Cir.
              cert.              denied        487 U.S. 1221                     108 S.Ct.              2877
              101                L.Ed.2d 912        1988                      ....................................................................                                       46


    Whitsey        v.       State           796 S.W.2d         707 Tex. Crim. App.                                     1990                                ....................          14


    Wicker        v.    State               740 S.W.2d         779 Tex. Crim. App.                                    1987
              cert denied                     485 U.S. 938 108                        S.Ct.         1117          1988              .................................
                                                                                                                                                                                         44


    Wilkerson               v.    State       881 S.W.2d            321 Tex. Crim. App.                                     1994
              cert denied                     115 S.Ct. 671                1994                .........................................................                                 62


    Williams           v.    State           749 S.W.2d           183 Tex. App.                          --    San Antonio                      1988
              pet.           refd 1989              .....................................................................................                                                69



    Willingham                   v.   State    897 S.W.2d 351 Tex. Crim. App.

              cert.              denied        116 SCt. 385 133 L.Ed.2d                                       307        1995               ............................                 71




                                                                                                  xi
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 13 of 90 PageID #: 1225




                                 TABLE OF AUTHORITIES                                                                continued


    Cases
                                                                                                                                                                  Page

    Statutes    and Rules


    28 U.S.C.       2254
                             ...........................................................................................                                             54

    U.S CONST.    AMEND. V             .....................................................................................3140414




    U.S.   CONST. AMEND     VI
                                             ................................................................................                                    PASSIM

    U.S.   CONST. AMEND.    VIII
                                                     ...........................................................................                                     72

    U.S.   CONST. AMEND XIV
                                             ................................................................................                                   PASSIM

    TEX.   CODE   CRIM. PROC. ANN.              ART.        215             ............................................................                            65

    TEX.   CODE   CRIM. PROC.      ANN       ART.          14.03A1 VERNON                                        1977              .........................        64

    TEX.   CODE   CRIM. PROC. ANN.             ART.          14.04                     ....................................................                         65


    TEX.   CODE CRIM PROC ANN            ART.          15.17             ..............................................................                             32


    TEX.   CODE   CRIM. PROC. ART.            35.16B3                       VERNON 1993                             ..................................           2025

    TEX.   CODE   CRIM. PROC.      ANN. ART. 37.071                                                   ...........................................                 270

    TEX.   CODE   CRIM. PROC. ANN.             ART.         37.09                                                                                                   67
                                                                                                      ...........................................




    TEX. CODE CRIM. PROC. ART. 38.22
                                                                                        ....................................................                    PASSIM

    TEX. CODE CRIM. PROC. ART. 38.23
                                                                                         ...................................................                    PASSIM

    TEX.   PENAL CODE ANN           19.03                                                                                                                           72
                                                                        ..............................................................




    TEX.   PENAL CODE ANN.           22.02                                                                                                                          67
                                                                ...................................................................




    TEXAS RULES OF CRIMINAL EVIDENCE                                    RULE 401                                ....................................                55

    TEXAS RULES OF CRIMINAL EVIDENCE                                    RULE 402                                ....................................                55

    TEXAS RULES OF CRIMINAL EVIDENCE                                   RULE 403                           .........................................2829303




    TEXAS RULES OF APPELLATE               PROCEDURE RULE                                 52a                              ..............................      245261

    TEXAS RULES     OF APPELLATE            PROCEDURE                      74      F            ..............................................                   4661

   TEXAS    RULES   OF APPELLATE            PROCEDURE                      81B2                         .........................................               PASSIM




                                                                                 xlii
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 14 of 90 PageID #: 1226




                    TABLE OF AUTHORITIES          CONTINUED

    MISCELLANEOUS                                                                   Page

    RULE 202 OF THE SOUTH DAKOTA RULES OF CRIMINAL EVIDENCE   ...................     58




                                         xiv
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 15 of 90 PageID #: 1227



                                     IN      THE COURT OF CRIMINAL APPEALS
                                                OF THE STATE OF TEXAS

                                                                      No. 72102


 BILLY JOE            WARDLOW                                                                                      APPELLANT

  V

 THE STATE OF TEXAS                                                                                                APPELLEE



                       APPEAL               FROM THE             76TH JUDICIAL                 DISTRICT          COURT
                                                      OF TITUS COUNTY TEXAS
                                                          CAUSE NO. 12764




                                                                STATES BRIEF




 TO THE HONORABLE COURT OF CRIMINAL APPEALS

            Now      comes          the    State of      Texas by and through              the    Attorney    General of Texas              and

 files    this    brief for the       State in this cause             wherein appellant           was found        guilty of the       offense

 of capital        murder and sentenced                    to   death.


                                                     STATEMENT                OF THE CASE

 A.         Course of Proceedings                        and Disposition Below


            Appellant          Billy         Joe     Wardlow        Wardlow               was     indicted       in    the   276th     Judicial


 District       Court of Morris County                     Texas          for the    capital   murder of      Carl Cole        while in the


 course of committing and                          attempting    to   commit         robbery.      2 Tr    62.        Prior to trial     venue

 was changed from Morris County                             to Titus       County      Texas.     2 Tr 72.       Wardlow        pleaded not




                  Tr
                                                                                                                             R
            1
                           refers    to    the     transcript   of papers      filed   with the    court   during the        course of

 Wardlows          trial     preceded          by volume        number       and followed by page numbers.                       refers     to

 the     record    of transcribed           trial    proceedings          preceded     by volume     number        and followed by page
 numbers.         SX        refers    to     the    numbered      trial    exhibits offered       by the   state      and admitted     as

 evidence        atWardlows               trial.
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 16 of 90 PageID #: 1228



 guilty and                on February                  8     1995     the jury found                   him    guilty       of the    capital         offense.           2 Tr

  155.       On    February                    11 1995          after a separate                  punishment          hearing the jury answered the

 two      statutory                special           issues     submitted          pursuant             to    Texas     Code of Criminal Procedure

 Article 37.071                    yes          and     no      respectively.                2 Tr     162-163.         Accordingly               punishment                  was

 assessed         at   death.             The        trial   court entered             the   formal judgment                of conviction             and    sentence.


 2 Tr     165-168.                  Appeal            to this Court          is   automatic.


 B.          Statement                    of Facts




 82-year-old
             1.               Guilt-Innocence                        Phase

             In the         late      afternoon of June                    14 1993 CharlesCole                        arrived        at   the    home        of his

                  father Carl Cole in                         Cason        Texas.            33   R    90.     He    observed that his fathers                           1993

 Chevrolet four-wheel-drive                                  pickup    was gone and                 noticed         some blood on               the              in front
                                                                                                                                                      steps


 of the door.                                   93.      Thinking that his father had                                                                  had gone
                                                                                                                  injured himself and
                               Id.        at                                                                                                                                  for


 help        Charles               tried              use the        phone
                                                to                                to    call      hospitals.          Id.    at   93-95.          However                after


 discovering               that       the       phone         had been disconnected                          Charles        became        alarmed           and     called


 Morris County                      Sheriff            Ricky     Blackburn               from a neighbors                    house.           Id.     at   95.          Upon

 returning        to his fathers                     house Charles found                      his fathers           blue jeans            shirt       and boots              laid




 112-113.
 out    on   a rocking                chair          in his bedroom.               Id.       at   96.      The house appeared                   undisturbed but

 Carl    Cole          his billfold                  and the keys           to his pickup                  were nowhere            to be        found.       Id.        at   97.


             Sheriff Ricky                      Blackburn        arrived      at       Carl       Coles home           shortly thereafter.                  33    R
          He      discovered                   a pair of glasses broken                      in   two        a partial set of dentures                     and a small


 amount of blood                     in    the       carport near the door.                   Id.     at   113.     Authorities           also discovered                    that


 Coles phone                lines         had been disconnected                        from outside the house.                     34     R   177-178.            At         that


 point Blackburn                      initiated a full-scale                  investigation                  into   Carl Coles whereabouts.                             33     R
 130.        Law       enforcement                     officers       combed           the     surrounding            area    searching for any sign of

 Carl Cole           or his          pickup             the    registration            number of which had been run on                                 the    National


 Crime Information                             Center.         Id.    at   131         34    R     181.       Finally        at   about       midnight Deputy

 Sheriff Bill              Barnard discovered                                      items that appeared                      to have       been
                                                                     several                                                                          dumped from

 Carl     Coles            truck           --    his     checkbook            some farm tools and an adding                                     machine            --    at     a



 STATES      BRIEF     -
                           Billy    Joe   Wardlow                                                                                                                              2
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 17 of 90 PageID #: 1229



 turnaround on asmall backroad                                     in nearby         Titus       County.        34   R    182.186.          But     there       was

 still     no    sign of Carl Cole                      or his pickup.


                In the pre-dawn                 hours of June             15               an all-night search of the
                                                                                 after
                                                                                                                                        surrounding         area

 game warden                   Billy       Dodd         and state trooper             David McFarland                 accompanied Charles Cole

 back       to his fathers                  house        where      the       three conducted             a thorough           room-by-room              search.


 33      R 103          34          R   216-217.           They scoured              Carl    Coles bedroom                 in the      darkness          looking

 behind          doors and under the                          bed with         a flashlight.          33    R    103 34         R    218.    Charles Cole


 opened his fathers closet and                                Dodd       shone the         flashlight in.            33   R 103        34   R   219.       There


 in the         closet       stood the body                   of Carl Cole a bullet hole between                           his eyes.         34    R     219.


                Dodd immediately                     closed        the closet        door and ushered             Charles        out of the        room.         33


 R       104 34     R       219.          He   then returned             to check        the     body.      34   R    219.       Carl Coles face             was

 swollen and there was a prominent                                   wound between                 his eyes at the             bridge    of his nose.            Id.



 at      221.     He        had on a pajama top and undershorts                                      and was wrapped                in a bedspread.              Id.



 Dodd           could        not detect             a pulse        and he noted             that     Coles arm was cold and                     stiff.     Id.    at



 220.           The body was removed                              from    the closet           and    transported         to Dallas         County         for an



 autopsy.           Id.      at     226        33   R     139.


                Medical             examiner Dr. Jeffrey                 J.   Barnard determined                 that Cole          died as the result of


 a single gunshot                         wound      to     the   head.        33    R     146.      The    bullet        which       Barnard recovered


 from Coles body during                                 the   autopsy entered               between         his eyes       directly above            his   nose

 traveled         through the nasal bone the                             mouth        and the spinal cord                 and    finally     lodged in the

 lower          portion             of the      cervical          vertebra.          Id.    at     145.     There         were       also   abrasions           and

 contusions             on Coles back                   which       Barnard          testified       were   consistent          with drag marks                 and

 a laceration               on      the     back     of Coles head                   which       Barnard        stated     could      have      been caused


 either by Cole falling                        backward           or being struck           from behind.          Id.     at   152.     Barnard testified


 that the        absence            of any identifiable residue on the                             entrance      wound          indicated       that the        gun

 had been          fired        from a distance                of three       feet   or more.         Id.   at   146.      He       testified further that


 the      path of the bullet indicated                             the    bullet had         traveled       basically          downward          but that he


 could      not conclude                   from      this     whether         Cole had been standing                      kneeling       sitting         or lying



 STATES         BRIEF   -   Billy   Joe   Wardlow                                                                                                                  3
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 18 of 90 PageID #: 1230



 when      he was shot.                       Id.    at       149-150             155.


           On        June           15         1993                Linda       Wardlow                  the     defendants                mother              informed            Sheriff


 Blackburn           that the             previous                 morning she had                       noticed          a Llama            .4     semi-automatic                   pistol


 was    missing from her home.                                          34    R      355-356.             She        gave Blackburn                     the     serial   number of

 the   gun and some ammunition                                       she had used                  in   the     gun.       Id.     She also stated that Wardlow


 and his girlfriend Tonya Fulfer had been staying                                                          at   her house               for a      few days but                  that she


 had    not        seen           them        since                      on     the                            of June                                    362.        Will
                                                               late                        evening                               13.     Id.       at
                                                                                                                                                                                 Emery

 Wardlows            neighbor                 told        authorities                that    on    the     evening of June                        13 1993 Wardlow                       and

 Fulfer had          come           to    his house and                      Wardlow           had shown Emery                          a blue           steel    .4     pistol with


 wooden            handles.             Id.    at    247-252.




 264-266.
           Dorothy                 Smith             live-in             caregiver             for        Carl        Coles             86-year-old              sister      Waldine

 Henderson                 testified               that       she        had         seen     a young                couple           matching            the        description         of


 Wardlow            and Fulfer near Coles house                                        at    about         630        a.m.       on June 14                1993.2        34      R
          Smith watched                       the    couple              from a            window          as they             stood talking              directly in front of


 Hendersons                house.              Id.    at       266        294.         She saw them walk down                                     the road toward                 Coles

 house which was down                                 the          street      from Hendersons                         house            and stop           at    a van    parked in

 the    driveway of Coles next-door                                            neighbor.                 Id.    at   267         295-299.               As     the    couple         stood


 looking           inside         the     back        of the             van         Smith saw             a    gun with brown handles                                in the      mans

 back     pocket.                 Id.    at    267-268                  300.         The      man         then       walked            under Coles carport                        out    of


 Smiths        sight and the                   woman                followed.                Id.    at    320.        A    minute            or   two      later Smith heard


 a gunshot           and          saw      the       woman               run out            from under               the       carport            stop     quickly        and bend




           z
                   Smiths in-court                    identification                  of Wardlow                was admittedly                less      than certain.            In

 response      to    the      prosecutors                     question            Do        you see him              in   the    courtroom              today          Smith

 replied       I    believe             so....            I   think thats              him over there....                        It    looks       like    him....           I   didnt
 see   him     in   the      face        good.                34    R   269-270.             Smith maintained                    nonetheless that                the     man      she

 had seen walked                    like       a    Wardlow                  and while she could not say                               for   sure       that    the    man was
 Wardlow            she believed               that       he was.             Id.     at    308         276-278.          Regardless of the                   vacillation         of
 Smiths identification                         Wardlow               admitted           in    both his statement                   to   police          and     his   testimony

 during the         guilt-innocence                   phase             of   trial    that    he had gone                 to   Carl Coles               home on        the morning

 of June       14 1993              intending                 to   rob    him.



 STATES    BRIEF      -
                          Billy
                                  Joe    Wardlow                                                                                                                                          4
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 19 of 90 PageID #: 1231



 over.     Id.     at       324            326.      Smith thought the            man had                shot        a snake          behind Coles house                         and

 she returned                 to her             housework unconcerned.                           Id.   at     326        332.         About            five    minutes         later


  Smith     returned                     to the      window        just    in time to see                 Coles pickup                        back      out of the            carport


 and     drive      away                  at    a slow      rate of speed.          Id.    at       326-327.                   Smith assumed                   that       Cole was


 driving         but        she could               not see through          the       tinted       windows                of the pickup.                     Id.    at   328-329

 340.


            On      June                 15 1993           Jerry    Wagner         part       owner of                  a used       car        dealership           in   Norfolk

 Nebraska               finalized a deal                        with a young           couple           fitting         the     description              of Wardlow              and

 Fulfer.          35        R        449-450.              The     couple        drove    off the              lot        in    a black           1987         Ford Mustang


 convertible with                        $8000           cash    the car   and the cash received                                                              what was
                                                                                                                           in   exchange               for                      later



 determined to be Coles 1993                                      Chevrolet        pickup.               Id.       at   449 451                 454.


            Then on                       the     evening        of June     16     1993            a patrolman                  in    Madison                 South       Dakota

 apprehended                   Wardlow                   and Fulfer and took them into                               custody           after receiving                 a teletype


 advising that               a Texas               warrant had issued for               their       arrest           on charges                 of capital           murder.      35

 R   471-472.               A       Llama .4 semi-automatic                       pistol          was found under                      the       passenger            seat     of the


 car    and       seized pursuant                         to    an inventory           search.               Id.     at   473         481.             Firearms examiner


 Raymond           Cooper confirmed that the bullet recovered                                                 from Coles body                           was       in fact       fired


 from     this    gun which was admitted                                  into   evidence               at   trial.        34    R 377 SX                   23.      Blackburn

 Dodd      and McFarland                           transported         Wardlow          back            to Texas           on June 22 and 23 1993                                and

 Wardlow           was immediately                             incarcerated       in    the       Morris County                      jail.       35     R     488-489.


           On      February                     28 1994 Wardlow                  wrote Sheriff Blackburn                              a       letter    delivered          through

 the jails        in-house                     mail system        in   which      Wardlow                confessed              to    the       robbery           and shooting

 of Carl Cole.                      It    read in pertinent             part


           Ricky
           I     told       you           I    would give you a statement so here is what happened on June

            14          1993.                  The night before I was at the neighbors house me and
                                                                                                       my
           girlfriend                     and     we were         watching        a movie.               I   already            had       in    my      possession
           the     Llama .4 Automatic                              that    was used           for the                                          showed
                                                                                                               shooting.                  I                    the    gun
           to
                  my         neighbor William                     Emery who             examined                it      and complemented                        me on
                    At about                      1130
           it.
                                                            p.m.       on 06/13/93            I    left      with         my     girlfriend              to    go and


 STATES    BRIEF        -
                            Billy        Joe   Wardlow                                                                                                                    5
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 20 of 90 PageID #: 1232



          check              out the             place       and see                 if                               was                               There were no lights on and
                                                                                              anyone                              up.
          not        a sound to be heard.                                            reached                     the        porch                       and undid
                                                                                I                                                                                                  the    phone line so
          that       no one could                          call          the     police.                     I    knocked                           on the          door and there was                                    no
          answer.                 I     then         decided to go back                                      home             after                     two     other tries                      later       that day

          and early the next morning.                                                    The            intention                 was                   to get          him         to    let            me    use the

          phone              and once inside                              I   would rob him.                                  I    had stolen trucks before                                                    but     this

          time           I   had no money.                                When we                        got          home              I       set the             alarm for                     500          a.m.       so
          I    could               go        and           get       the        job               done.                    My           girlfriend                           followed                    me     to      my
          neighbors                     house              and there she stayed                                            until            I       came back with                               the      truck.          It

          was        actually                about          605               a.m.        when               I    left       the            house.                  I
                                                                                                                                                                            got     there              and     still      no
          one was up.                        I       knocked                  on the door and there was no answer.                                                                           I       went up            the

          road and waited                              at    the              house           that had                     recently                      burned                  down        and          when          his

          light          came on                 I   went back.                      I    knocked                      on the               door and he answered.                                                I     told

          him        my           car       was broke                    down                 and wanted to                                 know               if       I        could use the phone

          so     I       could              call
                                                      my         friend.                  He            reached                   inside                  the       door and                      picked             up    a

          cordless                phone              and handed                     it        to me.                  It    didnt                       work because                      the            lines       were
          disconnected.                              He     set the             phone down on                                     the                   table and                 started to close                      the

          door.                  then                        the              door and ask                                  he had                       another phone                           and that that
                             I
                                             caught                                                                   if


          phones                  batteries            might be dead.                                   He        said        no and                      persisted to close                               the       door
          and then                      when                drew                                        .4                                                                       And
                                   is                  I                      out        the                     from in                    my           pants.                          as          I   brought           it


          out        I       corked              sic        a shell              into             the        chamber.                               I    raised             it
                                                                                                                                                                                  up and told him to
          walk               inside the               house.                   He        ran at the                        door for                      me       and             screamed                when            he

          caught                 my     arm.          Being younger and stronger                                                                I       pushed              him     off          and      shot         him
          right between                          the eyes.                    Just because                        he pissed                         me     off.                  He was              shot like            an
          executioner                        would           have              done               it.     He           fell       to the                  ground                  lifeless               and didnt

          even               wiggle a                hair.           I        proceeded                      inside               found                   his jeans                 and           removed               all


          money and keys                               from          it       since           I     didnt                  know which                           keys               were          to the         truck.

          I   then               thought              of putting the                              body                in    the         truck              and                                           off    in the
                                                                                                                                                                             hauling              it


          woods                  but decided                     I   didnt                have               any time to waste                                              since        a       .4       shot         that

          early in the                       morning was                            abound                   to        draw some                              attention.                     I       went       to     the

          bedroom and grabbed                                            the    blanket                      went            outside                      and wrapped up the                                     body.
          I   picked              up        the      body and went back                                            into       the               bedroom.                          There          I
                                                                                                                                                                                                         put him          in

          the closet                  and shut the door thinking                                                 it    would be some time before he would
          be found.                                                           out    of the house                             not even
                                             proceeded                                                                                                         thinking of fingerprints.
                                        I


          I
              got        the       truck             which           already                  had keys                      in     it       and           left.              I    headed               out toward
          144        S.          then       onto           11.       There                I   went toward                                                               and turned                       off   on      the
                                                                                                                                        Pittsburg

          road where the corner                                      is       right before                       you          get to the                        bridge              SE           35A.          At      the

          corner             that       goes          to the creek                   I        went down the                                 trail         in the                 truck       and unloaded
          anything that wasnt paperwork for the truck.                                                                                          I       then    left             going           out the          other

          way            ending              up on SE 35 then onto.144                                                        N.                    I    then       turned up on the back

          roads to                my        neighbors house                               which                  is    on         the               blacktop                  by    my           house.           Here



 STATES   BRIEF      -
                         Billy    Joe   Wardlow                                                                                                                                                                           6
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 21 of 90 PageID #: 1233



              I   parked              and got          my         girlfriend         and          we     walked over to the house                             and got our

              things           which were                    already           packed              and in the back                 of    my        pickup.           Carried

              them            to the truck              and        left   by way of 144 N. to 49 and then                                          to Mt.          Pleasant.

              I   gassed up with the                              47 dollars              I   found in the wallet which                             I    kept.           Then           I



              stopped                 at     the       store         right         by         the        interstate          and    got        a    Coke.                I        then

              thoroughly                   searched the wallet and found $100                                            bill      and then threw                   it       in the

              dumpster.                 We         then proceeded                    to       an destination             along the            way        I   told her the

              above things just as they                                   happened                and told her she didnt have                                to go           if    she

              didnt want to but                               I    assured         her        I   wouldnt be                 caught.




  The     letter     was admitted                      as evidence              at    Wardlows                trial      and was read into the record in the


 jurys        presence.                 35       R    524-527              SX        73.


              Wardlow                  took the stand                     on   his    own             behalf      at    the     guilt-innocence                 phase of                    trial    to




  644-657.
  testify         regarding                the     circumstances                     under             which       he wrote             the    letter         confessing                     to     the


  crime.          37    R       636-643.                He         also testified regarding                            the    facts      of the offense and                             his trial



  testimony conformed for the most part with the facts                                                                  as set forth in the                   letter.             Id.       at



           Wardlow                    told the jury that contrary                                 to the     letter       Fulfer         did   accompany him                                to Carl


  Coles home.                    Id.    at    643.           He     also stated that he                      did    not intend to              kill          Cole    when               he went


  to    his       home.               Id.     at      644.           They          only intended                   to     rob      him and              take        his           truck.            Id.



  However when                         Wardlow.               brought          out the                gun    and told Cole to go back                               into          the       house

  Cole lunged                 at      Wardlow                and grabbed                his        arm and         the       gun        attempting            to push               Wardlow

  away.        Id.     at     648-651.                Wardlow              testified              that    Cole was            stronger than he expected                                     him      to


  be    and Wardlow                     was caught                   off balance                  and began             to fall     backwards.3                    Id.       at    648           652.


  Wardlow            claimed he shot                         the     gun       without aiming hoping                               it    would          get    the       victim              off of


  him.      Id.    at     648 651 653                             664.     Wardlow                    shot   Cole right between                         the    eyes.              Id.       at   648.


              Wardlow                  told the jury that he had                               been planning                  to rob      Cole          for less than                   a    week

  but   that      he had been planning to travel                                          to      Montana          for       some time he and                       Fulfer              were on

  their    way       to       Montana             when            they were apprehended                            in    South      Dakota.              37    R      656-657 670.




  82-year-old
        man
  Wardlow
              3
                   Testimony
                   stood five

                   stands             well
                                             at


                                            feet

                                                 over
                                                     trial


                                                       seven
                                                              revealed that



                                                             six feet
                                                                     inches

                                                                           tall.
                                                                                   tall


                                                                                      34
                                                                                              Carl



                                                                                                  R
                                                                                                       Cole
                                                                                              and weighed

                                                                                                      311    35
                                                                                                               while strong



                                                                                                                   R
                                                                                                                        about

                                                                                                                         450.
                                                                                                                                         and active

                                                                                                                                   145 pounds.
                                                                                                                                                               for

                                                                                                                                                              33    R
                                                                                                                                                                         an

                                                                                                                                                                             106-107.




  STATES      BRIEF       -
                              Billy   Joe   Wardlow                                                                                                                                                   7
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 22 of 90 PageID #: 1234



 He     admitted that                        he and            Fulfer        had discussed                   the     danger of leaving                   a witness          to their


 crime             but        that          they        had         decided      to     incapacitate                 Cole         by   either      kidnapping             him and

 dumping him                          in     some remote                  area or          leaving           him     tied     up so he could not                     contact       the


 authorities.                 Id.      at    676-677.               Wardlow           also     acknowledged                   that        before their arrest he and


 Fulfer bought                    several             personal items with the cash they received                                                from the        sale      of Coles


 pickup.            Id.       at      683-688.


              2.                Punishment Phase

                                States Evidence


              Morris County                            deputy         Bill      Barnard           testified          that     while on patrol               on January 11

 1993         he observed                        Wardlow              driving         at   a high            rate    of speed             and    attempted           to pull      him

 over.        39     R        19.           Wardlow             refused to             pull    over and Barnard was                              forced      to pursue him.


 Id.    at   20.      Barnard followed Wardlow                                         for several              miles with his                  lights     on     but Wardlow


 continued           traveling                   at   dangerous            speeds in excess of 100 miles per hour on the highway

 and 70 miles per hour on a narrow                                               county road.                  Id.    at    20-21         27-28.         Finally Wardlow


 pulled       over and Barnard placed                                      him under               arrest for fleeing.                    Id.    at   28-30.


              John            Schultz              a salesman at a used                        car      lot    in Fort        Worth         testified       that on June               5
 1993 Wardlow accompanied                                            by a       woman          took a 1989 Chevrolet                            pickup      for a test drive


 and never brought                            it      back.     39     R     31-34.


              Morris County                           jailer    J.   P.    Cobb        testified        that       on February            20 1994           while Wardlow




                    This          discussion                apparently          took    place          when     the   couple           discovered          before knocking

 on Coles door                        that       there      was a      set   of keys         to    Coles pickup                   on the dashboard of the pickup.
 37    R     646.     Thus                 according           to    Wardlows              testimony           at    that    point they          realized       they      could

 either      take    the          pickup           without          having       to    confront          Cole and           risk    him    informing         the     authorities

 of the crime as soon                            as    he awoke            or they could                confront       Cole         rob    him        and incapacitate
 him by        either          kidnapping                   him     or tying him up.



                    When              asked           by the prosecutor                why        if    he intended           to    tie
                                                                                                                                          up Cole he            failed to       bring

 any rope with him Wardlow                                          responded         that    he planned             to     use a telephone              cord    or anything

 else   he might find                       in     the victims            home.         37    R        678-680.        It    is    also significant to note                that

 evidence           was presented                      at   trial    indicating         that      Carl Cole           knew Wardlow and would                           likely

 have been able                    to      identify          him     as   the    perpetrator            if    he had had the opportunity                        to   do   so.     33   R
 102       108 34             R       363.       Wardlow             no doubt.was                 fully       aware of        this fact.         37    R   689.



 STATES       BRIEF       -   Billy    Joe   Wardlow                                                                                                                                    8
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 23 of 90 PageID #: 1235



 was      incarcerated                   in the      Morris County                jail    awaiting          trial    for the        instant    offense jailers

 found a two-foot metal bar with a six- or eight-inch                                                     rod extending              from the middle of                     it




 behind       Wardlows                     bunk      in the       cell      he shared         with three other inmates.                        39   R           141-142.

 One of Wardlows former cellmates                                           testified that          Wardlow             had planned to use the                       metal

 bar to      hit    one of the jailers in the head then                                    take     his keys         and escape.             Id.   at       145-147.

             The       state        also offered into              evidence         several         letters      Wardlow            wrote    to Sheriff Ricky


 Blackburn                 and                 Patsy Martin                  while       he    was        incarcerated                    Morris
                                   jailer                                                                                          in               County               jail



 awaiting         trial.         In these letters            Wardlow             threatened         to    harm       other inmates jailers                        and the

 sheriff.         39       R     173-176            SX     82-86.



             Deputy sheriff Warren                          Minor           testified     that while being transported                         from the Titus


 County        jail        to      the    courtroom          on     the       morning of             the    second           day     of his trial               Wardlow

 stated the jail               was       using trustees          as guards          and       if    they dont stop                 using them           I       am   going

 to double          my         time on one of               them.             39   R      177-178.


             Harry Washington                            an undercover              narcotics           agent       testified        that on       September               9

 1992 he and an informant                             approached                 Wardlow           attempting           to   buy some marijuana                       from

 him.        40    R       208-209.            Wardlow who was                           seated in his pickup                 told        Washington              that he


 did not      mess with                  drugs.      Id.    at   209.         Washington             then     observed         a     .4 handgun                 lying     on

 the   seat next            to     Wardlow.           Id.   at    210.        Washington            asked Wardlow               why        he had           a   gun      and

 Wardlow           laid        his hand on top              of the gun and said to Washington                                  Ill        shoot you with it.

 Id.




             Royce               Smithey            an     investigator            with       the    unit        that    prosecutes          felony             offenses


 occurring             within            the   Texas        prison           system        testified                            the       different                       of
                                                                                                             regarding                                          levels


 security within the prison system.                                40        R   215-216           220.     He      told the jury that while                      capital


 murder defendants                          who       receive           a    death        sentence          are                            from     the
                                                                                                                    segregated                                   general


 population          and are                         monitored              and have limited access                     to prison
                                         strictly                                                                                         employees               capital


 murder defendants                         who       receive       a life        sentence                 into    the                                            and
                                                                                                   go                    general          population                     are


              classified no differently                          than
 initially                                                                  any other felony offender.                        Id.    at   221-222 225-227.

 Smithey          testified         further         that violent            crimes which             sometimes involve                     prison   employees


 STATES      BRIEF     -
                           Billy   Joe   Wardlow                                                                                                                           9
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 24 of 90 PageID #: 1236



 occur     fairly        often         within         the   Texas        prison system and that                     the    incidence       of such crime


 is   much      greater in the                 general           population       than      on death row.             Id.    at    222-227.


                          Defense Evidence

           Amy          Billingslea               Wardlows               former church               youth     minister testified that she had

 known      Wardlow               since     he was a baby                 and had worked with him when                            he became       involved

 in   the church          youth group                 as a teenager.            40   R     260-261.         She described           Wardlow           as quiet


 well mannered                   hard working                    bright and respectful.                 Id.    at    262-263.        He    played on the

 church        basketball               team and            participated          in     church       fundraisers.           Id.    at   261.     Although

 Wardlow         attended               church         regularly during his early                     teens     he had quit attending                  several


 years before the                 instant         offense occurred.                  Id.   at   262    265.


           Glendon Gillean a                          librarian     at    Daingerfield          High School               testified that as a student


 there Wardlow                  had often come                   to the       library before         school and during lunch to work on


 educational        computer programs                            and had volunteered                  to help pack          and move books               when

 the library      was           relocated.            40    R    267-269.        Wardlow         regularly          checked        out books      on topics

 such     as    mechanics                 technology and                  aeronautics.           Id.   at     269.      Wardlow          never created        a


 disciplinary           problem for Gillean.                      Id.    at   270.     Assistant principal             Gerald Singleton               testified


 that   Wardlow            had attended                school      regularly         and had never had any disciplinary procedures


 lodged against             him.         Id.     at   271-272.           But Wardlow             had quit school             before completing             his


 junior year.            Id.      at    273.


                                        STATES REPLY TO POINT OF ERROR ONE

                          THE   PROSECUTIONS   PEREMPTORY   STRIKE  OF
                          VENIRE MEMBER NELL OWSLEY DID NOT VIOLATE
                          THE   EQUAL   PROTECTION   CLAUSE   OF   THE
                          FOURTEENTH AMENDMENT TO THE UNITED STATES
                          CONSTITUTION.


           In    his       first        point         of error Wardlow                   contends       the     state      exercised       a    peremptory

 challenge        against              venire         member         Nell       Owsley          on    the     impermissible basis                of sex     in


 violation       of the           Equal          Protection          Clause of the              Fourteenth           Amendment            to    the    United


 States    Constitution.                   Batson           v.   Kentucky            476 U.S. 79             106     S.Ct.    1712       90 L.Ed.2d         69



 STATES   BRIEF     -   Billy   Joe    Wardlow                                                                                                              10
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 25 of 90 PageID #: 1237



 1986.

 A.          Statement of Underlying                                     Facts


            After            venire         member Owsley                      qualified        as     a juror        in   Wardlows                 case   the       state


 exercised         its       fourth         peremptory              challenge to remove                    Owsley from                the    panel.      22     R    164.


 Wardlow                                                 to the                     use of a peremptory
                   timely objected                                    states                                               challenge           against        Owsley

 claiming        that        the challenge               was impermissibly based on Owsleys age and                                            sex.     Id.     at   165.


 Wardlow          pointed to the                   fact   that of the states                first      three peremptory                 challenges            all    were

 exercised          to       remove women                       over the         age    of 50.            Id.     The      trial      court    then     invited       the



 prosecutor          to       set forth his               gender- and               age-neutral           reasons        for exercising              a peremptory


 challenge on Owsley.                             Id.    at    166.       The prosecutor               stated


            My      reason for striking                        Ms. Owsley was               I   felt      she was        indecisive           in a lot     of

            her answers                     she   was     particularly           indecisive          in   saying that she could                     find the

            defendant                  beyond a reasonable                          doubt       she tended            to    want       to            toward
                                                                                                                                              go

            beyond               a     shadow           of a doubt              and mainly             my       reason     for striking             her was

            her overall                testimony with us.                       She was very               indecisive            on    several       issues
            seemed            to be unable to                  make up          her    mind seemed                to be very           nervous about
            the     possibility                  as serving         as a juror         more so than your average                             juror.



 Id.   at   166.         The      trial      court        concluded             I    do recall the              other three jurors              I    do recall Ms.


 Owsley and              I   do believe                that the     State       had some reasons                  independent               of her sex and            age

 to strike       her so          Im         going to overrule                  the    Batson challenge.                     Id.



 B.         Argument and                          Authorities


            In     Batson                    Kentucky               the       United    States            Supreme          Court held           that     the
                                       v.
                                                                                                                                                                    Equal

 Protection           Clause                of    the     Fourteenth             Amendment                 prohibits         a     prosecutor          from         using


 peremptory              challenges against venire                             members based                solely on their race.                    476 U.S. 79

  106 S.Ct.        1712 90 L.Ed.2d 69 1986.                                      The Court extended                   Batson to prohibit challenges


 based      solely on gender                      in   J.E.B.       v.    Alabama        511     U.S.           127   114 S.Ct.             1419      128 L.Ed.2d


  89   1994.                 Under Batson                     the   ultimate burden              of persuading                the      court       that the     states


 peremptory challenges                             are    attributable              to a discriminatory                 purpose         lies   with and             never

 shifts     from the defendant.                        476 U.S.          at   94 n.18       106 S.Ct.            at   1721       n.18                 Texas Dept.
                                                                                                                                            citing




 STATES     BRIEF    -
                         Billy   Joe   Wardlow                                                                                                                         1 1
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 26 of 90 PageID #: 1238



  Of Community                     Affairs          v.    Burdine            450       U.S.     248 252-56                  101    S.Ct.        1089        1093-95          67

 L.Ed.2d           207 1981.                   The Supreme Court has                             set out a three-step                                 for evaluating
                                                                                                                                         process

 claims        that       a prosecutors                       use of peremptory                     challenges has violated                      equal       protection.


 Batson 476               U.S.      at       96-98        106 S.Ct.          at    1723-24.            First     the    defendant              must make          a prima


 facie      showing that the prosecutor                                has     exercised        peremptory challenges                         on the basis of race.

 Id.    at    96-97           106        S.Ct.       at       1723.         Second         if    the    requisite           showing           has    been    made         the


 burden       shifts       to     the prosecutor                    to provide          a race-neutral           explanation                  for striking       the juror


 in    question.             Id.        at    97-98           106      S.Ct.      at    1723-24.         Third          the   trial      court       must determine

 whether           the     defendant                has carried             his burden of proving purposeful                                   discrimination.            Id.



 at    98     106 S.Ct.            at    1724.           This       same     test      was      applied     in    J.E.B.          as   well only            substituting


 the    word gender                          for the      word         race.

              Where               as here the                 state    comes forward with                   gender-neutral                    explanations            for the


 use     of the peremptory                          challenges             claimed        to have          been        gender          motivated           and the      trial



 court       has    made          a ruling as to whether                          they were gender                motivated               the                            of a
                                                                                                                                                    requirement


 prima facie showing of gender discrimination                                                 no longer applies.                  Hernandez            v.    New       York

 500 U.S.          352 359               111        S.Ct.       1859 1866               114 L.Ed.2d395                 1991.             To     satisfy     the       second


 part    of the           three-step               analysis the              prosecutor             need   only give              an explanation                 based       on

 something other than race.                                   Id.     at   359     111    S.Ct. at         1866.            Unless        discriminatory intent


 is    inherent           in the        prosecutors                   explanation             the    reason      offered          will        be deemed          gender

 neutral.           Id.       Moreover                   the    reason         offered        need not         rise     to the     level        of a challenge            for


 cause.        Batson 476 U.S.                           at    97      106 S.Ct.         at     1723.


              After the prosecutor                        has                                                                                         of peremptory
                                                                    given    gender-neutral reasons for his exercise


 challenges               the            trial       court          then     has         the     duty      to    determine               if    the    defendant          has

 established          purposeful               discrimination.                     Batson 476 U.S.                    at    98    106 S.Ct.           at    1724.       This

 third                                       the    trial       court       to    determine            whether         the    accused            has proved
             step     requires                                                                                                                                          by    a


 preponderance                    of the       evidence               that the         prosecutors         gender-neutral                 reasons          are   in fact      a


 sham        offered        to cover               the   unconstitutional                 use of a peremptory                     strike.        Salazar         v.    State

 818 S.W.2d               405 409 Tex.                         Crim. App.              1991                                              847 S.W.2d
                                                                                                    Calderon           v.   State                                377 382


 STATES      BRIEF    -   Billy   Joe   Wardlow                                                                                                                              12
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 27 of 90 PageID #: 1239



  Tex. App.--El Paso                         1993      pet.       refd.          The     focus           of the        inquiry       is
                                                                                                                                           upon    the    intent       of the

                       in exercising                 his peremptory
 prosecutor                                                                        challenges.


              Official                  action      will        not be held unconstitutional                                solely because          it   results

              in   a               disproportionate                                               Proof of                                          intent
                                                                   impact.                                                  discriminatory                       or

              purpose              is     required         to   show       a violation of the                     Equal Protection                 Clause...

                   Discriminatory                          purpose                      implies              more than            intent    as    volition       or
              intent         as awareness                  of consequences.                       It    implies that the             decisionmaker
                selected          .. a particular course                          of action              at    least    in
                                                                                                                             part    because             of     not

              merely            in spite of      adverse    its                   effect          upon an             identifiable group.




 Hernandez                 500       U.S..    at     359-360            111 S.Ct.            at        1866 quotations and citations                            omitted.

              As   the critical              issue in establishing discrimination                                           the    intent    of the                        in
                                                                                                                       is
                                                                                                                                                         prosecutor


 making        his peremptory                       challenges             the    credibility                of the prosecutor              will    be the       deciding

 factor.       Batson 476                    U.S.      at       98 n.21         106     S.Ct.           at    1724 n.21.            See also Hernandez                   500


 U.S.    at   367          111          S.Ct. at      1870        The           credibility             of the prosecutors explanations                            goes to

 the    heart of            the         equal                           analysis             and        once                 has been
                                                    protection                                                    that                        settled     there        seems

 nothing        left        to      review..               The     trial    court       is    obviously               in the       best    position       to    make     this



 determination                 as the        evaluation of the prosecutors                                    state    of mind based on demeanor and


 credibility       lies        peculiarly            within the trial             judges province.                           Hernandez             500 U.S.        at   365




 App.--Dallas
  111    S.Ct.     at       1869           quoting          Wainwright             v.    Witt           469 U.S. 412 428                     105    S.Ct.        844 854

 83     L.Ed.2d             841         1985.          See also            Yarbough               v.     State        732     S.W.2d        86     89 Tex.


               1987 Factors                          pertinent             to    credibility             --     voice        inflections           hesitancy           facial


                           and demeanor                of both                          and prospective jurors
 expressions                                                            counsel                                                       --
                                                                                                                                           may     supply        the    basis


 for determining                   whether to infer unlawful discrimination by the                                                   State.       The    trial   judge     is




 accustomed                to       weighing          such         factors        and        is        in a    unique        position        to    do    so. jment
 vacated       on other grounds 761                               S.W.2d 17 Tex.                         Crim. App.               1988      Pierce       v.     State    777

 S.W.2d         399         Tex. Crim. App.                        1989          cert.       denied 496 U.S.                       912      110    S.Ct.        2603 110

 L.Ed.2d        283        1990             Holt      v.    State       912 S.W.2d 294 299 Tex. App.--San                                            Antonio           1995

 pet.   ref   d    1996.

              Thus under Texas                        law a        trial        courts        decision            on a Batson challenge                    is    reviewed




 STATES       BRIEF    -
                           Billy    Joe   Wardlow                                                                                                                         13
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 28 of 90 PageID #: 1240



  under the clearly erroneous standard.                                               Whitsey              v.   State       796 S.W.2d 707 713-14 Tex.

  Crim. App.              1989.              The        trial      courts           determination                is   upheld unless after reviewing                      the


  record    the appellate                    court          is   left     with the definite and firm conviction                                  that a mistake          has

  been committed.                           Hill       v.        State    827       S.W.2d 860 865 Tex. Crim.                                   App.        cert.    denied

  506     U.S.       905           113         S.Ct.              297      121       L.Ed.2d               221        1992           quoting         United     States    v.




  Fernandez              887 F.2d 564 5th                          Cir.    1989.            Because             the    trial   judge       in the     instant       case had

  the   opportunity                    to    observe               the     demeanor               of       both        venire        member Owsley and                   the


  prosecutor         this        Court should defer to the                                trial       court     if     there    is
                                                                                                                                     any adequate            basis    in the


  record to support                           decision.                   Wolfe             State          917    S.W.2d 270 276
                                       its                                           v.                                                              Tex. Crim. App.

  1996.


           Contrary to Wardlows                                    assertions the record                        of the voir dire examination                    of venire


  member Owsley                    fully       supports the                    gender-neutral                   reasons        offered      by   the      prosecutor     for


  exercising a peremptory                           strike         to    remove Owsley.                     The prosecutor             stated        that   Owsley was

  indecisive         on several               issues particularly on the                                meaning of reasonable doubt.                                 During

  her   examination                    by     the       state           Owsley        stated           the      standard        of proof         in    terms        of proof


  without        a   shadow                 of a doubt                   and    beyond                 a   shadow          of a doubt.               19    R 11 37       51.


 During defense                  counsels examination                                of Owsley                  the   following        exchange            occurred


            Q              Defense counsel                              Now         you    said twice             this     morning         or   maybe       three

                           times that It                         would     have       to be proven                    to   you beyond a shadow of
                           a doubt            before             you could render a verdict                            of guilty      in    a capital       case
                           and         that        is       sentence           --   reach         a    verdict         that    resulted         in   the    death

                           sentence


            A              Owsley                  I    believe.           Yes.



            Q              Okay.



            A
            --Q
                           Because



                           Let         me     ask you something.



            A              Okay.




 STATES    BRIEF     -   Billy   Joe   Wardlow                                                                                                                  14
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 29 of 90 PageID #: 1241
                                                      C


           Q            Does         your              --   do your words beyond                                   a   shadow of a doubt               require

                        a greater                     burden               of proof that            is    defined         as    beyond         a reasonable

                        doubt


           A            Well          I      think          --    I    dont         think     that       --    I   dont       think that --     I   think this

                        could         make me have some                                   questions.



           Q            Okay.                I        dont        understand.                 When             you say this you                 are    talking

                        about the                     definition                of reasonable                 doubt

           A            This         say              the    last          sentence         the          kind      of doubt        that   would       make     a
                        reasonable                     person              hesitate      to     act      in the        most important of              his   own
                        affairs.




           Q            Okay.                Is       that        a greater           or lesser burden                    of proof than         your quote
                        beyond a shadow                                    of a doubt



           A            I     dont know.


           Q            In those                 three           or four paragraphs                      you       are    saying that the           operative

                        word         in      there          or the          words        that       act upon without
                                                                                                   you come back                 to

                        hesitation                    in    the       most important of your own affairs


           A            Yes.



           Q            As      to           whether              or        not      somebody                 committed          the    crime       of capital

                        murder would you                                    require      more proof than proof                         that   would    be the

                        same type                     that       you        rely     on     act     upon without                hesitation      in the      most

                        important of your                                  own      affairs



           A            Well             I       --    this           is    something           that          --   that   you     really      cant     give    a

                        concrete                 answer to                  I   dont     think.




           Q            And         Im            not        --       and what           my        question            really    is can you          render    a

                        verdict              in this             case           on the    definition               of reasonable              doubt    that   is



                        given            you or              are           you going          to    require            less   than that or more than

                        that


           A            Well         I       just feel            like          I   might have           to have          more.




 STATES   BRIEF   -
                      Billy   Joe   Wardlow                                                                                                                   15
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 30 of 90 PageID #: 1242




  19   R    51-54.        After an off-the-record                              discussion              among            the    trial     judge          and both attorneys


  outside     Owsleys presence                             the       trial     judge        attempted to explain                             the    standard to Owsley.


 Id.   at   54-57.          After           this     rather         lengthy         explanation the following                                  exchange             occurred


              A            Owsley                I   think     I    understand.                 Right        now         I   think       I    could apply            this.




              Q            Trial court                     Heres where                  I   am         going        to       stop       you and say             I    need

                           more than                 think               I   need    Yes         I     can         or    No         I   cant.
                           It    doesnt              get   easy does it


              A           No.          It    doesnt            it
                                                                     really doesnt.




              Q            Can you               follow the              instructions            and not require more of the                                   State    or

                           would you                  require         more of           the      State.




              A            Well         I    would         keep              an open mind.               I   believe          that       I   could.




              Q            And would                    you         accept         that     definition              and        make           the       State       prove

                           beyond            a reasonable                    doubt to you              all    of the elements of                        this    offense

                           before you would                          find the        person guilty


              A            I     would.



  19   R    57-59.          But        after         further explanation                    of the           application                of the      reasonable               doubt

  standard      at   the         punishment                phase             the   examination                continued                 as follows


              A            Owsley                  Well        I    think       that.   still     is    real hard to answer until                              you     get

                           there.            I     dont       think           when      I
                                                                                            got        in     the       jury room              if   I    didnt       feel

                           comfortable                  one        way        or the      other that           I    could just be swayed.



              Q            Trial court                  You         are doing        fine        you         are    doing           fine.      You would              not

                           have to be an eyewitness                                in order to              find    somebody                 guilty of a crime

                           would            you            You wouldnt                  have         had      to have           been there and to see

                           it



              A            No.         If    I   felt   like       the       evidence       --    if    I    was        satisfied            with the      evidence

                           that        was       presented.




  STATES     BRIEF   -   Billy   Joe   Wardlow                                                                                                                         16
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 31 of 90 PageID #: 1243



            Q            And would you                            have        to be convinced                      beyond         all         doubt that a person

                         would be                     a continuing                danger before you could answer that question
                         Yes                  or       would           you be satisfied                      with the          burden of proof that has

                         been established by our courts



            A                 I    think          I   could go by                 this.




            Q            You think                           or you         will               See you             will    take       an oath          to follow           the

                         law and thats the                              law.




            A            I        will.




 19   R   62-63.          Then                defense            counsel            resumed examination                           of Owsley                 and the         following


 exchange       took place


            Q            Defense counsel                                Okay.              Could you               find   him not               guilty      if   the     State

                         didnt                quite          live      up to that burden                        of proof              You would                  hesitate      a

                         little             bit       It   wouldnt be                    like    making             the   decision              to    buy    the       house
                         it       would be almost                           that    --      do   we          have    to prove                 anything


            A            Owsley                       These          are real hard                       questions.        I    have           never encountered

                         anything                     like      this   before and                I       will    be perfectly                 frank    with       you     its

                         really hard for                         me     to give             a concrete              answer.




            Q            We            have never been                       in    this     position            and for obvious                 reasons           have not

                         and            I    know          --   we      are not trying to embarrass                               you.



            A            I        know you                 are not           and       I   know           that     you    all    are doing             exactly           what

                         you have                     to but at             the    same time                 its    not easy for                me     to sit         up here
                         and give you a                           Yes             or       No            answer to everything                        thats asked.

                         I        left       this
                                                       morning              after          Counselor             Townsend                 the prosecutor                  had

                         questioned                    me       and     I    got    to      thinking            you know              I       said   Yes          to    some
                         of those things and                            I    got to thinking                     you      know            do    I   really       --   theres
                         mixed emotions about                                              and                                                 would
                                                                                  this               I   think     anyone        that                    sit
                                                                                                                                                                  up here
                         if        they didnt have                          mixed emotions must be something                                             wrong with
                         them.



 19   R   64-66.        It        is   clear          from the          record that Owsley                          was very                  uncertain          about    her ability


 to follow the          law on certain issues.                                     19      R   13        I      believe        that       I   could     follow           the   law
 STATES    BRIEF   -
                       Billy      Joe    Wardlow                                                                                                                                   17
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 32 of 90 PageID #: 1244



 24    Well            I    think                I   could           follow           the       law..

              The      prosecutor                        also pointed                 to the         fact    that venire         member Owsley seemed                               to be



 very nervous               about the possibility as serving as a juror more so than
                                                                                     your average                                                                                  juror.

 22    R      166.         This      gender-neutral                            reason           is    certainly         borne out by the record.                           In addition


 to    the     instances                of apprehensiveness                                     apparent           in   the     record passages                    cited   above      the


 record       reveals            that        Owsley was very uncomfortable with                                                the    prospect of serving                    as a juror


 in    this    case.


               A             Owsley                           Just    let      me     say this              this   has been a traumatic                    summer            for

                             me          I       was          the    one that             hit   the    little      Hispanic          boy on South                  Jefferson

                             you know.


               Q             Prosecutor                              When         did      that      happen


               A             That                    happened               the       14th       day         of    July.        And         of course          when         the

                             accident                     happened                I   though           I     had    killed       the        child.      There           wasnt

                             anything                     I   could         have          done       to prevent          it   because            he ran out in front

                             of the                  car.




               Q             Yes.



               A             And             I       did everything                   I   could.            Fortunately          it   just fractured                his skull

                             but        he did have                       to be air lifted                 to Parkland          and was over               there.          And
                             when                    he came              home we               had         to   go through           therapy          so you           know
                             when                    I   looked           at   that        child      and saw            that    I    you        know         could        have

                             killed                  that      child        my        mental           --    this       summer         --       and    then   -I    lost
                                                                                                                                                                            my
                             mother                      the    25th of August                        after being             in the    nursing          home           for six

                             years.                  And        its       really been a traumatic year and                                  I   just   really feel that

                             I     am            under          --    I   am      taking         medication              and    I you know I                  just really

                             dont know                          if    you people would                           want    a    juror like me or                not.



  19    R      14-15.              Further                     along           during           defense            counsels           examination                  of    Owsley       the


 following           occurred


               Q             Defense                          counsel You                  said that             you had been on one                     civil      jury


               A             Owsley                           Yes.



               Q             Do         you remember                           the        name        of that case



 STATES       BRIEF    -   Billy   Joe       Wardlow                                                                                                                         18
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 33 of 90 PageID #: 1245



           A           I      has been so long                           ago.



           Q           What          kind was                  it         An         automobile             accident            case a         contract      case


           A           I      dont        really             remember but we                          gave a five year probated sentence
                       thats what                I       recall           on        that.




           Q           Okay.              It   was           a criminal                  case     then


           A           No.          What         did          you say


           Q           It     was         a criminal                case


           A           No.


           Q           I      mean you gave                         --     someone was charged                                 with a crime



           A           Well          it   was        --      well          it       was a       criminal case              I
                                                                                                                               guess.     I    think    a   crime
                       is     just        murder okay

           Q           Okay.



           A           Okay.              Like       I
                                                             say     I    dont remember                     but    the         sentence        was     --   see you
                       all      dont            need           me Im                     trying     to     tell
                                                                                                                   you you              all    dont need            me
                       because             I    am dumb you                              all.




           Q            Trial court                      Maam                   I   think       you       are doing just            fine.




           A           You          just       dont know.




           A           You          are not going                    to keep                me     you      are going            to let        me     go here       in a

                       minute because                         Ill        tell
                                                                                    you what          I
                                                                                                          got     out the        door     --    let   me    tell
                                                                                                                                                                    you
                       this         now         you          all     this           is   how      forgetful        I       am you        all    need to       let   me
                       go       I
                                     got        out the              door awhile                   ago and             I   went back            and    kissed       my
                       husband                 and       I   said          Have             I   already kissed                  you           He    said    Yes.

 19   R   79-81.            Clearly the                      prosecutor                  had     gender-neutral                  reasons        for wishing           to   strike


 venire    member Owsley                         from the jury panel.                                     The     trial        court    properly determined                  that




 STATES   BRIEF   -           Joe   Wardlow                                                                                                                                    19
                      Billy
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 34 of 90 PageID #: 1246



 Wardlow       failed               to prove           purposeful                  discrimination         and    this Court is            in    no   position      to


 second-guess           that          determination.                Wardlows                Batson       claim    is   without merit and the                    point

 of error should be overruled.




                                       STATES                 REPLY TO POINT OF ERROR                                        TWO
                         THE        COURT  PROPERLY
                                          TRIAL     GRANTED THE
                         STATES  CHALLENGE  FOR CAUSE OF VENIRE
                         MEMBER SUZANNE CHARLTON.


          Wardlow                   argues       in    his   second point of error that his conviction                               should be reversed

 because     the       trial         court       erred in          sustaining           the      states challenge            for cause          against venire


 member Suzanne Charlton on                                  the    ground that             she harbored a bias against some aspect                                of


 the   law upon which                       the        state       was    entitled          to   rely.     TEX.        CODE CRIM.              APP. ANN.         art.



 35.16b3           Vernon               1993.            Specifically                 Charlton      was challenged based on                       the    fact    that


 she would        hold the              state         to a higher             standard        of proof than beyond                 a reasonable doubt.


 A.       Statement of Underlying                                    Facts


          During               the     prosecutors                 voir        dire examination             of venire             member        Charlton         the


 following     exchange                 occurred


           Q             Prosecutor The thing                             I    need    to   know         from you       is   assuming that            we
                         showed              you evidence                     that    was     appropriate        in
                                                                                                                       your mind           to   give a
                         defendant               the     death penalty could you personally                                  vote that     way

           A             Charlton                I     would have              to    be absolutely sure before                I   could    votethat




           --A
                         way.



           Q             Absolutely sure of



                         If     I   was     --    if   there       was no doubt               that he     was    guilty       I   could    vote      that

                         way          but        mean              could not have                any kind       of a doubt in
                                             I                 I
                                                                                                                                      my        mind.



           Q             Okay.



           A             Because             thats           serious          --    thats   serious.




 STATES   BRIEF    -
                       Billy    Joe   Wardlow                                                                                                           20
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 35 of 90 PageID #: 1247
                                                    I




                Q          When   you                   say    no doubt                            you        mean no                  doubt       as        to    guilt     or

                           innocence


                A          Right.




                Q          As you              probably         know                in a criminal                   case         we     are required               to prove

                                                                                                               a reasonable               doubt on
                           our case to              you       the State              is   beyond                                                                  the    other

                           hand as you can                    see from that definition6                                    beyond          a reasonable doubt

                           is     not     the       same      thing            as    beyond                   all       doubt           its     not     beyond             any
                           doubt               its      not    beyond                     a     shadow                  of a     doubt            its         beyond          a

                           reasonable               doubt.




                           Now           let   me       explain to              you how                 the    law of capital murder                              works      in

                           a capital           murder case the                       State         is    seeking the                  death penalty                the    first


                           determination the jury would                                         make Is                   the       defendant           guilty          or not

                           guilty               At      that time they                        are       not deciding                  whether          the     defendant

                           should          receive            the         death          penalty              or    a     life    sentence             they        are just

                           deciding             whether             it        should be guilty or not                                 guilty.      Okay.            At     that

                           point you                find the             defendant              guilty          of capital              murder          if    we    proved

                           our case            to    you beyond                     a reasonable doubt                           or    would you               require      us

                           to prove             that     case         to       you beyond                      any        doubt           I     believe           thats    the


                           way you              said     it



                A          Oh       goodness              Can            I    find    him          guilty if            you proved your case beyond
                           a reasonable                 doubt


                Q          Beyond              a reasonable                   doubt.            And you                  have just read the definition

                           of reasonable                     doubt


                A          Yes.



                Q          As opposed                   to    what you                said a minute                       ago beyond                    all       doubt      or




            6
                     During the states                   examination                 of Charlton                    the    prosecutor            had Charlton read the

  definition    of reasonable doubt as                                   it   was    to       be    set forth            in   the      charge     in    Wardlows             case.   29

  R    15-16.       The     trial       court     defined       reasonable                     doubt               in   conformity with                 this      Courts directive

  in   Geesa    v.    State         820        S.W.2d         154 Tex.               Crim. App.                    1991          as    the      kind    of doubt          that    would

  make     a reasonable person                      hesitate        to        act   in    the      most important of                      his    own         affairs.



                                                                                                                                                                            21
  STATES    BRIEF     -
                          Billy   Joe   Wardlow
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 36 of 90 PageID #: 1248
                                                                                                                          C



                        beyond              any         doubt would you                       hold    us to a burden of                      beyond any
                        doubt    beyond all doubt
                                       or                                               or   would     it   be enough               in  mind in
                                                                                                                                         your

                        you mind  if we proved the                                 case to you beyond                     a   reasonable doubt

                        And this is just as to guilt                                   or    innocence            thats       not as to the                    guilt

                        penalty.



           A            Yeah.           I        understand.                I    could       probably        --    I   dont         --   I   think        if    its

                        beyond          a reasonable doubt                         I    could find a person                   guilty.




           Q            You       could find them guilty



           A            Yes.       If       it    was beyond                a reasonable             doubt.




           Q            Now        you           get to the            punishment part of the                 trial     where            you determine
                        whether the                 appropriate                 punishment           should be a             life    sentence            or the

                        death penalty.                       Now            we    have        had    jurors       say this           and      let    me        --    I


                        think      maybe             this    is   what you              are saying          but let     me      ask you             if   this       is

                        what you were saying                we have had jurors say I could find a person
                        guilty of capital              murder using that standard of beyond a reasonable

                        doubt           I        wouldnt have to have beyond all doubt just beyond a
                        reasonable doubt but                                when       it    comes    to giving that                same defendant
                        the       death          penalty          if    I   had    any doubt           at    all       you     know           if    the        case

                       were        proven               to   me beyond                  a reasonable          doubt          but not          beyond             all




           --A
                        doubt



                        Yes.



           Q            --   I    would           have       to go with                a life    sentence          I   couldnt. give him the
                       death penalty                     unless that case                    was proven           to   me     beyond any doubt
                       or     beyond              all   doubt.              Do you           understand what              Im         saying


           A           Yes.



           Q           Is    that the             way you              feel



           A           Yes.        I
                                        agree.



           Q           Okay.           And         so in order for                you        to find the defendant                  guilty         of capital
                       murder and then                       also assess the                    death penalty           to that defendant                       we


 STATES   BRIEF   -   Billy Joe   Wardlow                                                                                                                        22
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 37 of 90 PageID #: 1249
                                                                                                                                          l




                           would have                     to prove           our case            --       we          being        the        State        would have
                           to prove                   our case beyond any doubt whatever



                A          Yes.




 29    R    15-20.         At      that point the                     prosecutor                 challenged Charlton                          for    cause

            I   would challenge                            her    for cause              in that            she has stated                that      --    two      or three

            different            times            --    that    she would             require us to                    --    the    burden of proof on us

            that    we          are not           required to hold that                     is    in order to give                  the       death        penalty        she
            would have                  to find that             he was guilty beyond
                                                                                                                   any doubt and not only                            is   that

            a burden that                    we         are not required                  to hold            but its          an impossible burden.



 Id.   at   20-21.              Before                           on     the     states challenge                            for
                                                      ruling                                                                       cause          the     trial     court    allowed

 defense        counsel                to    take          Charlton           on      voir        dire       for      the                                           of discussing
                                                                                                                              specific            purpose

 beyond         a reasonable                       doubt.


                Q          Defense                     counsel The              law the Court in                        its   charge           its       instruction to

                          you          will        tell    you    that if       you answer                    Special             Issue       1     No            then    you
                          have          in effect               given        a life      sentence                if
                                                                                                                      you answer               Special Issue               1
                          Yes               then          you have taken                 the      first
                                                                                                             step      in giving the                 death        penalty.
                          In order to give                       the death penalty                        you must then answer                           Special Issue
                          2       and an answer of                       No           to    it    results         in the      death penalty                  to answer

                          Yes                and          No          to the       issues         it      results       in the       death penalty                  given.
                          That              first         question           asks        you           to    weigh            the    evidence                beyond         a
                          reasonable                      doubt         if    there         is        a     probability             the       defendant             would
                          commit                  criminal            acts    of violence                   that      would be            a                          threat
                                                                                                                                               continuing
                          to      society                 knowing            that a      Yes                answer to that could                          result     in the

                          death penalty                    would you                                          absolute proof or proof
                                                                                 still      require                                                                beyond
                          doubt              that         the    answer          to      that          question             was     Yes              or    would you
                          answer                 it    by using          the     definition                 of     beyond            a reasonable                   doubt
                          meaning                  the     same       thing that           you had used                      to find          him guilty would

                          you          require             more proof on                   that           issue than              on the          innocence              issue

                          simply because                        you know              the        Yes          answer to that could                          result        in a

                          death penalty



             A            Yeah.              I     believe        I   would.



             Q            You would


             A            Yes.



 STATES     BRIEF   -
                        Billy    Joe   Wardlow                                                                                                                             23
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 38 of 90 PageID #: 1250



                   Q            Trial court             You would what maam

                   A            Require more proof.



                   Q            Defense              counsel Are you                telling      me    that      as     to the       definition        that

                                you were          given       of reasonable           doubt        as a legal definition                  --   in order

                               to be a juror            you dont have               to agree      with the         law you must have                     to




                               --you
                               be able           to follow          the    law.




                   A           Right.




                   Q           And         the    standard          of proof set for that definition                          is    and you      will

                                           can require         --
                                                                     you would           require       more        as    to        Special     Issue    1
                               knowing            its    going       to result      in the       death      penalty


                   A           Sure.         Yes.



                   Q           Pass the witness.




 Id.     at    23-25.


 B.             Argument and                      Authorities


                Wardlow                failed     to    preserve error with regard                       to this        claim.         Rule      52     a        of the


 Texas          Rules of Appellate                      Procedure provides                  in part         In     order to preserve              a complaint


 for     appellate              review            a party      must have            presented          to    the      trial    court     a timely request


 objection               or    motion            stating      the     specific      grounds        for the         ruling he          desires     the    court       to


 make         if   the       specific       grounds       were not apparent               from the context.                        TEX. R. APP.         P.       52a.

 After defense counsel                           concluded          his voir dire examination                 of venire             member       Charlton           the


 trial    court          addressed               defense       counsel            What      is   the   Defenses position                         She gave           the


 magic             word       to the         State.      I    assume you have no                   objection            to the       Court sustaining               the


 challenge                    Defense         counsel        responded            Of course        I   object      to    itYour Honor but                    I   dont

 know why.                    29     R     25.    This       objection        clearly    was not         sufficiently               specific    to apprise the


 trial        court      of the            nature       of the       claim        Wardlow         now       raises        on       appeal.       Accordingly

 Wardlow              has       failed       to preserve            this    claim for review.


               Alternatively                 Wardlows claim                  is   without    merit.         The    state
                                                                                                                              may      challenge        for cause



 STATES        BRIEF     -   Billy   Joe   Wardlow                                                                                                                   24
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 39 of 90 PageID #: 1251



 any venire member                               who has                a bias or prejudice against any phase                                    of the law upon which


 the State          is    entitled              to rely for conviction                      or     punishment.                    TEx.      CODE CRIM. PROC. ANN.

 art.   35.16b3 Vernon                                       1993.              One phase of                  the    law        upon which               the    state      is    entitled


 to     rely        is    that             the       jury will               not    require          a    greater            burden       of proof             than     beyond          a


 reasonable               doubt                  and         a venire             member who                  states      he would hold                  the    state      to such      a


 burden        is    subject               to challenge                  for cause.         Cook         v.    State         858 S.W.2d           467          471    Tex. Crim.

 App.     1993                Butler            v.    State            872      S.W.2d         227 235 Tex.                    Crim. App.            1994            cert.       denied

  115    S.Ct.           1115              130 L.Ed.2d                      1079     1995.           The        trial        court    in the      instant       case       ruled     that


 venire    member                     Charlton harbored                           such a bias against                    the law      and thus properly                    sustained


 the    states challenge                             for cause              on     this   basis.


           While                it    is    true that             it   is   the    burden      of the party seeking exclusion                                  of a prospective


 juror for cause                      to demonstrate that such                              exclusion                                    on appeal great deference
                                                                                                                    is
                                                                                                                         proper

 must be given                        to the              trial        court      judge     who          is   in the         best     position      to     see       and        hear the


 prospective             jurors and to evaluate                                 their     responses.             Jacobs          v.    State      787 S.W.2d 397 402


 Tex.     Crim.               App.               cert.        denied 498 U.S. 882                             111        S.Ct.    231       112 L.Ed.2d               185        1990.

 For    this    reason                this       Court will reverse a                      trial     courts          ruling         on   a claim         of juror bias             only

 when     the record                   shows a clear abuse                           of discretion on the                     trial      courts     part.            Id.        See also


 Callins        v.       State             780        S.W.2d                176     194     Tex. Crim. App.                           1989       cert.    denied 497                U.S.


  1011     110            S.Ct.            3256             111        L.Ed.2d           766    1990             Cantu           v.   State       842     S.W.2d            667 683

 Tex.      Crim. App.                             1992             Court           will    reverse            such        decision         only          for    clear       abuse      of


 discretion              i.e.        only        when            the    trial     judges       decision          was so          clearly         wrong         as to lie         outside


 that   zone within which reasonable persons might disagree.                                                                             cert.    denied 509 U.S. 941

  114    S.Ct.           16          125 L.Ed.2d                       768 1993.

           When                viewed                in    its    entirety          with    this     standard of review                      in   mind          Charltons           voir


 dire    examination                        clearly               indicates          that      she       would           require         more proof than beyond                         a


 reasonable              doubt             to    answer the                 special issues           in such             a   way      that the      death        penalty          would

 be imposed.                   Charlton               stated            from       the    outset     that       she could not vote to impose the death


 penalty        unless                she was                 absolutely                  sure and             had       no doubt                regarding           the        criminal



 STATES    BRIEF          -
                              Billy   Joe       Wardlow                                                                                                                                25
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 40 of 90 PageID #: 1252



 defendants                     guilt.             29    R     15.       Later         she stated              she      could       probably                  find       a criminal


 defendant             guilty of capital                       murder      if    the     state      proved            its    case   beyond a reasonable doubt

 as    that       standard               was        defined          by    the    trial       court.            Id.     at    18.       However              she        consistently


 maintained that she would require more than proof beyond a reasonable doubt                                                                                             --   that   she


 would            in    fact            require          proof beyond              all    doubt           --   to vote         to impose. the                death penalty             at



 the punishment phase.                                   Id.    at   18-20       24-25.             Therefore the                 trial        court       properly sustained

 the    states challenge                           for cause         and   Wardlows                  second            point      of error should be overruled.


              Wardlows                        reliance         upon      Castillo        v.   State        913        S.W.2d        529 Tex.               Crim. App.            1995

 en banc                and             Garrett          v.    State      851     S.W.2d             853 Tex.                Crim. App.                  1993      is    misplaced.

 These            cases           are         clearly         distinguishable                 from the           instant          case.             In    Garrett the          venire


 member                at       issue             had    indicated         that        he      could           never         find   a       capital         defendant          would

                                                        threat                                           a reasonable             doubt based
 constitute            a continuing                               to society       beyond                                                                   only on the           facts


 of the instant                   offense.              Garrett 851              S.W.2d             at    857-859.            The venire                 member          in Castillo


 had     categorically                        refused to render a guilty verdict                                  on the basis of a single                              eyewitness


 stating          No             way          I    could find guilty with just one                                officer.          There would                 be reasonable


 doubt.           Be automatic.                          Castillo 913            S.W.2d             at    530-531.             This        Court held in these                   cases


 that the          trial         courts            had        improperly sustained                       the    states         challenges                 for cause       based        on

 alleged          bias against the                        law.       Garrett           id.     at   859         Castillo          id.     at    533.        According           to the


 Court the jurors refusal to find sufficient certain types of evidence                                                                                   could merely reflect


 those     particular                   jurors understanding                           of proof beyond                       a reasonable                 doubt     --    that    such




                   See Note                   6    supra.


              8
                       At the very                  least Charlton could                      be described             as    a vacillating                venireman.            When
 a venire         member                offers          contradictory           responses           to    questions          on voir dire and both sides offer
 the    relevant                                                                                    the
                            testimony to support                                                                                  testimony and
                                                                       their     position                  conflicting                                       interpretations

 result   in      what            is    known           as a vacillating          venireman.                   In such cases              it   is    well established           that

 this   Court must defer                           to   the    findings     of the        trial      court.      Adanandus              v.     State       866 S.W.2d           210
 222 Tex. Crim. App.                                1993         cert.    denied 510 U.S.                      1215         114   S.Ct.        1338        127 L.Ed.2d           686

 1994             Green           v.    State           840 S.W.2d         394 405 Tex. Crim. App. 1992 cert. denied 507 U.S.
 1020      113         S.Ct.            1819        123 L.Ed.2d            4491993 Brown v. State 913 S.W.2d 577 580 Tex.
 Crim. App.                 1996.


 STATES       BRIEF         -
                                Billy   Joe   Wardlow                                                                                                                                  26
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 41 of 90 PageID #: 1253



 evidence         was         insufficient            on    its      own     to   remove       reasonable               doubt in their minds                       --   and      did


 not    necessarily                indicate        that    those jurors had actually                     increased             the   states burden of proof.


 Id.    Such         a venire              member would                     not be subject to challenge for cause the                                             Court held


 merely because                     his         threshold            for proof       beyond            a reasonable             doubt       is    somewhat higher

 than      the    minimum                  that the        law recognizes as sufficient.9                                 Castillo id.            at        533.


             It      is
                            up      to    the     individual          juror to decide             for himself his               own        understanding
             of proof beyond                          a reasonable                doubt within               the   tolerances          of the           law.           A
             venireman                    who       indicates           he    will     set    his      threshold           for       reasonable              doubt

             higher           than the            minimum              allowed        by law does not thereby demonstrate an
             inability              to follow         the        law.



 Id.   at    535.



             Conversely                   in    the instant           case     venire       member            Charlton          was not challenged based

 on any          indication               on her         part        that    she would         set her         reasonable doubt                    threshold               higher

 than the         legal      minimum.                 Rather           after reading          the      definition          of reasonable doubt                              given


 by    the   trial     court         --    that    is the kind              of doubt       that   would make               a reasonable person                          hesitate


 to act      in   the       most important of                         his    own     affairs      --   Charlton          stated       that she              would        require


 more proof than proof beyond                                         a reasonable doubt                 to vote          to impose              the    death           penalty.


 29    R     18-20            24-25.              Thus          it    was     Charltons           refusal          to    apply       the        standard           itself       that


 rendered her unqualified                             as a juror             in this      case.


             As Wardlow                                                              law permits a range
                                           accurately                notes    the                                               of reasonable                 doubt and

 the state        is       not     entitled        to challenge              for cause       veniremembers                 whose           definition              of beyond


 a reasonable doubt                        is   higher than             the       legal   minimum.                  Castillo 913                S.W.2d            at    533     n.1


 Tex. Crim. App. 1995                               id.    at     537 Baird            J. concurring.                   However         the       Court in Castillo




                  Significantly                 the   Court noted that                 a juror      who       categorically           refuses          to   convict        based
 on a certain type of evidence                             is    properly         excused for cause                if   that   jurors       refusal          is   predicated

 upon something other than                            his       understanding             of proof beyond a reasonable doubt                                  i.e.       where
 the juror would                   not    convict        based        on certain evidence               even       if   that    evidence         was enough                to

 convince         him of           guilt       beyond       a reasonable             doubt.       Castillo 913             S.W.2d          at    534.        In that

 instance         the juror          would          in    fact        be holding the          state     to    a higher burden of proof than the

 law allows.               Id.




 STATES      BRIEF     -   Billy   Joe    Wardlow                                                                                                                                27
                                                      r 42 of 90 PageID #: 1254
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page



 specifically             noted        that       of             course          a venireman             who      requires         proof        to    a    level    of


 confidence          beyond            all     doubt            is    still    challengeable           for cause       on    the      basis of inability            to


 follow the          law.        Id.   at    533      n.   1.
                                                                     Clearly venire                 member     Charlton        fits    into this          category.


 Wardlows                second       point of error should                           be overruled.




                     STATES              REPLY TO POINTS OF ERROR THREE AND FOUR

                           THE   TRIAL                                COURT    PROPERLY                                ADMITTED
                           PHOTOGRAPHS                               OF THE CRIME SCENE.


             In his third and                fourth points                of error Wardlow                  argues that the            trial    court      erred    in


 admitting           crime           scene       photos              whose       prejudicial          effect      he    alleges          outweighed            their


 probative       value.              TEX. R. CRIM. EVID.                         403.


 A.          Statement of Underlying Facts


             During         the      guilt-innocence                    phase         of   Wardlows          trial     the   prosecutor             offered       into


 evidence       states exhibits                  5 through             11      a series         of photographs         depicting         the    scene outside


 the victims home.                     33    R    115.          Wardlow           objected          to exhibits      6 7     and       8   arguing         that    the



 photographs             were cumulative                    and that their prejudicial effect outweighed                                       their probative


 value       thus he contended                    the photographs                     were       inadmissible under          Rule 403            of the Texas


 Rules      of Criminal Evidence.                          Id.   at      119.     The       trial   judge    overruled       the      objections and the

 exhibits were            admitted into               evidence.                 Id.       States     witness Sheriff Ricky                 Blackburn          went

 on    to    testify      that       each     of the        photographs                    which were taken             from different angles                     and

 from       different        distances            reflected              something              different    about     the   condition              of the    scene

            arrival of police                                                   120-123.            Indeed    examination             of the photographs
 upon                                        officers.           Id.      at



 reveals      that   states exhibit               6   is    a close-up                photograph        depicting       part    of an eyeglass frame


 only       partially      visible      on the edge of the photograph                                  and a partial denture with blood                            on
 both lying in front of a toolbox                                     the      photo       also     shows    some      bloodstains             on   the             to
                                                                                                                                                           steps


 one    side     of      the toolbox.              States             exhibit         7    is   another close-up photograph                     taken        from    a


 different                                   which shows the broken eyeglass                                 frame and another bloodstain                          on
               vantage          point




 STATES      BRIEF   -   Billy Joe   Wardlow                                                                                                                       28
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 43 of 90 PageID #: 1255



 the     carport          floor        on     the    other side of the              toolbox.           States          exhibit          8   a photograph               taken


 from a     slightly              greater       distance         depicts      the   entire scene            including             the    toolbox         the      denture

 the     eyeglass frame                       and     the.   bloodstains            as    well     as the          steps          leading      into      the      victims


 home.          None         of these photographs                        depicted the victims                     body.

 B.         Argument and                            Authorities


           Generally photographs                                 are admissible           as evidence                 when        the    subject       matter of the


 photographs              would be              admissible as evidence.                     Hicks      v.   State            860      S.W.2d 419 426                   Tex.

 Crim. App.               1993              cert.    denied 114           S.Ct.     2725         129 L.Ed.2d                     848 1994.             In a criminal


 trial     testimony                   describing            a   crime       scene        is    admissible                 to    reveal      to    the       jury       what

 transpired          thus photographs                    depicting the crime                    scene as         it    appeared             are also admissible.


 Heckert        v.    State            612      S.W.2d 549 551 Tex. Crim. App.                                         1981.

            However                    under some instances                     even        relevant        evidence                  including photographic


 evidence        may          be excluded.               Wardlow             accurately         asserts     that       Rule 403             of the      Texas          Rules


 of Criminal Evidence                          controls the admission                 of photographs                       in this      instance.           Appellants

 Brief     at   15.        Rule 403 provides


            Although                   relevant         evidence             may     be        excluded          if        its   probative         value          is



            substantially                   outweighed            by   the    danger of unfair prejudice                              confusion          of the

            issues                or     misleading the                jury    or     by       considerations                    of   undue       delay           or

            needless              presentation               of cumulative           evidence.




 TEX.     R.    CRIM.             EvID.        403.     This       Court      has    set forth several                     factors      which         the    trial     judge

 should     consider               when         faced    with a Rule 403 objection                          in   determining                whether         the      danger

 of unfair prejudice substantially outweighs                                        the    probative         value of offered                     photographs             1
 the     number of                 exhibits          offered       2     their      gruesomeness                 3         their      detail      4    their      size    5
 whether        they are black and white                               or color       6        whether they are close-up                           7     whether         the


 body      is    naked                 or    clothed         8     the    availability            of    other          means            of proof            and      9   the


 circumstances                    unique to each                 individual         case.        Sonnier          v.       State       913     S.W.2d          511 518

 Tex. Crim. App.                         1995.        While        these      factors          offer guidance                to appellate          courts         as   well

 the     admissibility                 of photographs              over Rule 403                 objection            is    ultimately         within        the       sound




 STATES     BRIEF     -   Billy    Joe   Wardlow                                                                                                                          29
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 44 of 90 PageID #: 1256



  discretion of the trial judge.                          Id.      Thus when reviewing                   a trial         courts     decision            to overrule


  a    Rule     403         objection                to photographs            this     Court should               reverse         only     for an        abuse         of


  discretion          i.e.         when        the    decision     is    outside    the    zone of reasonable                  disagreement.               Narvaiz


  v.   State     840 S.W.2d                     415429 Tex.               Crim. App.              1992           cert.      denied 507 U.S.               975      113


  S.Ct.    1422            122 L.Ed.2d                 791    1993.

              This         Court recognized                   in Sonnier         that



              photographs                  are powerful             visual       evidence            probative           of various                       of
                                                                                                                                           aspects

              the     States             theory of the offense including the brutality and heinousness                                                    of

              the offense.                Appellant          must realize that            it   is    precisely         the    quality      which we
              describe              as         powerful            which         gives         rise    to        his     arguments          that         the

              photographs                      are                         inflammatory.                But when              the                 of the
                                                      prejudicially                                                                 power
              visible         evidence.              emanates       from nothing               more than what                the    defendant            has

              himself done                     we     cannot       hold    that the       trial      court       has abused          its   discretion

              merely because                     it    admitted the evidence.



 Sonnier         v.   State          913        S.W.2d        at   519.


              The photographs                        admitted at the        guilt-innocence             phase of             Wardlows            trial    were not

 unfairly        prejudicial                    and    their probative             value        which            stemmed from              the     necessity            of


 presenting            to the jury the                  condition         of the crime              scene        as a possible         indication          of what


  may      have            taken         place         certainly         was     not      substantially                outweighed          by      any         alleged


 prejudicial           effect.            These        photographs          depicted           the    scene outside the victims                          home      and


  showed         the        location            of various         articles      of evidence            found          at   the    scene.        They      did         not


  depict      the     victims              body.        Wardlow           concedes           that the       photographs             were     not gruesome.


 He     argues rather                    that their prejudicial            effect      flowed        from the fact that the                 items portrayed


  in the      photographs                  underscored the                victims       advanced                         However Wardlow                       fails    to
                                                                                                            age.


 demonstrate                how          evidence        of the         victims       age which             is    certainly        admissible            before the


 jury      is    unfairly prejudicial                        or that      such     prejudice          substantially outweighs                     its    probative

 value.         See Harrell               v.    State    884 S.W.2d            154 161 n.14 Tex.                       Crim. App.           1994Rule               403

  favors      admissibility of relevant evidence                                 and presumption                  exists that relevant              evidence            is




 more probative                     than         prejudicial.             These       photographs                which        show only            the     victims

 dentures        and        eyeglasses hardly drive                        home        the     victims           age any more than the properly


 STATES       BRIEF    -   Billy   Joe   Wardlow                                                                                                                       30
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 45 of 90 PageID #: 1257



 admitted photographs                            and videotape             showing         the       victims        body        34 R 217           225-227       SX

 13 18        or the trial              testimony of witnesses                         including        Wardlow who                   testified   regarding      the


 victims         age.         33        R    106        156     36      R 648      652.


            Moreover                    the       three        photographs              did not         constitute           needless          presentation          of


 cumulative               evidence.                TEX. R. CRIM.                EVID.     403.          The photographs were presented                          as    a

 series   to provide               the jury with a complete                        picture        of the scene             as    it   appeared     when     police


 officers     arrived.             They were              taken         from different angles                 and from different distances.                      As

 the   photographs                themselves              reveal        each     depicted        a   distinct                   of the     scene as a whole.
                                                                                                                   aspect


            Finally even                    if   Wardlow           could demonstrate that the                        trial      court    committed         error in


                   two of                                                          which
                                                                                                                                                  any error was
 admitting                              the      three photographs                                the      state    strongly          denies

 harmless beyond                   a reasonable                doubt.         Chapman        v.      California          386 U.S.          18 87        S.Ct.   824

 17 L.Ed.2d               705     1967              Harris         v.   State      790 S.W.2d 568 Tex. Crim. App.                                  1989         TEx.

 R.    APP.      P.        81b2.                   It    is    inconceivable              that       the    jurors      viewing           of two        additional


 photographs              depicting the                 outside       of the victims house from different                               angles     and different

 distances       had any impact on.                       their      deliberations         or verdict.             Accordingly             for these      reasons

 Wardlows             third and                  fourth       points     of error must also be overruled.


              STATES REPLY TO POINTS                                              OF ERROR FIVE THROUGH                                        SEVEN

                            THE   ADMISSION  AT  TRIAL   OF  WARDLOWS
                            UNSOLICITED CONFESSIONAL LETTER TO SHERIFF
                            BLACKBURN VIOLATED NEITHER ARTICLE 38.22 OF
                            THE TEXAS CODE OF CRIMINAL PROCEDURE NOR
                            THE FIFTH SIXTH OR FOURTEENTH   AMENDMENTS
                            TO THE UNITED STATES CONSTITUTION.


            Wardlow                 next          argues        in      his    fifth     sixth        and     seventh           points     of error that         the


 admission of his February                                    28      1994       letter    to     Sheriff          Ricky        Blackburn          in   which     he

 confessed        to the          armed robbery and shooting                              of Carl Cole10              violated          Article    38.22    of the


 Texas    Code of Criminal Procedure and                                          the    Fifth Sixth and Fourteenth                          Amendments              to




            10
                      35     R     524-527               SX     73.



 STATES   BRIEF       -
                          Billy   Joe   Wardlow                                                                                                                   31
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 46 of 90 PageID #: 1258



 the   United           States            Constitution.


 A.          Statement of Underlying Facts

             Wardlow                  filed     a pretrial motion to suppress                               his      statements to law                    enforcement

 which was                 the subject              of a hearing          conducted                by     the   trial        court    on October             17 and          18

  1994 pursuant                    to Article 38.22                 6 of the Texas                 Code of Criminal Procedure and Jackson

 v.    Denno           378         U.S.        368      84 S.Ct.         1774           12    L.Ed.2d           908       1964.            2 Tr 94-110              record


 volumes           9          10.          Both Wardlow                 and Blackburn                testified            at   the    hearing.         The       facts    are

 for the      most part undisputed.

             On        June.         16 1993              Wardlow             was    arrested by                police         officers      in    Madison           South


 Dakota           based on a teletype received                            from Texas                 at    which time                the   South       Dakota police

 officers         read        Wardlow               his   Miranda              warnings              and        incarcerated               him     until     the    proper

 authorities could                   be    notified.           10   R   71.    Morris County                     Texas              Sheriff   Ricky         Blackburn

 game warden                  Billy        Dodd         and     state     trooper         Davis         McFarland               arrived       in   Madison           South


 Dakota           on June            22 1993             for the        purpose of transporting                         Wardlow            back      to Texas.           9   R

 10    63.        Blackburn                read Wardlow                 his   Miranda warnings                       at      that    time and Wardlow                    then


 exercised his right to remain                                 silent and requested                     that he be             appointed an attorney.                    9   R

 10-11       63        10    R      72.        Wardlow          was     not questioned                  thereafter             regarding      the      circumstances


 of the      instant.       offense.            9   R    11.    Wardlow             was      transported           back to Texas                 and placed          in the


 Morris County                 Jail        on June 23           1993.         35    R   488-489.                On   June        24 1993           Blackburn             took


 Wardlow               before             a magistrate          who       administered               the        warnings             provided        for in        Articles


 15.17       and 38.22                of the        Texas        Code of Criminal Procedure.                                    35    R    532.        District      judge

 William R. Porter appointed                              Vemard Solomon                      to    represent           Wardlow.            35     R      533.     Shortly

 after     his appointment                     in   June of 1993              Solomon              sent    a letter          to Blackburn            requesting.that


 he not communicate                            with Wardlow               about         the    instant          case         outside       Solomons              presence.

 35    R   534.


             Sheriff Blackburn                          testified that         Morris County                     jail     was        a small       jail    and     that      he




             11
                   Miranda                v.   Arizona 384 U.S. 436                      86    S.Ct.       1603         16     L.Ed.2d      694 1966.


 STATES      BRIEF     -
                           Billy    Joe   Wardlow                                                                                                                            32
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 47 of 90 PageID #: 1259




                                                                                                                             F\Ff..
 knew     a majority of the                      inmates        at    any given time.                 9    R    11.     He would                   routinely       make       a


 point    to visit       with an inmate personally                              if   that     inmate requested                  a visit           he viewed         this   as


 a means        of avoiding                   administrative problems                         that   could       arise       if        inmates           requests    were

 ignored.       9   R         11-12.          Particularly with                  regard to         Wardlow             Blackburn                  stated   that    he had


 known      Wardlow               for eight to ten              years       and        that   during       Wardlows                   incarceration         Blackburn


 had visited Wardlow                          on several occasions                     at    Wardlows           request.                9    R 9     12.    Indeed         he


 had received            and honored                  certain       requests         from Wardlow               concerning                  the    conditions       of his


 confinement              including moving him to and                                      from a single         cell    and giving him a radio.                            9


 R   12-13.      However                  Blackburn            maintained             that    he had laid             down             the    ground rules from

 the beginning            that.        they    would          not   discuss          the circumstances                of the           case       unless    Wardlows

 attorney       was      present.              9    R    12.


           Then on                or about January                   25 1994                Blackburn          was handed                    a note       from     the jail



 dispatcher         which              she had           received         through            the jails      in-house                  mail system.           It    read    as


 follows


                          Patsy



                          I     request          to     speak       with     you           concerning          a matter                of utmost

                          importance.                    When        you    are       at    a point of availability                         and    are

                          ready          to   speak to         me     I   will       give    you   the request.          I            would       also

                          like                have                                                   with
                                       to                a    private      consultation                        Sheriff                Blackburn
                          concerning                my       case and        will       do what       is
                                                                                                            necessary                 to receive

                          this         hearing.



                                                                                                     Thank you



                                                                                                     Billy      Wardlow



 9   R 15 SPTX                     1.IZ        After         receiving          this        note   Blackburn            consulted                  with     the    district




           iz
                 SPTX                  refers      to   the    numbered exhibits offered                       by the    state          and admitted          for


 purposes of the                pretrial      hearing         on Wardlows                  motion    to   suppress his statements                          which    was
 conducted       in     the      trial      court       on October         17        and 18 1994.


 STATES    BRIEF    -   Billy    Joe   Wardlow                                                                                                                             33
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 48 of 90 PageID #: 1260



 attorney           and         district
                                                 judge             William        R.        Porter13           concerning                  the                        of honoring
                                                                                                                                                     propriety


 Wardlows                   request             for      a meeting.               9     R       96-97.             Porter             was        noncommittal              regarding

 whether           the       meeting             could be beneficial                        to the         state the            district                           counseled          that
                                                                                                                                                   attorney


 as     long       as they            did not discuss                     the    case           there       was         nothing            improper about                 Blackburn


 meeting with Wardlow.                                    9   R    96-98.


              At some               point        one week              to ten days              after the          Januar y 25                 request             Blackburn          met

 with Wardlow                   in    the jail           dispatchers            office.          9    R     17 21             65      10       R     45.    Blackburn        did      not


 read     Wardlow               the       Miranda warnings                       prior to the               meeting.                  9   R    98-99.         However            he did


 tell   Wardlow              that         they would               not talk about the                      case         unless        his attorney            was                     and
                                                                                                                                                                      present


 that    if   he wanted               to talk about the                   case to contact                  his attorney                   at   that point           all   discussion


 relating to the case ceased.                                 9    R     17-18        73    95-96          Blackburn                      10     R    74-75 80 Wardlow.

 Wardlow then                   told Blackburn                      that he       was having                   difficulty             sleeping that he was having


 nightmares                 that     he was having                  trouble       dealing             with things and that he needed                                       someone

 to talk      to.       9    R 18               10   R    48       Blackburn                 10   R        59-60         Wardlow.                     Blackburn            as he      had




  18-19
 on numerous occasions                                   with other inmates attempted                                     to offer             Wardlow             encouragement

 and advice             regarding his personal                            problems.               9     R      19-20          63          10   R     52.     He     told   Wardlow

 that   he often             found         it    helpful to write                 down          the        things        that      were bothering                   him and          thus


 confronted                 with the             problems                that he       found          it
                                                                                                            simpler to think                       them through             and deal

 with     them        effectively                he suggested               that       it   might help Wardlow                                 to do the           same.     9   R

         96        10       R       49-50        Blackburn                  10        R 64           67     Wardlow.                        During           the    course       of the


 conversation                   which           lasted        between           forty-five             minutes            and an hour and                      fifteen      minutes

 Blackburn            and Wardlow                        also discussed .religion                          9   R    73-74             10       R   49.      They     talked      about

 the     forgiveness                  of sins             salvation                               confession                  and                              of sin        and
                                                                                through                                                   repentence                                  the


 scripture          The             truth shall            set      you free.               9   R     74-75              10    R 50            54     Blackburn             10    R    63




                                                                                      Wardlows
              13
                    Judge            Porter          did not       preside       at                            trial.




              14
                    Wardlow                testified          at   the    guilt-innocence                  phase of                       that     the
                                                                                                                              trial
                                                                                                                                                           meeting took      place
 one week           after       the       January         25 request            about February                     1.    37     R 636              666.



 STATES       BRIEF     -   Billy   Joe   Wardlow                                                                                                                                      34
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 49 of 90 PageID #: 1261



 Wardlow.                    Blackburn                  also told          Wardlow                 that     by    writing          out         what was bothering                       him

 it    could         help him get right with                           God           however                Blackburn             never         suggested             that      Wardlow

 needed              to confess             to     law enforcement                    to       get         right with         God.                10   R 79             50.       Further

 Blackburn             told         Wardlow             that    if    he wrote            anything he did not want seen                                     he should destroy


 it    by   tearing         it   into pieces             and         flushing        it     down           the    toilet.         9    R 19        10    R    50         Blackburn

  10    R    72-73 80 Wardlow.

               On      February               25 1994                after receiving                   a letter        from Wardlow                    which             alarmed him


 and        caused          him        to fear          for the        safety        of Wardlow                    and      his fellow             inmates                   Blackburn


 moved Wardlow                        from a multiple-occupancy                                   cell     to a single            cell         commonly known                          as the


 suicide              cell           where             Wardlow             could          be      watched           through                a    window            from          the     chief


 dispatchers                office.16              9    R 23         26-27          10     R 21            32-33.

               Then on February 28 1994                                     three         to four          weeks       after the               above-described                    meeting

 took       place       Wardlow               sent       Blackburn              a   letter         again     through the jails                     in-house mail system


 in    which          he confessed                     to the    armed robbery                         and shooting               of Carl Cole.                   9      R 28 SPTX

 3.         On       September                11         199418         while             still        incarcerated               awaiting            trial       Wardlow                sent


 Blackburn             a second              letter      in    which he             related            more       details         and          corrected      some            assertions


 made          in      the       first       letter           primarily             regarding               co-defendant                       Tonya        Fulfers              level        of


 involvement                  in the         offense.            10    R    68-69                 SPTX       5.     The record                  plainly       reveals without


 contradiction                      that    Blackburn                did    not ask               Wardlow           to write            him       a confession                   and was




               is
                        The         letter    read in part             In my              opinion and               for     the    safety        of the other                inmates      I


 believe         I   should         be     moved         to    the back         in   a single            cell.     Certain persons                    whom          I    will    not

 state      have       pushed            me      to    the    limit    and could              be hurt or maybe worse.                                  SPTX         2.



               i6
                       Wardlow             remained            in that      cell     until         March          18   1994.           9       R 27    10     R   29.


               i                                 Wardlow had been moved from
                       Apparently                                                                                 multiple-occupancy                        cells       to   single     cells

 and back             on several occasions                      during      his      pretrial            incarceration            in   the Morris County                        jail    the

 majority            of the times             at   his request.             9   R    13           10   R   27-29 46-47.


               ie
                       In June         of 1994            Vernard Solomon                         withdrew as Wardlows                            counsel         and Bird Old
 III    was appointed                 to    represent           Wardlow             from          that     point forward.                  1   Tr 56-59           9     R    41-42.



 STATES        BRIEF    -   Billy    Joe   Wardlow                                                                                                                                            35
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 50 of 90 PageID #: 1262



 surprised        when         he received            the    letters     in fact           Wardlow          never    indicated      to   Blackburn

 either   in      the      January            25   note     requesting            the    meeting       or    during       the                  that    he
                                                                                                                                 meeting

 intended      to confess              to Blackburn.          9   R 20       10     R    52     Blackburn           10    R 72     81   Wardlow.

 Wardlow         testified that he did                 not    know why              he sent the        letters      to Blackburn.         10    R     80.


          At      the      conclusion              of the    pretrial    hearing              on Wardlows            motion to suppress his


 confessions the               trial       court   made     the   following             findings    of fact and          conclusions      of law in

 accordance        with Article 38.22                       6 of the Texas               Code of Criminal Procedure and Jackson

 v.   Denno supra

                                                                  Findings of Fact


            1.           There          is   no dispute over the              material facts.



            2.           The Defendant                was     arrested        by     the      Morris    County       Sheriff     in South

                         Dakota and                returned    to Morris            County        Texas.



            3.           The Miranda Warnings were given                                 to the    Defendant         in South      Dakota
                         and         the     Defendant      requested         an attorney.



            4.           The Defendant was appointed an                                  attorney      in   June of 1993         when     he

                         was         returned       to Morris County.



            5.           The Defense                Attorney told the               Sheriff       not to talk to the Defendant
                         about the case unless                    he   the    attorney           was   present.



            6.           Morris County                has a small            jail    population         and    it   is    the   customary
                         practice            of the    Sheriff     to talk          to   and     counsel     with        inmates   if   they

                         request his help.



            7.           The Defendant                and Sheriff had               known        each other eight to             10 years.



            8.           The Defendant                 wrote      a note       or a letter        to the     Sheriff       in January     of

                          1994             requesting       a meeting with the                  Sheriff.



            9.           The meeting took place                        one week            to   10 days after the                        the
                                                                                                                            request
                         meeting             lasted   45 minutes to an hour and a quarter.



            10.          No      Miranda           Warnings       were given              prior to the       meeting.




 STATES   BRIEF    -
                       Billy   Joe   Wardlow                                                                                              36
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 51 of 90 PageID #: 1263



           11.          The Defendant                told the          Sheriff that he         was having               trouble      sleeping
                        that        he was      having nightmares                  and emotional               problems.



           12.          The         Sheriff     is   a religious person and                   he discussed              religion with        the

                        Defendant              the    Sheriff          also   said that       it    often       helped         him   to    write

                        down         his problems and confront                     them.      The     Sheriff also said that                 he
                        the     Defendant            could       lie    to   him   but not to God.                The        Sheriff further

                        told        the       Defendant           that       people     are        saved        by      asking       God     for

                        forgiveness            and that the truth would                    set     him        free.




           13.          The         Sheriff suggested             that the     Defendant           write       out his problems              and
                        solutions and            start     at    a period     of time prior to the                    date    of the alleged

                        offense.




           14.          The Defendant                testified          as   did the    Sheriff that the                Sheriff told        him
                        not to discuss               the    case       with him and           if   he wrote            out something          he

                        didnt want seen he should                            destroy it       flush      it    down      the    toilet.




           15.          The Defendant                testified that the              Sheriff never asked                     for a statement

                        and never asked him to send a statement to him.



           16.         The Defendant                 testified         that he did not         know why                he sent    the     letters


                       to     the     Sheriff.




           17.         The Defendant                 sent       several letters        and     notes       to the       Sheriff.




           18.         The          letters    were received by                the    Sheriff through             in-house         mail.




           19.         The          Defendant          was        represented          by Attorney               Solomon          when       the

                       February             letter   was        sent    by Attorney Old when                    the     September          letter


                       was          sent.




           20.         No       meeting occurred                  between       the    Defendant              and the        Sheriff before

                       the      September            letter.




                                                                Conclusions of             Law


           1.          The February meeting between                             the    Sheriff and the Defendant                     was not
                        a psychological               ploy to gain            information for the                 State.




           2.          The meeting was not                        the    functional      equivalent             of an interrogation.




 STATES   BRIEF   -
                      Billy   Joe   Wardlow                                                                                                   37
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 52 of 90 PageID #: 1264



                   3.            Both the February 28th                           letter       and the       September           letter     amounts            to a

                                 voluntary statement and admission of                                        guilt.




                   4.            The         Sheriff           advised      he did not           constitute         entrapment.


                   5.            The          meeting between                     the         Sheriff    and       the     Defendant              was       not      a

                                 violation               of the          Sixth    Amendment              Right        to   have     counsel               present

                                 during a confrontation                          between         the    State      and Defendant.



                   6.            The          Sheriff            made      no     attempt         to    elicit      incriminating             information

                                 during            the    meeting with the Defendant.



                   7.            The meeting was                         not a custodial           interview.



                   8.            No      promises nor rewards were offered nor given to Defendant.



               9.                Both         letters          are admissible.




  12   R   123-126.                    In accordance                  with these findings and conclusions                           the     February               28 1994

 letter       was         admitted                 into     evidence           and read         to the       jury     at   the   guilt-innocence                    phase     of

 Wardlows                     trial.         35    R     524-527           SX    73.


 B.           Argument and                             Authorities


              It    should be noted                         at     the   outset       before      analyzing         the    legal bases             Wardlow               asserts


 in
       support           of his claim that his statement                                was improperly admitted                      that the             determination


 of     the        voluntariness                       of      a                        statement                 based                                               of
                                                                      particular                           is
                                                                                                                                upon      the           totality            the


 circumstances                    presented              by the particular case                  and challenges to the                    trial      courts          findings


 and conclusions                       are resolved                   by determining whether the                      court      abused           its    discretion         in a


 particular              case.           Hawkins                 v.    State     628      S.W.2d        71      Tex. Crim. App.                    1982.             In   other


 words             the         standard to                be applied             by     an     appellate        court      in    examining a                trial     courts


 findings          and conclusions                        is   whether the            trial    courts     findings         are supported                 by   the     record.


 Romero             v.    State              800    S.W.2d 539 Tex. Crim. App.                                  1990       Miniel      v.    State          831      S.W.2d

 310       Tex.           Crim.              App.           cert.        denied 506            U.S.     885       113      S.Ct.   245            121      L.Ed.2d          178


 1992.                  Absent           a    showing                 of abuse    of discretion                 a trial    courts         findings            will    not be




 STATES       BRIEF       -    Billy   Joe   Wardlow                                                                                                                         38
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 53 of 90 PageID #: 1265



  disturbed.          Long                 v.     State       823    S.W.2d          259       277 Tex.          Crim. App.          1991        cert.    denied 505

  U.S.    1224                112        S.Ct.         3042         120 L.Ed.2d            910 1992.

                1.                 Admission of                     the letter        did not violate              the Fifth Amendment.



           Contrary to                            Wardlows               assertions in his sixth point of
                                                                                                          error the                                  admission       of his


  February           28 1994                      letter     to Sheriff Blackburn                    did    not violate       the    Fifth      Amendment.             The

  Fifth   Amendment                             to the        United           States    Constitution provides                 that a citizen            accused      shall


  not be required                       to incriminate himself.                           In    Miranda           v.   Arizona       the    Supreme Court held

 that    statements                   of the accused                  arising out of custodial                     interrogation           could not be used               in


 evidence        unless certain                            safeguards            were employed               to protect        the   right       against compelled


 self-incrimination.


           Prior to any questioning                                      the person         must be warned                that he has the              right to
           remain                                     that     any statement he does                        make
                                      silent                                                                           may     be used          as    evidence

           against                    him            and that        he has a right to the presence                           of an attorney             either

           retained                   or appointed.                        .l




 Miranda                      Arizona 384 U.S.                            436 444           86 S.Ct.             1602    1612        16 L.Ed.2d           694
                     v.
                                                                                                                                                                    1966.

 Custodial           interrogations                          implicate the              Fifth   Amendment               privilege      because          of the      danger

 that    law enforcement                               officers       might exert informal compulsion                                 on suspects                         the
                                                                                                                                                             during

 interrogation.                       Id.       at    460-61 86                S.Ct. at    1620-21.              Miranda warnings                are required         only

 when     a suspect                          both in custody                   and subject to interrogation.                                477-78 86
                                      is                                                                                        Id.    at                         S.Ct.    at



  1629-30.           As            the       Miranda Court noted

           Confessions                            remain a                           element              law enforcement.
                                                           proper                                    in
                                                                                                                                        Any          statement

           given               freely            and voluntarily without                    any compelling              influences          is    of course
           admissible                        in evidence.                 The fundamental                   import of the           privilege while            an
           individual                        is      in custody           is    not whether he              is   allowed       to talk      to the       police
           without                      the          benefit        of    warnings          and           counsel       but    whether           he    can     be

           interrogated....                                  Volunteered             statements of any kind                   are not barred            by   the




           19
                      The             Court explained                    that    the right      to   counsel       expressed in the          opinion was            not the
 Sixth    Amendment                        right        to   counsel           but was     a necessary           correlative    right      of    the   Fifth

 Amendment                         insure                                      and                           See Brewer              Williams 430.U.S.
                              to                           protection                                                                                                387
                                                     its                             effectuation.                             v.


 97   S.Ct.     1232               51      L.Ed.2d            424    1977.


 STATES    BRIEF          -   Billy    Joe      Wardlow                                                                                                        39
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 54 of 90 PageID #: 1266



               Fifth           Amendment                    and     their    admissibility                is        not      affected        by our holding
               today.



  Id.   at    478         86 S.Ct.            at    1630.


               The admission of Wardlows                                    statement        at    trial        did not            violate      the    Fifth      Amendment

  because           the statement               was         not given       as a result of custodial                            interrogation.            In    Rhode         Island


  v.    Innis         446         U.S.        291           100    S.Ct.     1682       64     L.Ed.2d                 297          1980          the       Supreme Court

  defined          interrogation               as     express questioning                    or     its        functional               equivalent.            Id.    at    300-01

  100 S.Ct.           at      1689.          The Court             stated that       the functional                  equivalent             of interrogation               consists


  of    words              or     actions          on       the    part     of the     police                         that         the    police       should             know      are


  reasonably              likely to elicit                an incriminating response                             from the suspect.20                         Id.      at   301      100

  S.Ct.       at    1689-90.                Wardlow           does       not assert that he was subjected                                    to express questioning


  by     Sheriff              Blackburn               rather        he     claims      only that                he was              subjected          to      the     functional


  equivalent              of questioning.                    However          there     is    absolutely                   nothing          in the     record to suggest


 that    Sheriff Blackburn                         should         have known          that his meeting                          with Wardlow                was reasonably

  likely      to elicit          an incriminating response                           from Wardlow.                           It    is   clear   from the record that


  at    the        meeting             Wardlow               appealed        to     Blackburn             for help                 in dealing          with his personal


  emotional               difficulties                Blackburn            listened      to    Wardlow                      and         suggested         to    him possible

  solutions for dealing with these difficulties.                                                                                  that the        circumstances               of the
                                                                                        It    is
                                                                                                   undisputed

  instant      case were                not    even a subject               of discussion           at     the meeting.                     The    fact     that Blackburn



 spoke         with Wardlow                        concerning             religion     and         salvation                through          confession              of sins and


  suggested to                Wardlow              that     he write down the things that were                                      bothering         him does not                 lead


 to the conclusion                      that Blackburn                should have             known                 this     would cause Wardlow                           to write


 him      a letter confessing                      to the         crime.     Furthermore there                         is                         no    indication            in the
                                                                                                                                absolutely


 record            that       Wardlows                unsolicited           letter   to Blackburn                     sent         three to       four      weeks          after    his




               20
                      The Innis Court determined                             that    a conversation                   between            police    officers          in the

 presence           of the defendant                   concerning           the   possibility        that           a handicapped               child might            find the

 murder weapon                        did not      constitute        interrogation even               though               it     led the    defendant          to    make an
 incriminating                 statement.             Id.    at   294-95      303 100         S.Ct.            at    1686-87             1690-91.



 STATES        BRIEF      -   Billy   Joe   Wardlow                                                                                                                                 40
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 55 of 90 PageID #: 1267



 meeting with Blackburn                             was        in fact        the    result of that meeting.                     The      Fifth       Amendment             is




 simply not implicated under these circumstances                                                 and        Wardlows             sixth point of error                    must

 be overruled.


           Furthermore                       even        if   Blackburns            discussion        with Wardlow                   were held          to constitute


 interrogation                 the circumstances                        surrounding the meeting and                        Wardlows              letter      confessing

 to the    crime lead to the                          conclusion              that   Wardlow           waived           his Fifth        Amendment                 right    to


 counsel    before             that      interrogation                      took    place.     When          a suspect          asserts        his    Miranda            right


 to    counsel     law enforcement                            officials       must cease        all   interrogation              until        counsel       is    provided


 or the    suspect subsequently                               waives        his right.       Edwards         v.    Arizona 451 U.S. 477 484-85

  101    S.Ct.     1880                1884-85                68 L.Ed.2d            378      1981.          Communications                     may      not continue


 after     invocation                    of the            Miranda            right     to    counsel            unless      the       accused          initiates          the



 interrogation.               Id.        In   Oregon             v.   Bradshaw            a plurality        of the Court              ruled     that a defendant


 who      evinced                  a     willingness                   and     a    desire      for     a    generalized               discussion                about     the


 investigation                had effectively                  initiated       conversation           under        Edwards             despite having               earlier


 asserted his right to counsel.                                462 U.S.            1039      1045 103            S.Ct.    2830 2835              77 L.Ed.2d              405


 1983           plurality                 accuseds                    inquiry        Well       what         is    going        to     happen          to   me      now
 amounted          to        waiver           of right to counsel.                           Once      it   is    found         that     the    accused           initiated


 further   communication                            it    must then be determined whether                                 the    accused         then       waived         his


 Fifth    Amendment                      right to counsel                    prior to being interrogated.                        Id    at     1044-45            103 S.Ct.


 at    2834.       This            determination                      must be made based on                       the    totality      of the         circumstances


 including         the necessary                     fact      that the        accused        not the        police        reopened             the    dialogue          with


 the    authorities.                   Id.    at    1045              103    S.Ct. at     2834        quoting           Edwards          v.   Arizona 451 U.S.

 at    486 n.9             101     S.Ct. at           1885 n.9.


           Clearly though                      Wardlow had                    asserted his Fifth             Amendment                 right to counsel              at the




           21
                 The          state       asserts         this    argument          only in the       alternative          to    be considered              by    this

 Court only in the event                       the        Court finds the             meeting between Blackburn                         and Wardlow
 constituted       interrogation within                           the   meaning        of the Fifth Amendment.                         The     state    nonetheless

 maintains       its       primary position that the                          meeting        did not constitute            interrogation.




 STATES    BRIEF       -
                           Billy   Joe   Wardlow                                                                                                                           41
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 56 of 90 PageID #: 1268



 time of his       arrest        and was             in    fact    represented           by counsel he subsequently                             initiated         contact


 with Blackburn                 by     requesting               a meeting with Blackburn                             and then attempting                    to discuss


 the    case    with       Blackburn..                    When         Blackburn             refused       to    discuss          the    case       with     Wardlow

 outside    his attorneys                presence               Wardlow          shifted the discussion                     to.   his emotional             problems.


 Despite Blackburns                     admonishments to Wardlow                                   that he contact            his attorney            if    he wished


 to    discuss     the         case     Wardlow                 never expressed                    a desire      to    confer          with     his attorney         and


 apparently never               sought his attorneys advice                                  before sending the unsolicited                            confessional


 letter    three to four               weeks             later.    The     fact     that      Blackburn              did   not follow           Wardlows             lead


 and launch            into     an interrogation                       of Wardlow             regarding          the       circumstances             of the       instant


 offense       does not          alter        the        inevitable        conclusion              that    Wardlow            by his actions waived                   his


 Fifth    Amendment                  right    to have             counsel       present          when      he spoke           with Blackburn.                 For    this



 reason    as    well          this    portion            of    Wardlows               sixth point          of error must be overruled.


           2.           Admission of the                          letter    did not violate Article 38.22.


           Wardlows claim based on                                  Article 38.22             of the Texas             Code of Criminal Procedure

 in his fifth      point of error fares                           no   better.         Article          38.22   provides           in pertinent            part

           No      written              statement                 made        by       an     accused           as     a    result       of     custodial

           interrogation                 is     admissible                 as    evidence               against        him        in    any         criminal

           proceeding                unless         it    is    shown on           the      face    of the statement that



                           a            The accused                     prior to         making          the    statement              either       received

                                        from a             magistrate           the      warning          provided           in Article             15.17    of

                                        this    code or received                    from the person to                     whom         the     statement
                                        is    made             a warning        that



                                         1               he     has     the     right       to     remain       silent       and        not    make any
                                                         statement                       and that any statement he makes
                                                                           at    all
                                                                                                                                                           may
                                                         be used against him                       at   his trial




                                         2               any       statement           he     makes            may     be     used        as    evidence

                                                         against        him     in court




                                         3               he has the right to have                       a lawyer present to advise him

                                                         prior to and           during           any questioning
                                                                                                                                                .



 STATES    BRIEF   -
                       Billy   Joe   Wardlow                                                                                                                42
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 57 of 90 PageID #: 1269



                                             4           if   he    is    unable to employ a lawyer                        he has the right to

                                                         have       a     lawyer appointed                  to    advise      him   prior to            and

                                                         during          any questioning                 and



                                             5           he has the right to terminate                           the   interview       at
                                                                                                                                            any time
                                                         and



                               b           the     accused          prior to and             during the making                of the statement

                                           knowingly               intelligently          and voluntarily               waived      the     rights       set

                                           out     in   the warning              prescribed         by   Subsection        a of        this   section.



 TEX.     CODE             CRIM. PROC.                 ANN.     art.      38.22         2.     The       foregoing       analysis       under federal law


 requires        the       same          result        when analyzed under                     state     law.      Wardlow                                        no
                                                                                                                                 argues        absolutely


 basis for construing                      his rights          under Texas             law any broader than his rights                         under federal


 law.      He         does         not     assert        that      Article        38.22       provides           any broader        protection            than   the


 Miranda          warnings under federal                               law.       See Taylor           v.   State       850   S.W.2d 594 596 Tex.


 App.      --    Houston                  1st      Dist.        1993            The       applicable             provisions      of     article         38.22     are


 substantially the                 same      in
                                                   scope as the Fifth                 Amendment             right      against self-incrimination.


 jment vacated on                        other     grounds          863        S.W.2d     737 Tex.             Crim. App.       1993          Floyd       v.   State

 710 S.W.2d 807 809 Tex. App.                                            --    Fort   Worth         1986       Article 38.22           substantially            same.

 in   scope       as        Fifth         Amendment                 right       against       self-incrimination              and      the     provisions         of


 Article 38.22              provide no broader protection in                                 this                 than the provisions                  of the U.S.
                                                                                                    respect


 Constitution.-pet.                         dismd             768    S.W.2d 307 Tex. Crim. App.                               1989.         Accordingly           on

 this   basis         alone          his fifth          point of error should                   be overruled.              See Arnold             v.    State    873


 S.W.2d          27        33      Tex. Crim. App.                        1993        cert.     denied           115    S.Ct.   103         130        L.Ed.2d    51


 1994.

           Moreover                  the     Article          38.22           warnings       were not        required      in   this    case for the            same

 reasons        the   Miranda warnings were                               not    required under the Fifth                  Amendment              i.e.    because


 Wardlows             statement             was        not    the result of custodial                  interrogation.           See TEX.          CODE CRIM.

 PROC. ANN.                art.    38.22           5   Nothing                in this article
                                                                                                    precludes the          admission          of a statement


        that    does not stem from custodial                                   interrogation.....                      Wardlow      does not assert any




 STATES    BRIEF       -   Billy   Joe   Wardlow                                                                                                                  43
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 58 of 90 PageID #: 1270
                                               F




 basis     for     defining            custodial            interrogation              more broadly under                          state    law      than under

 federal    law.        Indeed          this   Court has concluded                   that    the     term custodial                      interrogation          was

 intended        by    the     legislature           to be           construed consistently           with            its    meaning under               the   Fifth


 Amendment               to the        United            States       Constitution.          Wicker        v.     State           740      S.W.2d        779     785


 Tex.      Crim. App.                 1987          cert.       denied        485    U.S.    938      108        S.Ct.           1117      99 L.Ed.2d           278

 1988       see also Gressett                  v.    State           723 S.W.2d       695 Tex.        Crim. App.                   1986          Bass    v.    State

 723     S.W.2d 687 690-691 Tex.                                     Crim. App.           1986     Janecka              v.       State     739     S.W.2d        813.


 Tex. Crim. App.                     1987 citing Innis Jones                         v.   State     742 S.W.2d 398 Tex. Crim. App.


  1987     citing Innis.                As     demonstrated                 above      Wardlow        was never                   subjected          to custodial


 interrogation          and his statement                  was        not   the result of custodial               interrogation.                  Accordingly

 his    claim      under         Article       38.22            is    without    merit      and     his    fifth            point      of error should            be


 overruled.


            3.           Admission of the                       letter did not violate              the    Due              Process Clause of

                         the     FourteenthAmendment.


           Likewise Wardlow                         is    not   entitled to reversal of his conviction                                 based on his claim


 in    his sixth point          of error that his unsolicited                       confessional          letter            to   Sheriff Blackburn              was

 the    result     of police            coercion           in violation          of the     Due      Process                Clause of the            Fourteenth


 Amendment             to the         United        States           Constitution.         Whether        or not            Miranda         is    implicated       a


 confession        must be voluntary                      to be valid         thus     a confession        deemed coerced                        after   Miranda

 warnings        are      given must               be excluded.               Colorado        v.    Connelly                 479 U.S.            157     163     107


 S.Ct.     515 519               93     L.Ed.2d            473        1986.         To     be voluntary                 a    confession            must be       the


 product       of an essentially               free and               unconstrained         choice    by        its     maker.           Id.     A   court     must

 inquire    whether considering                           the    totality     of the circumstances                          law enforcement              officials


 have     overborne            the     will    of the           accused.       Haynes        v.    Washington                    373     U.S.     503 513-14

 83    S.Ct.     1336          1343       10 L.Ed.2d                 513    1963          Townsend        v.     Sain 372 U.S. 293 307 83

 S.Ct.     745 754             9 L.Ed.2d             770        1963         Culombe        v.     Connecticut                   367 U.S.         568 602         81

 S.Ct.    1860         1879 6 L.Ed.2d                     1037        1961.

           The         factual        inquiry            centers       on    1   the      conduct     of law                 enforcement             officials    in



 STATES    BRIEF   -
                       Billy   Joe   Wardlow                                                                                                                      44
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 59 of 90 PageID #: 1271



 creating        pressure            and     2      the       suspects capacity             to resist that pressure.                      Mincey             v.   Arizona

 437     U.S.       385 399-401                          98    S.Ct.        2408        2417-18 57             L.Ed.2d         290         1978              confession


 involuntary                when          continued            police        interrogation          of hospitalized                 suspect            overwhelmed


 suspects         free           will Davis           v.      North       Carolina        384 U.S.           737 752         86          S.Ct.        1761        1770        16


 L.Ed.2d          895            1966        confession                involuntary when police                       repeatedly               interrogated              jailed


 suspect held               incommunicado over                         16-day       period.         However            even     trickery               and deception

 are permissible                    tools of interrogation unless                       calculated       to produce          an untruthful confession


 or are     otherwise                 offensive            to due         process.        Moran         v.    Burbine        475         U.S.         412         106    S.Ct.



  1135     89      L.Ed.2d                410       1986             failure        of officers         to    inform     suspect              that      attorney             was


 waiting         to         consult         with      him           not     so    offensive       to    due     process        as        to     make         confession


 involuntary see also Johnson                                   v.    State       651    S.W.2d        303    Tex. App.             --    San Antonio                   1983.

 Moreover               a        lapse     of time between                   the     alleged      coercive           conduct        and         the     confession             is



 significant            in       determing          whether a due process                      violation         occurred.               Barton         v.    State          605

 S.W.2d      605 607 Tex. Crim. App. 1980                                            confession held voluntary                           when          obtained             from

 accused         day        after     alleged        beating          by officers Berry                 v.    State    582 S.W.2d 463 465 Tex.

 Crim. App.                  1979          confession                held    voluntary        due       to    lapse    of time and                    lack        of causal


 connection             between             officers           assault           on accused       and subsequent               confession.

            Wardlow contends                         that Blackburn                 had       overborne          him      beyond                all   notions          of due


 process          by creating                    an atmosphere                    for   him    to write the           letter    of confession                     admitted


 against     him. Appellants                         Brief at         22     23.        However Wardlow                 has failed to show that his


 will   was overborne                     by Blackburns                   actions       or that his confession            was            less    than the product


 of his      essentially                  free      and       unconstrained              choice.22           Indeed      every            indication              is    to   the



 contrary.        Prior to sending                       the    letter      confessing        to the         crime Wardlow                    had       at   least      twice


 been     read his Miranda                          rights           had     indicated       that      he understood                them and had                       in    fact


 invoked          them.               Further            at    the     time       of his     meeting           with    Blackburn                      Blackburn              told




 R644-657.  22



 testified that




 STATES    BRIEF
                   It




                        -
                            is


                            the




                            Billy
                                 also significant

                                    contents




                                    Joe   Wardlow
                                                    of   his
                                                               to    note

                                                                confession
                                                                             that   Blackburn

                                                                                    were    for   the
                                                                                                       took    the

                                                                                                         most part
                                                                                                                     stand

                                                                                                                         true
                                                                                                                               in    front of the jury and

                                                                                                                                    and       correct.            37




                                                                                                                                                                              45
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 60 of 90 PageID #: 1272



 Wardlow           to     contact            his       attorney        before      discussing           the       offense.         None               of     Sheriff


 Blackburns            actions         at    the meeting         --    neither     his discussion             of religion with                  Wardlow             nor

 his    suggestion             that     Wardlow            write       down       his       problems        --    amounted          to     impermissibly

 coercive        police         conduct.               There    was nothing             inherently coercive                in the                            advice
                                                                                                                                        spiritual


 Blackburn         offered Wardlow.                      Though        Blackburn            counseled        Wardlow         concerning                    salvation


 through        the     confession              of sins he advised                   Wardlow           to    confess        to    God           --    not    to     law

 enforcement             officials.             See      Welch        v.    Butler          835    F.2d     92    5th Cir. officers                          prayer

 session    with defendant                    which       coincidentally             produced          incriminating                                        was not
                                                                                                                                 statements

 so coercive           as to render              statements involuntary                       cert.    denied 487 U.S.                1221             108        S.Ct.


 2877      101 L.Ed.2d                912     1988.            And     while Blackburn                suggested        to    Wardlow                 that    it    may

        him      to deal        with his emotional                                          he wrote        down what was
 help                                                                 problems         if
                                                                                                                                          bothering               him

 he told Wardlow                     to destroy         whatever           he wrote         so no one else would see                      it.        Wardlows

 unsolicited       confessional                letter    sent three        to four      weeks        after this     meeting certainly resulted

 from the exercise of a rational                          intellect        and not from any impermissibly coercive                                          conduct

 on Blackburns                 part.
                                             For these         reasons           this portion         of    Wardlows             sixth point                of error


 must be        overruled.


            4.           Admission of                   the letter did not violate                   the Sixth Amendment.



           Finally contrary to                     Wardlows            claim in his seventh point                    of error       Wardlows                      Sixth


 Amendment             right     to counsel             was not        violated        by    the     admission       of his confessional                          letter



 into   evidence.              As an         initial    matter Wardlow                  has failed         to brief this         issue                                in
                                                                                                                                            adequately

 accordance        with rule            74f        of the Texas Rules                of Appellate           Procedure            which           requires          that


 a brief contain               such          discussion          of the      facts      and the       authorities         relied     upon             as    may      be


 requisite to maintain the point                         at    issue.        TEX. R. APP. P. 74f.23                       Other than                 asserting        in




           23
                   When          briefing constitutional                   questions attorneys              should    provide       substantive

 analyses for their arguments                          on each    separate        question Muniz             v.   State     851    S.W.2d             238 251
 Tex.     Crim.       App.           cert.    denied 510 U.S. 837                    114     S.Ct.    116     126 L.Ed.2d          82     1993
 McCambridge             v.    State         712 S.W.2d          499       501   n.9    Tex.       Crim. App.        1986         cert.     denied 495
 U.S.   910      110     S.Ct.        1936       109 L.Ed.2d           299    1990.


 STATES    BRIEF   -   Billy   Joe   Wardlow                                                                                                                         46
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 61 of 90 PageID #: 1273



 a heading                that       the            trial   court        erred         in     denying              appellants              motion         to                           his
                                                                                                                                                                suppress

 confession           obtained in violation of his Sixth                                          Amendment                right to assistance                      of   counsel

 Appellants Brief                        at    17 Wardlow                fails     to cite          any authority or advance                           any argument                     or


 legal theory                in support                of his Sixth            Amendment                      claim.        An     inadequately                 briefed              claim


 such as    this          presents            nothing for review                   and        is   therefore          waived.               Alvarado           v.    Texas             912

 S.W.2d        199 210 Tex.                         Crim. App.            1995          Keith                 State        782    S.W.2d 861 863
                                                                                                        v.                                                               n.3         Tex.

 Crim. App.                 1989.               Wardlows                seventh         point           of error           may     be       overruled           on       this        basis


 alone.



           Alternatively                      the     claim     fails     on     its    merits as well.                    The        Sixth       Amendment                 right       to


 counsel       attaches              at       the    initiation         of adversarial judicial                       proceedings                 whether by way of

 formal     charge                 preliminary                 hearing           indictment                  information               or     arraignment                       and     no

 request for counsel                          need be made by the accused.                                        Kirby     v.    Illinois         406 U.S. 682 689

 92    S.Ct.     1877              1882             32 L.Ed.2d            411      1972             plurality Brewer                         v.    Williams 430                       U.S.


 387      401 404                   97        S.Ct.         1232        1240       1242             51       L.Ed.2d        424            1977.          Once           the         Sixth

 Amendment                  right         to    counsel         has attached                      the    accused           is    entitled         to   the      assistance              of


 counsel    at    each            critical             stage    of the prosecution                           absent       a valid waiver.                 Upton            v.        State

 853   S.W.2d             548 553 Tex. Crim. App.                                 1993             citing         Michigan            v.    Jackson          475         U.S.         625

 629 n.3        106 S.Ct.1404                           1407 n.3          89 L.Ed.2d                    631       1986.           Police          interrogation                 is    such


 a critical        stage.                Id.    at      555.       If    the     accused            has           after    being           informed of his right to


 counsel       requested                 or secured            counsel         then         all
                                                                                                   questioning             must cease.              Id.    at       553.         Under

 these                                          law         enforcement
          circumstances                                                                officials
                                                                                                             may     not        use        incriminating             statements


 deliberately elicited                               from the           accused             without            the    presence              or    waiver            of     counsel.


 Massiah         v.        United             States         377        U.S.     201 206                     84    S.Ct.        1199        1203       12 L.Ed.2d                     246

 1964       Brewer                 v.     Williams 430 U.S.                      at    399         97 S.Ct.           at   1240.


           In    the              instant           case       the      record         simply            does         not        support          Wardlows                  implied




 STATES    BRIEF      -
                          Billy    Joe   Wardlow                                                                                                                                        47
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 62 of 90 PageID #: 1274
                                                C

 contention24            that   Sheriff Blackburn                  offered     Wardlow           spiritual       guidance      and advice       for the


 purpose          of deliberately          eliciting           a confession from him.                 Blackburn           never asked       Wardlow

 to    write       a confession                and        in    fact     refused     to    discuss         the     case   with    Wardlow           when

 Wardlow           attempted          to bring       it
                                                           up.     As Blackburn           testified        The      meeting was not to gather

 evidence           the     meeting was              simply to talk to someone                      that        had requested        to talk to      me.

 9     R   99.     Indeed            Blackburn            did    not expect        Wardlow         to send         him    a confession        and was


 surprised         when he           received       the    letter
                                                                       through the jails          in-house mail system several                      weeks

 after      the     meeting           took     place.           Clearly       Wardlows            unsolicited         letter   confessing           to   the


 offense          was    not the        result      of a violation of his Sixth                    Amendment              right to     counsel.          His


 seventh          point of error          must be              overruled.


                     STATES              REPLY TO POINTS OF ERROR EIGHT                                               AND NINE
                           THE TRIAL COURT PROPERLY DETERMINED THAT
                           THE VOLUNTARINESS   OF WARDLOWS CONFESSION
                           WAS NOT AN ISSUE FOR THE          JURY AND
                           THEREFORE     PROPERLY    DENIED  WARDLOWS
                           REQUEST  FOR A JURY  INSTRUCTION ON THE ISSUE
                           AND EXCLUDED JUDGE PORTERS TESTIMONY
                           BEFORE THE JURY.


             Wardlow             argues        in    his        eighth       and   ninth     points        of error that         the   issue    of the

 voluntariness            of    Wardlows            confession was                 raised by the           evidence       presented      at trial    and

 thus       that    the      trial    court     erred          1    in failing      to instruct           the   jury on the      issue    and       2     in


 excluding          the     testimony          of   district
                                                                   judge      William R. Porter                 before the jury.


 A.          Statement. of Underlying                            Facts


             As     set forth in         the Statement              of Underlying Facts                                                States
                                                                                                       accompanying            the              Reply

 to    Points       of Error Five               through           Seven        supra       the    trial     court    conducted         an extensive




                   Again Wardlow
             24
                                                 has failed adequately               to    brief his       Sixth   Amendment claim thus
 the   state      may    only infer from             Wardlows            assertion     of Sixth Amendment error                   that   he contends
 Sheriff Blackburn               spoke with Wardlow                          an attempt
                                                                        in                  to   deliberately elicit        a confession        from
 him.



 STATES     BRIEF    -   Billy Joe   Wardlow                                                                                                             48
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 63 of 90 PageID #: 1275



 pretrial       hearing                on      Wardlows                    motion to               suppress           his      statements.             Based         upon          the


 undisputed               facts         presented               at      that    hearing25           the       trial        court     concluded         that       Wardlows

  statements         were voluntary                        statements              obtained        by     the       state    without custodial               interrogation


  and were thus                    admissible                  at    trial.



           At    the         guilt-innocence                         phase of trial                the   state        offered        into     evidence       the      February

 28 1994         letter           in    which Wardlow                         confessed            to the       offense           and called         Sheriff      Blackburn


 to   testify        regarding                     the     voluntariness                  of      that     confession.                   35   R      524-527            SX        73.


 Blackburn           testified           consistently with his testimony at the                                            pretrial hearing.               35    R    488-502

  530-568.           In      excluding                    as    hearsay testimony from Blackburn                                         regarding         the       advice        he


 received       from         district          judge William R.                      Porter        before his meeting with                        Wardlow              the    trial



 court    stated          the      following               outside            the   jurys presence

           It   is
                     my           opinion           that the            question as to whether or not                                this     was a    custodial

           interrogation                      or    the        functional           equivalent            thereof           as a matter of           law        and     I


           have previously                          ruled.          I   have ruled that             it   was not a custodial                    interrogation.



           If and          when          I    hear disputed                   testimony on               this       issue     I
                                                                                                                                  may     change       my       mind
           and submit                    it    to the jury.                   So    far there has not been                         a dispute.         If   there      is


           a dispute               and        if   this    does become                   a jury issue           I    will     reconsider          your request
           for this information to                                   be or for           this     conversation               to be related           to the jury

           but       at    this        point         it   is    denied.




 35   R   544-545.


           Thereafter                   Wardlow                called         as his      first   witness           district      judge William R. Porter                     who

 testified      outside                the    jurys presence                        that Sheriff Blackburn                         had    called      him one evening

 at   home seeking advice                           on how              best       to deal        with a request Blackburn                        had received from

 Wardlow         to        speak             with him.                  36     R    581.          Porter      told Blackburn                  that   Wardlow                had    an


 attorney       and that he                        should           not talk        to     Wardlow            about          the    case      outside      his     attorneys


 presence        or        without                 notifying             his    attorney.                36   R 582               589.        Porter       suggested              that




           25
                     Wardlow                  concedes              that   there     is    no dispute as              to    the    material facts.         Appellants
 Brief at 17         The           facts           circumstances                and events           leading          up to and culminating                  in   the

 delivery of the             letter           to the       State        are largely uncontested..



 STATES   BRIEF      -
                          Billy   Joe   Wardlow                                                                                                                                    49
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 64 of 90 PageID #: 1276



 Blackburn           call            Wardlows          attorney                and ask him               to    come        to the jail        for a meeting.              36    R

 582.      According                   to Porter        it    was two                 to three days             to    two weeks              later    when        Blackburn


 showed him                   the      letter      from      Wardlow                  confessing              to the       armed robbery and shooting                          of


 Carl     Cole however                        he did not recall whether                               his first        contact       with Blackburn                 occurred


 before        or    after            January         25          1994.              36       R 583       591.         Porter       did       not     recall      Blackburn


 inquiring       specifically about                     the        letters potential                     admissibility             at   that      time but he agreed

 he      may    have           told Blackburn                it    may           or    may      not be admissible.                      36    R     585-586.


           After returning                      from a three-day                       recess        Wardlow               requested          that he be allowed               to


 present        Porters               testimony         before                 the    jury.         37    R    600-601.            The        state    objected          on   the


 grounds that the testimony was not relevant to any issue before the jury.                                                                              37   R     601.       The

 trial    court held                 as follows.


           It       is       the       Courts opinion                          that    based         on       what     I    heard        Friday            Porters
           testimony outside jurys presence                                                   the    testimony          would           not be relevant             to

           any issue other than possibly                                       the    issue of voluntariness                      of the confession                the

           Court has determined over the four day or three                                                        day recess that the                      issue    of

           voluntariness                     has not    at        this    point been raised                     and    I    do not see any relevant

           to Judge                  Porters testimony.




           At       this        time the Court                is       still     of the opinion                that the       question was whether
           or not             the      conversation               between              Mr. Wardlow               and the           sheriff        amounted          to

           a custodial                     interrogation           or     its     functional             equivalent          is    a matter         of law.        At
           this      point            based on what                I    have          heard     I    am    standing by             my        findings       of fact

           and conclusions                         of law from the                        October         94     hearing.



           I    do find theres no fact issue                                     at this        point to        go to the jury concerning                          the

           voluntariness                      of the     confession                       I   have   ruled      as a matter              of law       it    did    not

           amount                    to    custodial         interrogation                    and    did       not     amount           to    the     functional

           equivalent                      of custodial           interrogation.



           Your request                       is     denied and                Im         ordering        you    not to call            him       as a witness

           nor to request that he testify in the presence                                                      of the jury.



 37      R 601               602-603.              Finally Wardlow                            took       the    stand       on     his       own      behalf to          testify




 STATES    BRIEF         -   Billy   Joe   Wardlow                                                                                                                             50
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 65 of 90 PageID #: 1277



  regarding the circumstances                                  under which                    he wrote       the     letter          confessing to the crime and

  he offered testimony                              largely duplicative                       of his testimony                   at    the     pretrial             hearing.           37    R
  636-643.               Before             Wardlow              rested       his case-in-chief                  he again requested                            to    present Judge


  Porters           testimony before the jury.                                     37     R    740.     The         trial        court ruled               however                 that the


  issue       of the             voluntariness                   of    Wardlows                 confession               still       had     not        been        raised          despite


  Wardlows                   testimony              and denied               the    request.           37    R   740.            The       trial        court       stated


               ..        I    cannot see that there                      is
                                                                              any issue since                the     testimony                of Mr. Wardlow
               and           the     testimony of the                     sheriff do             not    conflict.                     believe
                                                                                                                                 I
                                                                                                                                                         you        are    still



               getting into the                     question          that    I    consider       a question               of law and thats whether

               or not              the      meeting           constituted              a custodial           interrogation.                   I    am      still      of the

               opinion               thats a question of law and that                                   question has been answered                                         will

               again          be answered                    adversely        to your position                 so    I     am        going        to re-deny              your
               request to                  call    Judge         Porter       in front of the jury                       and again             instruct             you not
               to call           him once               the jury        is    seated          in the    box.



 37      R    741.           The          trial    court       informed the parties that he had no intention                                                    of charging               the


 jury on the voluntariness                               issue         but that          if   he subsequently                    determined               that       the    issue         was

 raised        by        the         evidence                he would             allow        Wardlow             to       call
                                                                                                                                      Judge             Porter.           37       R   742.




 guilt-innocence
 Wardlow             rested his case-in-chief without



                         phase             of the        trial      came          to
                                                                                          presenting


                                                                                         a close.       37
                                                                                                             any additional evidence

                                                                                                                 R       743.         The         following
                                                                                                                                                                     and the


                                                                                                                                                                          day       before


 closing arguments                                Wardlow           lodged his objections                        to the          charge           and requested                    that   the


 trial       court       submit             a charge           on the         voluntariness             of his confession                           which           the    trial       court


 denied.            38       R     751-752 2 Tr 138-141.

 B.            Argument and                         Authorities


               Wardlow                first
                                                  argues       in     his eighth point            of error that the                    trial        court       erred in failing


 to charge           the jury              on     the   issue of the voluntariness                          of his confession                      at    the    guilt-innocence


 phase        of trial               in    violation          of Article               38.23a         of the         Code of Criminal Procedure.                                          See

 also TEX.               CODE             CRIM. PROC. ANN.                        art.    38.22         7.26




               26
                     Wardlow                  asserts        only Article           38.23a        as a basis for requiring                              a jury instruction in
 his     case       Article          38.23a             is   the    general provision barring the admission                                        of any evidence
 obtained           in   violation of law.                                                                                           TEx. CODE CRIM. PROC. ANN.
                                                               Appellants                Brief at 23-24             citing



 STATES       BRIEF      -   Billy   Joe    Wardlow                                                                                                                                         51
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 66 of 90 PageID #: 1278



               However               this     claim must            fail    due to        Wardlows              failure properly to preserve                                     error.



 Rule      52a             of the         Texas        Rules of Appellate                        Procedure               provides             in
                                                                                                                                                    part         In         order        to


 preserve a complaint                             for appellate            review         a party must have                       presented              to the        trial        court


 a timely request                   objection          or   motion           stating the specific                   grounds            for the           ruling        he desires


 the    court      to      make          if   the     specific       grounds were not apparent                                 from      the        context.                TEX. R.


 App.     P.    52a.           Nowhere               in the    record         --    neither         in   counsels              argument in open                            court      nor

 in     Wardlows                   written objections                 submitted            to    the     court       --     is    it   indicated               that        Wardlow

 either    requested                 such an instruction                    or     objected to           its   exclusion                on the basis that                      it    was

 required          under            either          Article    38.23a               or     Article        38.22           7       of the            Code of Criminal

 Procedure.                See 38             R    751-752 2 Tr 138-141.                         Accordingly                   because             Wardlow                 raises an


 issue     on appeal                 that         was never properly presented                           to    the        trial     court          his eighth               point       of


 error    is    not preserved for review                             and should be overruled.


               Alternatively                      Wardlows           claim         is   without          merit.           Wardlow                  acknowledges                     that

 under Texas                law          a defendant          is    entitled         to an       instruction             advising             the jury generally                       on

 the    law      pertaining to his written statement                                       only      when                the      evidence           presented                 at    trial



 raises    a factual               dispute over             whether          the        defendants             written            statement was                      voluntary.


 Appellants                Brief         at   23-24 quoting Dinkins                         v.      State      894        S.W.2d 330 353 Tex. Crim.

 App.          cert.       denied 116                S.Ct.    106          133 L.Ed.2d              59   1995               see also Muniz                      v.    State          851

 S.W.2d          238 254 Tex.                         Crim.        App.            cert.    denied 510 U.S.                         837            114    S.Ct.            116       126


 L.Ed.2d         82        1993           Miniel       v.   State      831        S.W.2d         310     316 Tex.                 Crim.        App.             cert.       denied

 506     U.S.     885              113    S.Ct.       245     121 L.Ed.2d                  178      1992            Hernandez                 v.    State         819       S.W.2d

 806      812          Tex.          Crim. App.               1991           cert.        denied 504                U.S.          974     112            S.Ct.        2944           119




 art.   38.23a             In       any case where the                     legal    evidence         raises     an issue hereunder                        the jury shall

 be instructed.....                           However         the    case     Wardlow            cites    in   support            of    his    claim addresses                      only

 application           of Article 38.22                7      the    provision addressing                   the      specific          issue        of the admissibility
 of a confession                   when       the   voluntariness            of    that    confession          is   at    issue.        Dinkins           v.    State        894
 S.W.2d         330        353 Tex. Crim. App.                       1995          citing     TEx. CODE CUM. PROC. ANN.                                        art.   38.22          7
 When           the    issue        is   raised by the          evidence             the    trial    judge     shall        appropriately                instruct           the jury

 generally         on the law pertaining                      to    such      statement..                In any event                  Wardlow            fails       to    show
 that   he was         entitled to                a jury instruction under                 either     provision.             See discussion                     infra.



 STATES    BRIEF       -   Billy   Joe   Wardlow                                                                                                                                       52
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 67 of 90 PageID #: 1279
                                                     t                                                                              t.




 L.Ed.2d        568        1992                Thomas           v.     State       723    S.W.2d 696 Tex. Crim. App.                                           1986.           Only

 when     the    evidence              presented             at trial         raises a factual                dispute the resolution                          of which              has


 repercussions                             the                                 of the                                         a defendant
                             upon                   voluntariness                          statement                    is                             entitled         to    a jury


  instruction      on        voluntariness.                  Dinkins               894    S.W.2d            at   353.27


           As    previously                noted           Wardlow            himself concedes that                          the           facts       circumstances and


 events    leading up to                   and culminating in the delivery of the                                              letter         to the    State      are largely


 uncontested.                   Appellants                 Brief      at     17.    Thus by Wardlows                                own          admission no factual


 dispute        remained               for       the       jury       to     resolve.           The         testimony                    of    Wardlow            and        Sheriff


 Blackburn              was           in      all        material            aspects       consistent                    so     there            were        no      credibility


 determinations to be made.                                There       were simply no disputed                                facts           relevant    to the         question

 of the    voluntariness                   of    Wardlows                  confession.



           Contrary               to       Wardlows                   assertions           the        ultimate               question            of    whether            he    was

 subjected       to custodial               interrogation               is    not a factual                 dispute            that        would        entitle      him       to an


 Article 38.22           instruction.                    Wardlow             contends      that the              question                whether he was                 subjected

 to   custodial          interrogation                     under the           undisputed             facts         of       this
                                                                                                                                         case was        a    question          that


 should     have         been          left      for the jury to determine.                              Appellants                      Brief    at   27.     However               in


 Dinkins        this    Court held                  that   while a defendant                   is    entitled           to a jury instruction                     where        there


 is   a   factual        dispute            before          the       jury whether                   a    defendants                      statements          to    the       police

 constitute        an           invocation               of the        right       to    counsel            is      a    matter            of law        which           must be

 determined             by      the    trial     judge.               894     S.W.2d           at    354.        Likewise                  the    ultimate question                  of


 whether        a criminal                 defendant              was        subjected          to       custodial                 interrogationi28                is    properly




           27
                 The Dinkins Court held                               that    a jury charge              was required                where the record contained

 contradictory          testimony on whether                           a police      officer         had informed the                         defendant      that       his

 confession        could         be used for or against                            him    which          fact     would            have        rendered the          confession

 involuntary       and inadmissible.                        894       S.W.2d        at   353        citing       Sterling           v.    State    800 S.W.2d                 513
 518-519        1990            cert.      denied 501 U.S.                    1213       111        S.Ct.     2816           115         L.Ed.2d       988 1991.


           28
                 Custodial interrogation and questioning                                                 or   its       functional            equivalent           are most

 certainly terms of art which                            have     been carefully defined                      and granted                  particular        legal

 significance       under Miranda and                           its   progeny.           See    Rhode         Island          v.    Innis 446 U.S. 291                        100


 STATES    BRIEF    -   Billy   Joe   Wardlow                                                                                                                                       53
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 68 of 90 PageID #: 1280



 determined by the court                           when         the    facts       relevant             to the     question are undisputed                              as in the


 instant       case.           Articles          38.22        and      38.23            simply do not require                            a jury issue              under these


 circumstances.


             Furthermore                   as the       United         States           Supreme Court                recently             recognized               with regard


 to the      in      custody               prong of the               custodial               interrogation               inquiry            judges                alone   make

 in custody               assessments for Miranda purposes                                         and they do so with                           a   view       to identifying


 recurrent patterns                       and advancing                 uniform outcomes.                          If     they cannot                 supply        a    definite


 rule       they nonetheless                    can    reduce         the     area of uncertainty.29                           Thompson                v.    Keohane          116


 S.Ct.      457 466 n.13                        133     L.Ed.2d             383          1995.             Similarly a courts                          determination             of


 whether          particular conduct                     on     the     part       of law enforcement                      constitutes                                      or
                                                                                                                                                      questioning                its




 functional                                  as those           terms are defined by Miranda and
                     equivalent                                                                                                            its
                                                                                                                                                 progeny may serve

 to guide         future decisions                 and        thus      may guide                   police         unify       precedent                   and stabilize the


 law.          Id.        at      467.       For these            reasons               as    well        this     Court should                      decline       Wardlows

 invitation          to extend             the     Texas        statutory           provisions              to    require       a jury issue                 where       there    is




 no     factual           dispute           regarding            the        circumstances                  underlying                the      ultimate             question      of


 custodial         interrogation.                  Wardlow             is     not entitled              to reversal            on    this        issue and his eighth


 point of error                must be           overruled.




 S.Ct.      1682 64 L.Ed.2d                     297 1980.               Thus         they         must be distinguished                     from       the      what
 happened            questions of               historical       fact                                                               the     actions         of law
                                                                         --
                                                                                  i.e.   allegations             regarding

 enforcment          officials            and the circumstances                     of the defendant                in.   a given           case      --    that   underlie a

 claim of involuntariness.


             29
                   In     Thompson               the    Court was presented with                            the    question          whether           a state-court

 determination that a suspect                           was     in     custody               at   the   time of interrogation for purposes of

 Miranda was               entitled        to    the   statutory        presumption                 of correctness on federal                         habeas        corpus
 review.          See 28 U.S.C.                    2254d.             The Court              held       in this   context        that       such determinations
 resolve       mixed questions of law and                             fact     and thus warrant                   independent              review          in   federal    court.

 Id.   at   465.     The          Court also noted that                  it   had treated the                in     custody              question          as   one of law
 when       states   complained                 on     direct                     that   their      courts had
                                                                 appeal                                                 erroneously                  expanded the
 meaning of custodial                       interrogation.                  Id.    at    467       citing    California             v.   Beheler            463 U.S.       1121
 1125       103    S.Ct.          3517 3520 77 L.Ed.2d                            1275       1983 Oregon                  v.   Mathiason                   429 U.S. 492

 494-496 97               S.Ct.      711 713-715 50 L.Ed.2d                              714   1977 Oregon                      v.       Hass 420            U.S.    714 719
 95    S.Ct.      1215 1219                43 L.Ed.2d            570 1975.


 STATES      BRIEF    -   Billy    Joe   Wardlow                                                                                                                                 54
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 69 of 90 PageID #: 1281



               And         finally         even assuming the                    trial        court      erred in failing to instruct                  the jury               on    the


 voluntariness                  issue such               error      was harmless beyond a reasonable doubt                                            since         Wardlow

                 before the jury that the                                                    of his confession               were
 testified                                                             contents                                                        correct.           See       Chapman

  v.     California             386        U.S.         18      87 S.Ct.         824          17 L.Ed.2d             705     1967             Harris          v.   State           790

  S.W.2d        568 584 Tex. Crim. App.                                     1989         TEx. R. APP. P.                    81b2.             This    Court in Casey


  v.   State     527 S.W.2d                  882         884 Tex.            Crim. App.                 1975        held that       such conduct                   on    the part


 of the defendant                    which         it    stated       was tantamount                        to a judicial          confession rendered any

 error in instructing                      the jury            on   the     issue       harmless.


               To      hold       that the              court    should         have          instructed           the   jury not to consider                       the

               confession               in this      case       would be           requiring            an exercise          in    futility    because              the

               jury    still     had before               it    the   same evidence                     the    admission            of the appellant                    in


               open        court        that he          committed              the     offense.




 Id.     at   884      quoting             Melton          v.    State       511       S.W.2d            957 Tex.            Crim. App.            1974.


               Next         in       his     ninth        point       of error               Wardlow           argues        that     the     trial      court          erred       in


 refusing to allow                   him      to    present         the     testimony of Judge Porter before the jury.                                             This claim


 must also          fail        for the reasons                 stated      above            because          Judge         Porters testimony simply was


 not     relevant          to any issue properly before                               the jury.          TEx.       R. CRiM. EvID.              401           402.           As    the


 trial    court        determined and as demonstrated                                             in   the    foregoing           reply to      Wardlows                     eighth


 point        of error the               issue       of the voluntariness                         of   Wardlows              confession         was not             raised         by

 the     evidence presented                    at trial.            Thus        Judge          Porters         testimony concerning                       the       advice         he

              Sheriff Blackburn                    after       Wardlow                                                       with Blackburn
 gave                                                                             requested             a meeting                                         was properly

 excluded           as irrelevant.                  Moreover                even        if    there existed              a factual      dispute          with regard to


 the     voluntariness                  of    Wardlows                     confession             and        the    trial    court      had        submitted                 a   jury

 instruction               on    the       issue Wardlow                     has       failed          to    demonstrate just                 how     Judge             Porters


 proffered             testimony              --        confined           as    it    was         to    the       contact        between          him and                   Sheriff


 Blackburn          before           and      after       Wardlow            sent the          letter       confessing            to the    crime        --    would have

 been         relevant          to     the    issue         of the         voluntariness                of the       confession.              In                                 even
                                                                                                                                                     any event


 assuming           the         trial      court         erred        in    failing          to   the       instruct        the    jury on         the        issue          and    in




 STATES        BRIEF   -   Billy Joe    Wardlow                                                                                                                                    55
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 70 of 90 PageID #: 1282



 excluding the testimony of Judge Porter before                                       the jury such          error       was harmless beyond

 a reasonable doubt                     and      as    such    does not constitute                reversible       error.      See     Chapman             v.




 California           386       U.S.        18        87   S.Ct.     824       17   L.Ed.2d       705     1967            Harris     v.     State       790

 S.W.2d      568          584        Tex.         Crim. App.                1989     TEx.     R.    APP.     P.     81b2.              Because           the


 undisputed           evidence             presented          at    trial    indicated      that    Wardlows               confession          was       not

 obtained       in     violation            of    his      statutory        or constitutional        rights        the     exclusion           of Judge


 Porters testimony                      which         was     only marginally             relevant      at   best        did   not contribute              to


 Wardlows             conviction.             Wardlows              ninth     point of error must be overruled.

                                     STATES                REPLY TO POINT OF ERROR TEN

                        THE GUN SEIZED FROM WARDLOW UPON ARREST
                        WAS NOT THE RESULT OF AN UNLAWFUL ARREST
                        INADMISSIBLE UNDER ARTICLE 38.23 OF THE TEXAS
                        CODE OF CRIMINAL PROCEDURE

           Wardlow             argues         in his tenth           point of error that            the    trial    court      erred      in   applying

 South     Dakota             law    and      denying         his motion            to suppress      evidence            which    he claims             was

 seized    incident            to    an     illegal        arrest    in violation         of Article      38.23          of the   Texas        Code of

 Criminal Procedure.


 A.        Statement of Underlying Facts

           Before         trial         Wardlow            filed    a    Motion      to   Suppress        Evidence         Seized         after    Illegal


 Arrest     claiming                that    the       affidavit         upon    which       the    arrest       warrant        was        issued        was

 insufficient         to establish               probable      cause.          2 Tr 78-79.         On     the    first    day of trial         the      trial



 court    conducted           a hearing           outside      the      jurys presence           on Wardlows               motion to quash the


 arrest   warrant.            33    R    14-62.         The    state     presented the testimony of Vernon                         Cope           the   law


 enforcement            officer          who      drafted          and      submitted      the    affidavit        in    support     of the         arrest


 warrant and Claudine                       Stanley the magistrate                   who    issued the          warrant.


           Cope        the      deputy sheriff of Morris County                            testified      that he had          been       involved         in



 the investigation             of the murder of Carl Cole since                           he was    discovered            missing on June                14

 .1993     33   R      15.          On     June       15    he drafted         and submitted        an affidavit           for probable            cause




 STATES   BRIEF   -
                      Billy   Joe   Wardlow                                                                                                               56
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 71 of 90 PageID #: 1283



 based      on information obtained through                                        that    investigation                  to     the    justice        of the     peace


 seeking      a warrant for the arrest of Billy Joe Wardlow                                               on a charge                  of capital       murder.        33


 R   16-18.        The           affidavit          read as follows


            AFFIDAVIT                     FOR PROBABLE CAUSE

            STATEOF TEXAS
            COUNTY OF MORRIS

            I Vernon Cope being duly sworn on oath                                               state        that    I   have         good reason           to

            believe          and believe                 and charge           before making               complaint               that



            On      or     about the              14th      day of June            1993         in   Morris County                      Texas         Precint

            1 Defendant                    Billy         Joe   Wardlow             did    then and there Intentionally caused

            the     death          of an individual                    to-wit      Carl Cole in the                   course            of committing

            robbery of Carl Cole to wit theft                                       of Carl Coles truck                          with the        intent     to

            obtain         control          of the truck.



            My      belief         is    based on the following                    facts   which          I   have        personal knowledge.



            Billy        Wardlow               is    a     known       individual          in the         area     where              the offense          was
            committed.                    Wardlow              was       developed              as    a       suspect             in     this        offense.

            Information                 was developed              that      Wardlow            had taken            his    mothers Llama 45
            Auto        pistol          from the residence and that Wardlow                                    had        left    the    residence the

            evening              before         this       offense      occurred.          A     neighbor            stated           that     on Sunday
            night before                this    offense           Wardlow          was     at   his residence with                       his girlfriend

            Tonya Fulfer                   and      that    Wardlow           had the 45 Auto.                 A     white        male and female

            fitting         description              of Wardlow               and Fulfer were                  seen by a witness                      on   the

            morning               of     this       offense       at   the    victims           residence.            Lab         results        indicated

            victim         was         shot with a 45             cal.
                                                                        weapon and bullet was of the hard ball type
            with 6 gruve to the                          right    rifleing which is standard for a Llama 45 Auto.

            Wardlows                     mother            gave    Deputies          a    box        of       Federal            45     cal.    hard       ball

            ammunition which                          is    what her 45 Auto Llama was loaded                                         with.



            /s/    Vernon H. Cope


 SX    1.         While           Cope conceded                   that       the   majority of the                   information                contained         in   the
                                                s


 affidavit        was        derived            from what              others      had     told      him and not from                          his    own    personal


 knowledge              he stated           that       when       he submitted             the       affidavit        he specifically identified his




 STATES     BRIEF   -    Billy   Joe    Wardlow                                                                                                                        57
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 72 of 90 PageID #: 1284
                                                                                                                                       I
                                                      l




 sources         and related to the                       magistrate               the     information they provided.                                 33    R    30-31 23-24

 27.



             Stanley                 the       Morris          County                            of the
                                                                               justice                        peace            testified         that      after    reading        the


 affidavit         and speaking                      with       Cope          she believed                 that probable                cause existed               to issue the


 warrant.           33         R     52-53.          She        also      stated         that      Cope       identified             by name            the     sources        of the

 information                contained              within        the      affidavit          when         he submitted                 the      affidavit.         33   R 55       57.


 Stanley         did          in     fact      issue a warrant                     for the         arrest of Billy               Joe Wardlow                  on    a charge           of


 capital     murder.                  SX 2           33   R     20.


            At      the         conclusion                of   this      testimony               the      trial    court        granted          Wardlows               motion to


 quash       the        arrest warrant                    concluding                that     the         affidavit         was        insufficient            to    support        the


 issuance          of an              arrest warrant.30                       33    R     61-62.           The         trial    court        indicated           that    it   would

 address the                admissibility             of evidence                  procured              incident        to     Wardlows               arrest      when and            if



 the   state       attempted to introduce                               such evidence                    at trial.        33    R     62.


            On      the             third      day of          trial      the      trial     court         conducted             a hearing              outside         the   jurys

 presence to determine                               whether            two South                Dakota           police        officers         would be allowed                      to


 testify      regarding                    a    firearm          they          seized         during              an    inventory               search        of    Wardlows

 automobile             after his arrest in                     South          Dakota on June                      16      1993.           35    R    386-445.           A    Llama

 .4    automatic pistol previously admitted                                               into evidence                had been              identified as          the       murder

 weapon by              unrefuted              expert testimony.                        34   R 377 SX                  23.      At     the      commencement                  of the


 hearing           the                                         that       the trial                                                                  of the      law
                              state        requested                                         court        take     judicial          notice                              of South

 Dakota       on        the         issue          and the            trial   court        indicated              he would apply                  South         Dakota        law in




            30
                     It       is    unclear        from the record the precise basis for the                                         trial      courts      conclusion           due
 to   the   fact    that        the        court   made         its    determination after conducting                                off-the-record informal

 arguments           in       chambers during a                       recess.        33      R     61.     However             the    nature of the testimony

 presented by               the witnesses                 as well as           defense        counsels cross-examination                              of those          witnesses
 suggests        that       the      affidavit       was deemed                 insufficient             on the        grounds         that     the   information
 contained         within            the affidavit             was not within the affiants personal knowledge.


            31
                   The         state        specifically          referred          the    trial     court to Rule              202 of the South Dakota                        Rules
 of Criminal Evidence                          and         an opinion of the South Dakota
                                                     to
                                                                                                                               Supreme Court adopting                      the



 STATES     BRIEF       -
                            Billy    Joe   Wardlow                                                                                                                                 58
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 73 of 90 PageID #: 1285



 the    instant       case.           35         R   387-389.


            Robert            Haug               a police            officer     from Madison                  South        Dakota           testified          outside       the


 jurys presence                  that            on June             16 1993            while         working         as    a   dispatcher               at   the    Madison

 Police     Department he received                                       a teletype           regarding         a capital            murder suspect                  who had

 recently         fled      Morris               County              Texas.            35    R   392.        The      teletype           advised          that      Billy    Joe

 Wardlow          was suspected                          in the      shooting          death/robbery              of Carl Cole which                          had occurred

 on     June      14        1993                that     the        vehicle      taken         during the            robbery         had      been        discovered              in


 Nebraska          where              it    had          been        traded      for    another vehicle                that         a warrant            had        issued    for


 Wardlows                 arrest on              charges             of capital         murder          that    Wardlow               who was             thought           to be


 accompanied               by Tonya Fulfer could possibly be in route to                                                    Montana            and that Wardlow

 should be considered                           armed and dangerous.                             SX    27.     The     teletype          also included               physical


 descriptions             of both Wardlow                           and Fulfer as well as a detailed                                                      of the      vehicle
                                                                                                     description


 they had         obtained                 in    Nebraska.32                SX    27.



            Haug            testified                further         that     later     the      same        day while              he   was       out        on    patrol     in


 downtown Madison                               he observed              a vehicle           which he determined matched                                 the   description


 contained        in      the teletype.33                      35    R   393.     The vehicles                 top    was       down        and      Haug           identified


 the occupants              as   two young people he                             did not         recognize.34          35       R    394.     Haug            followed the




 good                                             the
          faith    exception                to            warrant        requirement             as set forth in United                  States     v.    Leon 468
 U.S.    897      104 S.Ct.                3405 82 L.Ed.2d                    677      1984        exclusionary             rule does         not    ban evidence
 obtained        by    officers            acting         in    reasonable reliance               on search warrant                  issued by neutral

                  but                   found                  be invalid               lack     of probable
 magistrate                 later                        to                      for                                 cause.          State    v.    Saiz 427
 N.W.2d         825 S.D.              1988.


            32
                  The        teletype described                       the   vehicle         as a black       1987 Ford Mustang                     convertible          with

 gray pinstripes              black             top gray            leather     interior and spoke              hubcaps             bearing    in-transit           tags.    SX
 27.


           33
                  Haug         described                 the    vehicle       in his
                                                                                            testimony as a black                Mustang        convertible            with

 gray leather          interior             spoked            hubcaps         and no license            plates.       35    R   393-394.


           34
                  Haug         noted that as a patrolling                           officer       in   a town        with   a population             of about         6000
 as    Madison        then       had he was                    familiar with           the    majority of the           local       population            as well      as   the

 vehicles       they      drove.            35       R   394.



 STATES    BRIEF      -   Billy Joe    Wardlow                                                                                                                                59
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 74 of 90 PageID #: 1286



 vehicle      in   his patrol car                  for about             six blocks              then   the     vehicle         pulled       into   the     parking            lot



 of a Hardees Restaurant.                                 35       R    395.    Haug             pulled in behind               them parked and                       radioed


 the    dispatcher             to reaffirm                the         descriptions           of the       vehicle         and    the    suspects.           35        R   395.


 Haug        observed the                woman             getting            out of the          car   and      concluded that she                     matched the

 description             to    a    T.           35       R     395.          The     man who             was     still    in the       car    started to put the


 top    up    while the            woman             appeared             nervous and kept                     trying      to look       at   Haug        without him


 noticing.           35       R    395.        The couple                 then      left     without getting               anything           to eat.       35        R   396.


 Haug        followed              the vehicle                out       of the      parking         lot    and        down       a side       street.       35        R   397.


 Meanwhile               police        officer       James Johnson                    was approaching                     the    vehicle       from the opposite


 direction         in an      unmarked               car.          35    R     397.    Johnson            and    Haug who               were communicating

 by radio          determined                 that      the      vehicle        and        its
                                                                                                 occupants            matched          the    descriptions             in the


 teletype      and decided                  to stop them.                 35   R    397.         Haug     activated            his overhead             lights and             the


 vehicle      pulled          over.           35     R     398.          The       driver        of the     vehicle            complied        with the           officers



 request      to   exit       the vehicle.               35      R     398.     Haug        held    a gun on the               man     as Johnson           patted         him

 down and handcuffed                         him.         35     R     398.     When             asked his       name           the    man responded                   Billy



 passenger-side
 Joe Wardlow.                     35    R

        door Haug saw a handgun underneath
                                             398.        As      the     woman was

                                                                                       the
                                                                                                  exiting the


                                                                                                 front passenger
                                                                                                                       vehicle



                                                                                                                                seat
                                                                                                                                      through the


                                                                                                                                        which he pointed                       out




 400-401
 to Johnson.             35    R 398           418.           Both Wardlow                   and Fulfer were read the Miranda warnings


 at    the   scene        and          then    transported                in separate              patrol       cars      to    the    Lake     County            sheriffs


 department              where they were booked                                and arrested on the Texas                         charges.           35    R 398

         409-411.


             Johnson           remained            at     the scene            with the vehicle                until      a wrecker          arrived       to    tow      it    to


 a nearby         towing          facility.          35    R       422.        Once there Johnson                      conducted             an inventory              search


 of the       vehicle35             and       seized           a      Llama .4             automatic            pistol     found        underneath               the      front



 passenger           seat.         35    R422            419.          Johnson        identified the              firearm previously admitted                              into




             ss
                   Johnson             testified that            it    was the policy of the Madison                           Police    Department              to

 conduct      inventory searches                     of    all        seized vehicles            and    that    the    search     of the vehicle            in    the

 instant     case was          conducted             pursuant            to    standard departmental                   procedures.            35    R    427.



 STATES      BRIEF   -
                         Billy Joe     Wardlow                                                                                                                                 60
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 75 of 90 PageID #: 1287
                                                    r                                                                            f.




 evidence         as the           firearm he            had seized after                  Wardlows              arrest.          35    R 419        SX23.

            After the presentation                        of the foregoing. testimony and argument by counsel                                                   the   trial



 court     overruled               Wardlows              objections          to the testimony of the                            police      officers      concluding

 that     the     officers           had        acted        in   good       faith         reliance      upon          the       Texas       warrant       when       they


 arrested        Wardlow.                 35    R   442-445          citing            United States             v.   Leon 468              U.S.     897     104 S.Ct.


 3405      82 L.Ed.2d                677       1984           and State           v.    Saiz 427         N.W.2d                 825    S.D. 1988.               The   trial



 court     also noted              that while           he had previously found the                               affidavit           supporting       the      issuance


 of the         Texas        warrant            technically          insufficient                he   believed                   probable       cause        existed

 when      the     warrant               issued.        35    R   442.


            Officers               Haug        and      Johnson          testified          before the jury regarding                          the   recovery         of a


 firearm         in   Wardlows                  possession           when             they arrested him                    in    South      Dakota        on June       16

  1993.     35     R       458-478             479-484.           They      identified the            Llama .4 automatic                        pistol previously


 admitted into evidence                         as the one they had seized                        from Wardlows vehicle.                             35    R 482 SX

 23.


 B.         Argument and                        Authorities


            Initially              Wardlow              has       failed         to    preserve        his       tenth          point    of    error      for    review.


 Wardlow          claims on appeal                      that the         trial    court      erred     when           it
                                                                                                                           applied          South    Dakota       law    to



  deny     his   motion to suppress the evidence.                                      Appellants            Brief          at   29.     However           in the     trial




  court    Wardlow                 argued        this     issue     based on South                    Dakota          law.        35    R   438-441.         He    never


  argued that South Dakota                           law should not                   apply in the         instant          case.       Nor    did he lodge           any

  specific        objection               to the        application          of South            Dakota          law        in   the    instant      case.       In   fact


  Wardlows                 only          objection        in      this    regard           was    that     he         had       not    had    sufficient         time    to


  research        South            Dakota           law      in order        to       challenge the              states argument                   based     on South

  Dakota         law.        35     R     388-389 428-437.                        Clearly the            trial        court      was never apprised of                  the



  nature    of the claim Wardlow                             now     raises           on   appeal.       Accordingly                    Wardlow        has failed to


                  this       claim for review                     and his tenth point of error must be overruled.                                               TEx. R.
  preserve

  APP.     P.    52a.

            Additionally                   Wardlow            has failed to brief this issue adequately                                       in accordance           with



  STATES    BRIEF      -           Joe   Wardlow                                                                                                                         61
                           Billy
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 76 of 90 PageID #: 1288



 rule     74f     of the Texas                   Rules of Appellate                          Procedure                which            requires           that a brief contain


 such        discussion                of the           facts    and            the        authorities          relied           upon             as     may      be    requisite         to


  maintain the          point          at   issue.          TEx. R. APP. PROC.                             74f.             In his appellate                      brief       Wardlow

  cites    Article 38.23               of the Texas Code                             of Criminal Procedure                            which provides                    in part        No
  evidence         obtained by                    an officer               or        other    person        in    violation                  of any provisions                     of the


 Constitution or                 laws of the               State           of Texas or of the Constitution or laws of the                                                          United


  States     of America                 shall          be admitted                   in    evidence        against the                  accused              on   the    trial     of any


 criminal         case.              Appellants             Brief               at    29.     He makes                the        conclusory                  assertion        that     the

  States witness                was allowed               to testify                 about a gun           and events                  recovered                 as a result of an


 illegal    arrest       and search.                     Appellants Brief                        at   29 emphasis                     added.              However Wardlow

  fails    to provide any               controlling              authority                  to support          this       assertion.                  And        in   fact      the   trial



 court       though             he     quashed            the     arrest              warrant          concluded                 that        the       arrest      and     search         of


 Wardlows           vehicle             were           lawful.         Certainly establishing                              by         citation           to precedent            that the


 arrest and         search             were indeed               illegal              is    requisite to maintain the                                  point at         issue since


 otherwise        Article 38.23                   would         not    even apply.                    An   inadequately                  briefed             claim such as this


                                 for review              and                                 waived.            Alvarado                                         912    S.W.2d 199
 presents nothing                                                is    therefore                                                        v.    Texas

 210 Tex.          Crim. App.                    1995       Keith               v.    State       782 S.W.2d 861 863                                   n.3    Tex. Crim. App.

  1989.          Wardlows               tenth          point of error                      may    be overruled                on       this       basis       alone..



             Alternatively                  the    claim        is    without merit.                    First         it    is    not        at    all    clear that the            arrest


 warrant should have                     been quashed                      in    the first       place.         Presumably                    the        trial    court    found the


 probable        cause          affidavit         in support of the                        arrest warrant                                          deficient           based       on the
                                                                                                                      technically


 fact     that   the affiant           did not          have         personal knowledge                          of     all      the     facts           contained        within        the


 affidavit.         However                 it    is    not necessary                      that the     officer-affiant                      have personal knowledge


 of every        fact    averred            in
                                                  support of probable cause.                               It    is   well established under Texas                                     law

 that hearsay            and even                 hearsay-upon-hearsay                                            be utilized to show probable
                                                                                                        may                                                                         cause


 in   an   arrest   affidavit.               Wilkerson                v.    State           726       S.W.2d 542 545 Tex. Crim. App.                                               1986

 cert.     denied 480 U.S.                        940      107 S.Ct.                   1590 94 L.Ed.2d                      779         1987                 Hennessy         v.   State

 660 S.W.2d             87       91    Tex. Crim. App.                           1983         see also Gibbs                     v.    State           819       S.W.2d 821 830


 STATES     BRIEF   -
                        Billy    Joe   Wardlow                                                                                                                                           62
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 77 of 90 PageID #: 1289



 Tex. Crim. App. 1991                              affidavit         supporting arrest                warrant sufficient where officer-affiant


 named and          identified              each     of his sources of information                            and that information rose to level


 of probable cause                     cert.        denied          502 U.S.           1107 112         S.Ct.     1205        117 L.Ed.2d              444 1992.

 Further         as this        Court has noted


             Though we                 are limited                to the        four corners           of the affidavit            on    the    question
             of sufficiency                    we    do not place                 blinders       on the process              whereby            a neutral

             and detached magistrate must decide whether                                                there   are sufficient             facts      stated

            to validate the                 issuance             of a proper warrant.                   A    warrant         affidavit         should be

             interpreted               in      a    common                sense        and     realistic        manner.            The         reviewing
            magistrate                 is   permitted                to     draw        reasonable           inferences            from        the     facts

            supporting                the    averments.



 Gibbs      v.   State          819 S.W.2d                 at     830       citing      Lagrone         v.   State      742       S.W.2d 659 661 Tex.

 Crim. App.             1987            cert.       denied 485 U.S.                     937      108     S.Ct.      1115 99 L.Ed.2d                   276      1988
 Lopez      v.   State 535              S.W.2d           643 Tex.               Crim. App.            1976      Jones        v.   State        568    S.W.2d 847

 Tex. Crim.             App.           cert.       denied          439      U.S.      959 99        S.Ct.    363 58 L.Ed.2d                    352 1978.            The

 trial    court     in    the         instant       case         had no doubt                that the     facts     averred in the              affidavit       stated


 probable        cause           his sole concern                     with regard to the sufficiency                           of the      affidavit         was     that


 the      officer-affiant              just         didnt           prepare          his     affidavit       properly.             35     R     443-444.            The

 probable        cause affidavit                submitted             in    the      instant    case    was     sufficient        under Texas            law       thus

 the arrest      warrant              was properly                 issued and           the     subsequent          arrest        and    seizure       of evidence


 were      lawful.



            Moreover even                      if   the     trial     court        did       in fact    have        a legitimate basis                for quashing


 the      arrest    warrant                 that     does          not      preclude                   Court        from                              whether
                                                                                               this
                                                                                                                              considering                               an


 exception to the                warrant            requirement                 applied        in the    instant       case.       Powell        v.    State36       898




            36
                    The         defendant           in    Powell challenged the states use of a search                                    warrant       to   search

 his   motor home where the                         state        district
                                                                             judge         acting     as magistrate signed the                  search       warrant
 for     the property which                 was      located outside                 his judicial       district.      Id.   at   826.     This       Court
 concluded         on appeal            that       even     if    the judge          lacked     the    authority to sign the              warrant       it   could
 nonetheless        consider            whether the               facts     supported          a warrantless          search.      Id.    at   827    n.4.     The
 Court went on to                hold       that     the    automobile                                                authorize          the
                                                                                     exception        applied    to                            search    even      if

 the     warrant    were considered                      invalid.         Id.   at    827.



 STATES     BRIEF   -
                        Billy   Joe   Wardlow                                                                                                                           63
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 78 of 90 PageID #: 1290



 S.W.2d        821 827                  n.4     Tex. Crim. App.               1994                  courts           decision
                                                                                        trial                                          regarding            legality of


 search     will          be sustained on appeal                                        on any theory                      of law
                                                                       if   correct                                                     applicable           to    case

           Romero                                   800 S.W.2d        539
 citing                           v.    State                                  543 Tex.             Crim. App.               1990            see also Nored                  v.



 State      875       S.W.2d 392 Tex. App.--Dallas 1994                                         pet.      ref    d.         And         indeed even               if   it     is




 assumed           that            the        arrest      warrant     was      invalid       and         that        the    good         faith        exception              as


 recognized           by the South Dakota                         courts     did not     apply or should not have                              been applied                  in


 the   instant     case                at   least     two of Texas          statutory    exceptions to the                    warrant          requirement                  do


 apply.


            As     a general                   rule police         officers        must always             obtain          an arrest warrant                  prior to


 taking     someone                    into custody.           Dejarnette     v.    State     732 S.W.2d               346 349 Tex.                        Crim. App.


 1987.         There              are however                exceptions       to this rule           which           are set forth in chapter                       14 of

       Texas       Code of Criminal Procedure.                                 The exception contained
 the                                                                                                                               in Article              14.03a1

 may      be    applied                 to    vitiate     the    warrant      requirement            in the           instant      case.         It    provides              as


 follows          Any                  peace       officer     may    arrest without a warrant                        persons found                   in suspicious


 places     and under circumstances                             which reasonably             show         that   such persons have                         been guilty


 of some felony or breach                              of the peace          or threaten            or    are about          to    commit some offense

 against    the       laws.                 TEx.      CODE     CRIM. PROC. ANN.              art.    14.03a1.                     In   Hamel          v.    State      this


 Court held that the detention                             of a defendants            vehicle            and     the       defendant           was reasonable

 where      the    defendants                       apartment       had been under surveillance                             for   some time by                officers


 acting     on informants                          tips   he had      previous       convictions               which        the    officers       knew of and

 he was        known               by       the     officers    as the      subject    of numerous                   burglary investigations.                          582

 S.W.2d        424        426-427               Tex.      Crim. App.         1979.       Thus            the   Court held that the                     defendants

 vehicle    was           a suspicious                  place under          the    facts.      Id. see Holland                    v.    State        788 S.W.2d

 112      114 Tex.                App.        --   Dallas      1990   pet.    ref d.         In the       instant          case South Dakota                      police

 officers       detained                    Wardlows            vehicle      when      they      determined                 that       the    vehicle         and           its




 occupants            matched                  the     descriptions          contained          within           a                                had        received
                                                                                                                      teletype          they

 regarding         a capital                  murder       suspect     who had          fled        from Texas.                   The    teletype            informed

 officers      that       Wardlow                  was suspected         of killing     and robbing Carl Cole and that a warrant



 STATES    BRIEF      -   Billy    Joe      Wardlow                                                                                                                         64
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 79 of 90 PageID #: 1291



 had issued for his                     arrest      on capital           murder charges.                Certainly under these                     circumstances

 the    officers            found          Wardlow                  in     a    suspicious            place        and    under         circumstances              which

 reasonably           showed              that he          had been             guilty       of a felony.


             Likewise              the     facts      of the case               fall      under the exception               to the       warrant       requirement

 contained           in Article                14.04        of the         Texas          Code of Criminal Procedure                           which         provides

 Where         it   is    shown by               satisfactory              proof to a peace                 officer       upon      the   representation            of a


 credible        person             that       a felony             has been              committed            and       that    the    offender        is    about    to



 escape        so that there                   is    no time to procure                       a warrant            such peace           officer    may         without


 warrant       pursue and arrest the accused.                                             TEx.    CODE        CRIM. PROC. ANN.                 art.    14.04.       In a


 case which               presented              facts      virtually               identical    to the       facts      in the    instant      case        this   Court


 held   that     former Article 215                        of the Code of Criminal Procedure                                     which was            the    precursor

 to Article          14.04          applied.               Stickney            v.    State      169    Tex.        Crim.    533 537-538 336 S.W.2d

 133        136 Tex.              Crim.        App.             cert.    denied 363 U.S. 807 80                            S.Ct.       1245 4 L.Ed.2d               1151


 1960.         The defendant                     in Stickney             had been arrested two days                             after   the   offense by a law


 enforcement                officer            in    Canada              who had             previously            received        information              through     a


 broadcast          from his headquarters                           that       a warrant         existed      in    Texas       for the       defendants           arrest


 on a murder charge.                           Id.    at    535-536 336 S.W.2d                         at    135.        The Court held

             The testimony of Constable Crawford                                                 the    arresting         officer       clearly       shows
             that    he had received                       information which he considered                                 reliable that a felony

             had been committed                            in   Texas          and that the accused                 was escaping          in a certain

             described            automobile.                   This information and the                       fact      appellants automobile
             fitted       the     description              of the automobile                     in   which        the   accused were reported

             to be traveling                    was        sufficient to               authorize       the    appellants           arrest without             a

             warrant under the provisions of Art. 215 of the Code                                                        of Criminal Procedure.




 Id.   at   537-538 336 S.W.2d                                 at   136.        The       instant     case    is
                                                                                                                    indistinguishable.


             Finally even                 if   the testimony                   of the      South Dakota             police       officers      was erroneously

 admitted           such error was harmless beyond a reasonable doubt.                                                            Chapman         v.    California

 386 U.S.           18     87 S.Ct. 824                   17    L.Ed.2d             705   1967         Harris             State 790       S.W.2d 568 Tex.




 guilt-STATES
                                                                                                                    v.




 Crim. App.               1989           TEx.        R.    App. PROC.                 81b2.            Wardlow            himself testified            at    the




             BRIEF    -
                          Billy   Joe   Wardlow                                                                                                                       65
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 80 of 90 PageID #: 1292



 innocence                             of             that      the    Llama.45               automatic
                    phase                    trial                                                           pistol     previously admitted                     into


 evidence        and       identified as the                    murder weapon was                      in fact    the    same gun           officers found


 in   his   possession                  when          he    was       arrested          in    South    Dakota.          37     R    692.         Under      these


 circumstances                   it    is   inconceivable              that      the       officers   testimony regarding                  the                   of
                                                                                                                                                   recovery

 the gun         had any impact on                         the   jurys           deliberations         or verdict.         For     all   of the      foregoing

 reasons         Wardlows                    tenth point of error                    must be       overruled.


                                      STATES               REPLY TO POINT OF ERROR ELEVEN

                          THE TRIAL COURT PROPERLY DENIED WARDLOWS
                          REQUEST   FOR A JURY INSTRUCTION   ON THE
                          OFFENSE OF AGGRAVATED ASSAULT.


            Wardlow                  argues      in his eleventh                point of error that the            trial     court       erred      in denying


 his request            for a jury instruction                        on   the    lesser-included         offense of aggravated                     assault in

 violation       of the               Due     Process           Clause of the                Fourteeth   Amendment                 to the    United        States


 Constitution.


 A.         Statement of Underlying Facts

            After         the          close         of    testimony            at     the    guilt-innocence           phase       of     trial     Wardlow

 requested          that the jury be                      charged          on   the    lesser-included         offense of aggravated                     assault.


 38   R   751-752           2 Tr 139-140.                    That request was denied.                    Id.     The jury was charged                      on   the


 lesser-included offenses                        of murder and aggravated                          robbery     as well       as the      primary offense

 of capital       murder.                   2 Tr 147-155.


            See     also              Statement            of    Facts           Guilt-Innocence           Phase         set       forth    in     the     states


 Statement of the                     Case       supra.


 B.         Argument and                        Authorities


            In   Beck           v.    Alabama             the    United          States       Supreme Court held               that the      death penalty


 could not be imposed after a jury verdict of                                              guilt   of a capital    offense          when         the jury       was

 not permitted to consider                           a verdict        of a lesser included               non-capital         offense         and     when       the


 evidence        would have supported                           such a verdict.                447 U.S.      625 627           100 S.Ct.         2382 2384

 65 L.Ed.2d             392 1980.                    Accord           Hopper          v.    Evans     456 U.S. 605 609 102                         S.Ct.   2049


 STATES     BRIEF   -
                        Billy    Joe   Wardlow                                                                                                                   66
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 81 of 90 PageID #: 1293



 2051-52          72 L.Ed.2d                   367    1982.          In        light of         Beck     this        Court set forth a two-pronged                              test



 for determining whether                              due process                   requires       a charge           on     a lesser-included             offense in a


 given case


            First            the         lesser       included. offense                         must     be          included        within       the      proof

            necessary                to establish            the         offense            charged.          Secondly          there       must be some
            evidence               in    the    record       that        if   the defendant             is    guilty he        is    guilty      of only the

            lesser offense.




 Royster         v.    State         622        S.W.2d 442 446 Tex.                                Crim. App.              1981.

                 This        Court has previously                              held         that   in proving           the     alleged          offense         of capital


 murder          the       state    also       proves the            lesser-included                   offense         of aggravated             assault          therefore

 the    first
                  prong of the                  Royster           test        is    satisfied.         Dowden           v.    State        758   S.W.2d 264 269

 Tex.       Crim. App.                    1988.          See also TEx.                         PENAL CODE                    22.02    penal            statute     defining




 lesser-included
 aggravated


                  offense.
                           assault TEX. CODE CRIM. PROC. ANN.                                                 art.    37.09    provision          defining




            It    is       on the        second        prong of the Royster                            test    that    Wardlows             claim breaks                down.

 A     charge         on aggravated                   assault        was           required        in the       instant       case    only        if
                                                                                                                                                        testimony was

 introduced                from sources                indicating                  a lack       of intent       on the part           of appellant            to       kill     the


 deceased.                 Dowden              supra.        It     is        established          that the          second     prong must be determined

 on a case-by-case                       basis and in determining                               this   question         all    of the evidence               at   the         trial


 whether         produced                 by    the    state        or the           defendant           must be             considered.          Dowden                supra

 Moreno          v.    State             721    S.W.2d 295 301-302 Tex. Crim. App.                                                  1986.        Wardlow               fails     to


 point to any evidence                          in the       record indicating                      that he lacked              the   intent       to kill        Cole.          In


 fact    the excerpts                of Wardlows                  trial       testimony which                 he     cites    in his brief clearly illustrate


 that   he had the requisite mental                                intent.           See Appellants                  Brief     at   31-34.                               to his
                                                                                                                                                  According

 own words

            I    put        my      foot       into    the    door and blocked                         the     door brought out                  the     Llama
            .4         cocked            a shell into         it    pumped                it   off safety      and told him to
                                                                                                                               go back                       into

            the house.                   He wouldnt               go back into the house                             he rushed out the door and

            grabbed                my.arm throwing me off caught                                        me      off balance           it    caught        me by
            surprise               that     he was           stronger                it     scared     me       that    he was         stronger           than     I




 STATES    BRIEF       -   Billy   Joe   Wardlow                                                                                                                  67
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 82 of 90 PageID #: 1294



              thought              he was        or guessed he was                and     so forth that he held                      me         I    fired the

              gun just to                let   him go        it    him him       right between         the eyes           and catapulted                       him
            --    in       between             the    eyes        catapulted      him     against the         wall.



  37   R   648.        Wardlow                 admits that he fired the                  gun and        the    resulting death                        of Cole would

 not have         occurred                but for          Wardlows          intentional        conduct.           An      intent        to kill          is    presumed

 where      a deadly                weapon            such as a pistol                   used   in   a deadly manner.                        Jackson
                                                                                   is                                                                            v.   State

 548     S.W.2d             685          Tex. Crim. App.                   1977.        Further      the    fact that           Wardlow                took the        time

 to    load      the        weapon             when         Cole presumably              had no way of knowing                             it       was        not    loaded

 indicates        in       itself        that    Wardlow            intended to shoot Cole.


            Wardlow                 points to evidence                  which      he claims         indicated            that he and                 Fulfer         went   to


 Coles home                 intending            to rob      him and incapacitate                    him     but    not        to kill     him.           Appellants

 Brief      at    3    1.          However                 the       possibility         that   initially      or         at    some         point         during        the


 commission                 of the         robbery          the    offender       did    not have       an intent               to cause             death       does not

 amount        to evidence                that       the    offender       did   not intend       to cause          the        victims              death when the


 murder was                 committed.                     Rousseau         v.   State     855       S.W.2d 666 674                      Tex. Crim. App.

 emphasis added                           cert.       denied 510 U.S. 919 114                        S.Ct.    313          126        L.Ed.2d             260        1993.

 Therefore          this           evidence          should not even be considered                     in                              whether             Wardlows
                                                                                                            determining

 jury should have                        been charged              on aggravated          assault.


            Finally Wardlow                           points       to portions          of his testimony            where he claimed                            Cole had


 his    hand on            the      gun and Wardlows                       arm when Wardlow                   shot        it    thus suggesting                      that he


 did not have               control over              the    direction      of the shot.         However             it    is       significant           to note       that


 after being               confronted              on      cross    examination          with unrefuted             expert            testimony indicating

 that    the     gun was                 at    least three          feet   from Cole when              it    was      fired           Wardlow              altered       his


 testimony          on       redirect           examination             stating    that    I    cant       state    that for sure                    that Cole          still




 hand      his   hand on                 the    gun and            my   arm when          the   gun was fired.                        37     R        696-699 719

 721-722.                  Furthermore                 though        Wardlow            may     have        denied         intending                 to   shoot        Cole

 between         the        eyes he did not deny intending                                 to   shoot       Cole.              In                   of the      evidence
                                                                                                                                     light


 presented        at       Wardlows              trial      no     rational jury        would     acquit      on     capital           murder and convict



 STATES     BRIEF      -
                           Billy   Joe   Wardlow                                                                                                                            68
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 83 of 90 PageID #: 1295
                                                                                                                           t




 on aggravated             assault.        There           was        absolutely          no evidence             indicating that                if   Wardlow was

 guilty    he was           guilty only of aggravated                               assault.


           In     any       event         even        if    the       trial     court      erred      in   denying             Wardlows                request   for    a


 charge     on     the        lesser-included                   offense         of aggravated               assault            such        error      was     harmless


 beyond       a    reasonable              doubt.               Chapman             v.    California           386       U.S.      18       87        S.Ct.   824      17


 L.Ed.2d        705      1967             Harris           v.   State         790 S.W.2d 568 Tex. Crim. App.                                          1989    TEX. R.

 APP. PROC.             81b2.              Wardlows                       jury did not have              the    all-or-nothing               options        presented

 in    Beck choice            between            death penalty                  and       acquittal        and     Williams           v.    State       749 S.W.2d

  183     185     Tex. App.                --    San Antonio                    1988       pet.    ref d     1989 choice between                            attempted

 capital    murder and                acquittal.                 Wardlows                 jury was         charged         on    the       offenses         of capital


 murder murder and aggravated                                   robbery           in that order.               2 Tr 150-151.                 At       the   end of the


 application            paragraph               for    capital             murder          the     jury     was          instructed              if    you     have     a


 reasonable            doubt        thereof           you        will         acquit       the     defendant         of capital             murder and             next

 consider         whether           the    defendant                 is    guilty     of murder.               2 Tr       150.        That        instruction       was

 followed         by    the    application             paragraph                for   murder then by                 the       application            paragraph for


 aggravated            robbery            which        began               if    you have             found        the     defendant             is    not guilty      of


            murder            or     murder           as        defined         above          then               will    next     consider             whether
 capital                                                                                                 you                                                          the


 defendant         is     guilty          of    aggravated                  robbery.           2   Tr      151.          Thus      Wardlows                 jury was

 instructed       not to consider                the       lesser-included                 offenses        unless        and     until      it   determined         that


 Wardlow          was not           guilty       of capital                murder.         Wardlows            jury found             him        guilty     of capital


 murder presumably                        without           considering                  the     lesser-included               offenses           of    murder and

 aggravated        robbery.            2 Tr 155.                It        is therefore inconceivable                       that including               a charge      on

 aggravated        assault          would have had any impact on                                   the   jurys       deliberations                or verdict.       For

 all   of the     foregoing           reasons              Wardlows              eleventh point of error must be overruled.




 STATES    BRIEF   -    Billy Joe   Wardlow                                                                                                                           69
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 84 of 90 PageID #: 1296



                                    STATES          REPLY TO POINT OF ERROR TWELVE

                         THE JURY HAD SUFFICIENT EVIDENCE TO SUPPORT
                         ITS AFFIRMATIVE   ANSWER   TO SPECIAL ISSUE
                         NUMBER                 ONE.



           Wardlow                  asserts    in   his twelfth    and     final    point of error that there                  was     insufficient


 evidence        to support the jurys affirmative                      finding      on the   first   special       issue       Whether           there


 is    a probability                that the    defendant        would     commit       criminal      acts        of violence           that   would

 constitute       a continuing                 threat to society.          TEx.     CODE      CRIM. PROC.            ANN.       art.    37.071b

 see 2 Tr 162.


 A.        Statement of Underlying                          Facts


           See Statement of Facts                        Guilt-Innocence            and Punishment           Phases            as set forth in


 the     states Statement of the Case supra.


 B.        Argument and                       Authorities


           In reviewing                the     sufficiency      of the    evidence      at   punishment             this Court          must view

 the evidence           in     the              most favorable         to the      verdict   to determine            whether
                                       light                                                                                           any rational

 trier    of fact       could         make       the    finding   beyond         a reasonable        doubt.         Barley        v.    State     906

 S.W.2d 27 30 Tex. Crim. App.                                  1995      cert.   denied 116          S.Ct.    1271         134 L.Ed.2d            217


 1996       Barnes             v.    State     876 S.W.2d        316     322 Tex.       Crim.        App.         cert.   denied 115             S.Ct.


 174      130     L.Ed.2d             110      1994.       A   jury    may       consider    several     factors          when         determining

 whether a defendant                    will     pose    a continuing        threat    to society.       Among            those        factors   are

            1.           The circumstances                 of the      capital     offense     including the              defendants

                         state        of     mind and       whether        he    was    working        alone        or    with         other

                         parties

            2.           The         calculated        nature of the       defendants        acts
            3.           The          forethought          and     deliberateness            exhibited        by         the    crimes
                         execution

            4.           The         existence      of a prior criminal record and the severity                           of the prior

                         crimes
            5.           The         defendants          age   and personal circumstances                    at    the    time of the

                         offense
            6.           Whether           the defendant         was   acting      under duress        or the       domination of




 STATES    BRIEF   -
                       Billy   Joe   Wardlowb                                                                                            70
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 85 of 90 PageID #: 1297



                               another          at   the    time of the offense

              7.               Psychiatric            evidence             and

              8.               Character evidence.



 Keeton           v.    State             724    S.W.2d 58                 61    Tex. Crim. App.                                1987.        These       factors         are   also


 helpful           in       this          Courts       evaluation                of         the            sufficiency               of   the    evidence            of     future


 dangerousness                      on appeal.             However              this    list          is    not exhaustive.


             In determining                     the sufficiency              of evidence                    on appeal            the      reviewing court will                 look


 first     to the       facts        of the crime                itself.



             If    the offense              was shown              to   be sufficiently                       cold-blooded                or calculated            then
             the facts              of the offense alone                    may        support               a finding           that the       defendant           will

             pose a continuing                       threat to society.                     If        however              the       facts   of the case were

             not       sufficiently             compelling              we      look for other evidence                               to support        the    jurys
             finding                such        as   psychiatric             evidence                      character        evidence            prior criminal

             record            prior extraneous                  offenses            and possible mitigating factors such as the

             defendants                    youth      or state          of mind             at    the       time of the              offense.



 Kunkle           v.    State         771       S.W.2d 435 449 Tex. Crim. App.                                                   1986        cert.     denied 492              U.S.


 925       109         S.Ct.        3259        106 L.Ed.2d                604       1989                  accord         Willingham            v.    State        897     S.W.2d

 351       356         Tex. Crim.               App.         cert.         denied 116                      S.Ct.     385        133 L.Ed.2d            307 1995.

             Moreover                     while      this    Court has recognized                                   in    analyzing                                 claims      the
                                                                                                                                             sufficiency


 utility      of        reviewing               prior       cases          in    which                it    reversed             a    capital        sentence        based      on

 insufficiency               of the evidence                at    punishment37                               clear       that   the Court        has abandoned                 any
                                                                                                 it    is




 pretense              of                 balancing          mitigating               and             aggravating               evidence         so    as     to    determine


 independently                 of the jurys verdict                     the     appropriateness                           or justness of imposition of the


 death      sentence                in a given         case.            Burns          v.    State            761        S.W.2d 353 356                 n.4    Tex. Crim.

 App.       1988.                   Thus        this   Court will                not         independently                       reweigh        the    aggravating             and

 mitigating             evidence            presented            at   trial      rather               it    will     apply an unadulterated                        Jackson       v.



                        standard                 Whether                                                                         could                made
 Virginia38                                                           any rational                    trier        of fact                   have                  the     finding




             3         Ellason        v.    State      815 S.W.2d               656         660 Tex.                Crim. App.            1991.

             38
                       443 U.S. 307 99                 S.Ct.       2781         61     L.Ed.2d               560 1979.


 STATES     BRIEF       -   Billy   Joe   Wardlow                                                                                                                                71
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 86 of 90 PageID #: 1298



 beyond        a reasonable                       doubt.39            Burns               v.    State 761           S.W.2d            at    355-356 Harris                      v.   State            738

  S.W.2d           207         225-226             Tex.             Crim.        App 1986                      cert.      denied 484 U.S. 872                                 108    S.Ct.           207

 98 L.Ed.2d                   158      1987              Alexander                   v.    State 740 S.W.2d                      749            761     Tex. Crim. App.                          1987

              applying the                        rational               trier       of fact                test....             cert.          denied 114                  S.Ct.     1869            128

 L.Ed.2d           490          1994               Livingston                   v.        State         739       S.W.2d         311 340 Tex.                         Crim. App.                 1987

 ..        whether               the evidence                       ..      would               lead        any rational             trier       of fact         to    make         the        finding.


              cert.           denied 487 U.S. 1210                                         108         S.Ct.      2858         101     L.Ed.2d              895        1988           Keeton             v.




 State     724 S.W.2d                       at    61      63 opining                           that this       appellate standard will                            adequately               serve       to


 make         certain            that the           death sentence                         is    not        wantonly           or freakishly                    imposed..                       Under

 this    standard                the       jurys          finding               will           be upheld as long as the evidence                                        presented               at trial




                                                                                          Amendment                              Due
              39
                        Clearly neither                       the     Eighth                                       nor the                  Process         Clause of the

 Fourteenth              Amendment                      require          this    Court            to    compare          the    evidence              in   the    present case to that
 in   other death               penalty            cases and               to    independently                    reweigh        the       sufficiency            of the evidence
 presented.              McCleskey                 v.    Kemp              481       U.S.         279 308               107 S.Ct.          1756         1775 95 L.Ed.2d                        262

 1987          Pulley            v.        Harris 465 U.S.                      37         45-46            104 S.Ct.         871 876-877 79 L.Ed.2d                                 29 1984.
 In Pulley          v.        Harris the United                          States           Supreme Court                  specifically             held that           comparative

 proportionality                 review            is    not        mandated by the Constitution.                                     465 U.S.             at    45 50         104 S.Ct. at

 876     879.           Indeed              the    Pulley Court cited                            its    decision         in   Jurek        v.    Texas          428 U.S. 262                   96
 S.Ct.    2950 49 L.Ed.2d                           929         1976              upholding                  the Texas statute                  even       though            neither       the

 statute      as    in        Georgia nor                     state      case        law         as in Florida provided                          for   comparative
                                 review. 465                        U.S.             48         104                     878      see also Lewis                        Jeffers 497 U.S.



 capital-sentencing
 proportionality                                                            at                          S.Ct.      at                                            v.


 766 779            110         S.Ct.        3092 3101                     111        L.Ed.2d               606    1990         Court upheld Arizona
                        statute            against        vagueness                  challenge              despite      Justice  Blackmuns concerns                                 about

 comparative                  review.             This         is    so in part because                           under the Texas scheme                              the    constitutionally

 required          narrowing function                           is    performed                  at    the    guilt-innocence                   phase      by the           penal statute

 defining          the        offense        of     capital           murder TEx. PENAL CODE ANN.                                                 19..03         which        encompasses
 aggravating              elements                that    distinguish capital                          murder from simple murder.                                     Jurek    v.    Texas 428
 U.S.    at   268-71                  96    S.Ct.        at    2955-56               opinion of Stevens                        J. joined           by Stewart                and Powell

 JJ. Lowenfield                       v.    Phelps 484 U.S. 231 244-46                                            108 S.Ct.          546         554-555 98 L.Ed.2d                            568

 discussing              narrowing function                           of Texas penal                        statute.          Once         a challenged               aggravating               factor

 is   found        to    furnish                  sufficient             guidance                to    the sentencer            ..         proportionality                  review        is    not

 constitutionally required                               and we lawfully may presume                                           that    the defendants                        death        sentence

 was not wantonly and freakishly                                                imposed                --   and thus          that   the        sentence         is   not

 disproportionate                     within        any recognized                         meaning of the Eighth                           Amendment.                       Walton        v.


 Arizona 497                  U.S.         634 655-656                      110 S.Ct.                 3047 3058               111     L.Ed.2d           511      1990           quoting

 McCleskey               v.    Kemp           481        U.S.         at   306 308 107                       S.Ct.      at    1774         1775 1987.




 STATES       BRIEF       -
                              Billy   Joe   Wardlow                                                                                                                                                    72
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 87 of 90 PageID #: 1299



 represents             more than                    a   mere modicum                          of evidence        to support              the    jurys conclusion.

 Burns      v.State                   761     S.W.2d           at   356           citing       Jackson     v.    Virginia 443                  U.S.      at    319-320 99

 S.Ct.    at     2789                 see also Lackey                 v.    State         819     S.W.2d         111        117    Tex. Crim. App.                   1989.

            The             evidence             presented            at     trial       when viewed             in    the       light    most favorable                to   the



 jurys verdict                        showed         that     Wardlow               had been planning                 the        armed robbery of Carl Cole

 for    about       a        week            prior to the             offense that                he stole a Llama                  .4         automatic         pistol      and


 ammunition                 from his mother in preparation                                      for the    offense that he went to Coles house


 the night        before               the    offense        to     check           out the       place and disconnected                        the      telephone        lines


 from the         outside               so that the victim                        would        not be able        to call         the     police         that he    went       to


 the    victims              house            two more times                      later    that    evening and              early-the          next morning to see


 if   he was       awake                 that apparently                    the     fourth       time he went to Coles house                                  accompanied

 by Fulfer he saw                            that Cole          had        left     a set of keys          in his pickup                and     that he        could      thus


 steal   the pickup                   without            having     to assault            Cole     that after         he and Fulfer discussed                       the      risk


 of leaving a witness to                             their    crime Wardlow                       approached          the        door of Coles                home armed

 with     the      Llama                 .4      automatic             pistol40            that    Wardlow            then        knocked          on     the     door       and


 attempted             to        gain entrance                 into        the     victims         home by        asking           to use        the     telephone           that


 when     the      victim               refused            to let     him enter Wardlow                         pulled       out the           Llama .4 automatic


 pistol     loaded               it    released the            safety        mechanism and aimed                       it    at   the     victim         that the       victim


 tried   to resist that                  Wardlow              then         shot      and killed the unarmed 82-year-old                                  victim     and hid


 his   body      in a closet                   that       Wardlow            and Fulfer took Coles billfold                               and     left    in his    pickup

 that    Wardlow                      and     Fulfer         left   town           immediately and                fled       north        arriving            eventually       in



 Nebraska where                         they traded the victims                            pickup        for another vehicle                    and a         sum   of cash


 that    they      used               this
                                              money          to     buy      several           personal     items and              that they           were      ultimately




                                                                                  Wardlow         knew
            40
                   It       should           also be        noted that                                     Carl Cole and                was no doubt aware                 that

 Cole would probably be able                                  to    identify         him as the perpetrator                 if    given    the    opportunity.            The
 jury certainly                  could       have reasonably                 concluded            from    this   evidence          that   it    would have          been

 illogical       for        Wardlow             to    risk    a face-to-face               confrontation         with a victim             who     could        later

 identify      him          if    he had not intended                      to     kill   the    victim    from the beginning.


 STATES     BRIEF       -
                            Billy Joe        Wardlow                                                                                                                          73
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 88 of 90 PageID #: 1300



  apprehended                      at    gunpoint           by police        officers          in South      Dakota.


               Even             if      these       circumstances are not sufficient in themselves to support the jurys


  finding       of future dangerousness                              the    state       presented         additional          evidence           at   the     punishment


  phase which when                             considered            in the       light   most favorable                to the         jurys verdict            indicated


  that about           six           months before              the       instant       offense         Wardlow was                involved           in a high-speed


  chase        with            a     local      deputy and was                    arrested      for fleeing             that      a little     more than              a   week

  before the           instant               offense        Wardlow took a 1989 Chevrolet                               pickup          for a test drive              and did

                                that while
  not.return          it                               incarcerated              awaiting       trial     in the      instant          offense Wardlow                    hid in


  his cell          a two-foot                 metal bar with a six- or eight-inch                               rod extending                 from the middle of


  it    which          he            planned           to            to    assault        a jailer        and         thereby                         that    also        while
                                                             use.
                                                                                                                                       escape

  incarcerated                 awaiting trial               Wardlow          wrote        several         letters      to Sheriff Ricky                Blackburn            and

 jailer    Patsy Martin in                          which he threatened                   to   harm       other       inmates jailers                 and the         sheriff


 that     while being transported                               from       jail    to the       courtroom             on    the   second         day of       trial       in the


  instant      case Wardlow                           told his jailer-escort that the jailers                              were using trustees                  as     guards

  and     if    they dont stop using them                                    I    am    going       to double          my     time on one of them.


               Certainly the                     evidence       of the circumstances                      surrounding the instant offense as well


  as evidence                  of Wardlows                  conduct       before        and    after      the instant offense represent                        more than

  a    mere modicum                                 of evidence             supporting              the   jurys            finding        that    Wardlow              would

 probably commit criminal                                     acts    of violence              that     would         constitute          a continuing             threat     to


  society.          The good                   character      testimony of Wardlows                         former youth minister and a librarian


  and     assistant                  principal          of the       high         school       he     attended         simply           does     not    outweigh            the


  evidence          supporting                  an affirmative            finding         on the        future     dangerousness                 issue particularly

  in   light        of the              fact    that    none of these witnesses had                           been          in contact         with      Wardlow             for



 years.        Clearly a rational juror could have                                        answered          yes         to the         first   special issue              based


  on the evidence presented.41                                 Wardlows                 twelfth       point of error              is   without merit and must




               41
                     Even               if   this   Court were to compare                   the     facts   in   the       instant      case with       the    facts


 presented           in        the      cases       cited   by Wardlow              the present case             is   easily      distinguished.             See

 Appellants                Brief at 42-44                   citing   Roney         v.   State     632 S.W.2d               598 603 Tex.               Crim. App.



  STATES       BRIEF       -   Billy    Joe   Wardlow                                                                                                                        74
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 89 of 90 PageID #: 1301
                                              9




 be overruled.


                                                  CONCLUSION    AND PRAYER

          WHEREFORE                           PREMISES    CONSIDERED           the    State   prays   that   this   Court


 overrule   appellants points of error and affirm his conviction                        and sentence.




                                                               Respectfully      submitted



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 1982     Ellason        v.    State     815 S.W.2d    656 660 Tex.   Crim. App.      1991     and Huffman     v.   State
 746   S.W.2d         212 Tex. Crim. App.             1988.


 STATES   BRIEF   -   Billy   Joe   Wardlow                                                                             75
Case 4:04-cv-00408-MAC Document 44-4 Filed 12/11/17 Page 90 of 90 PageID #: 1302



                                                 CERTIFICATE              OF SERVICE

           I Gena A. Blount                    Assistant     Attorney General of Texas             do hereby certify that a




                                                                          1
 true and correct              copy     of the above and foregoing States Brief has                been served   by placing

 same      in the       United          States   Mail   on   this   the         day   of     Oe1      1996    addressed   to


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  STATES   BRIEF   -
                       Billy   Joe   Wardlow                                                                                76
